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 7
 8                          UNITED STATES BANKRUPTCY COURT

 9           CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10 In re                                      Case No. 8:23-bk-10571-SC

11 The Litigation Practice Group P.C.,        Chapter 11

12                Debtor.                     RESPONSE OF CLAIMANT ISRAEL
                                              OROZCO TO TRUSTEE RICHARD A.
13                                            MARSHACK’S OBJECTION [DKT. NO
                                              1707] TO CLAIMANT’S PREPETITION
14                                            PROOF OF CLAIM [CLAIM NO. 104];
                                              MEMORANDUM OF POINTS AND
15                                            AUTHORITIES; DECLARATION OF
                                              ISRAEL OROZCO
16
17                                            Hearing Date: October 24, 2024
                                              Time:         10:00 a.m.
18                                            Dept.:        Courtroom 5C—Via Zoom
                                              Place:        411 W. Fourth Street
19                                                          Santa Ana, CA 92701

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      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
           [DKT. NO 1707] TO CLAIMANT’S PREPETITION PROOF OF CLAIM [CLAIM NO. 104];
          MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ISRAEL OROZCO
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 1                    RESPONSE MEMORANDUM OF ISRAEL OROZCO

 2          Israel Orozco, (“Claimant”), files the herein Response to Trustee Richard A. Marshack’s

 3 Objection (“Objection”) [Dkt. No 1707] To Claimant’s Prepetition Proof of Claim (“POC”)
 4 [Claim No. 104], amended and filed on September 27, 2024 and attached herein as Exhibit “A”,
 5 which asks the Court to honor prepetition wages and prepetition reimbursable employee
 6 business expenses. The bases for the relief requested is set forth in this Response, the
 7 Declaration of Israel Orozco (“Orozco Decl.”), records and files herein, and on such evidence
 8 as may be presented at the hearing of the Trustee’s Objection.

 9                                      I. INTRODUCTION

10          From August 2021, until the Petition Date, Claimant was employed by Debtor as an

11 attorney providing legal services to Debtor’s Clients. (Orozco Decl. ¶ 1). The services provided

12 included legal representation in California state courts to defend lawsuits brought by creditors
13 and/or debt collectors against Clients. (Orozco Decl. Id.)
14          During the prepetition time, from Claimant’s personal funds, Claimant paid prepetition

15 reimbursable business expenses that were necessary and actual to preserve the estate of Debtor.
16 (Orozco Decl. ¶ 2). Firstly, as detailed in the summary (“Summary”) of Claimant’s amended
17 POC, the prepetition amount owing to Claimant for unpaid wages is $25,231.70, which is
18 capped at $15,150.00 as an unsecured, priority claim, with the remaining $10,081.70 as an
19 unsecured, nonpriority claim. . (Orozco Decl. id.). Secondly, Claimant’s reimbursable business
20 expenses provided to Debtor is $8,803.01, as detailed in the Summary of Claimant’s amended
21 POC. (Orozco Decl. ¶ 3.). The total amount demanded in Claimant’s amended POC is
22 $34,034.71, of which a portion thereof is claimed as an unsecured priority claim. (Orozco Decl.
23 Id).
24                                II. FACTUAL BACKGROUND

25          On March 20, 2023 (“Petition Date”), The Litigation Practice Group PC (“Debtor”)

26 commenced its chapter 11 case by filing a voluntary petition for relief under chapter 11 of the

27 Bankruptcy Code with this Court. From the commencement of the Petition Date, Debtor
28                                            1
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
           [DKT. NO 1707] TO CLAIMANT’S PREPETITION PROOF OF CLAIM [CLAIM NO. 104];
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 1 initially operated as debtor in possession.
 2            On May 8, 2023, this Court appointed Mr. Richard A. Marshack as trustee (“Trustee”)

 3 for Debtor’s estate. Trustee continues to operate Debtor’s business and manage its financial
 4 affairs.
 5            On July 6, 2023, Claimant filed its Proof of Claim [Claim No. 104]. On September 27,

 6 2024, Claimant filed its Amended Proof of Claim, to Claim No. 104.
 7            On June 17, 2024, the Court approving the solicitation of a plan of liquidation ( “Plan”).

 8 On September 9, 2024, the Court entered an order confirming the Plan.

 9            As explained in the Trustee’s Objection, Pursuant to the confirmed Plan, the Trustee is

10 obligated to satisfy those claims deemed allowed as Class 2 claims entitled to priority treatment
11 pursuant to 11 U.S.C. § 507. (Objection, 5:19-20).

12      III. CLAIMANT IS NOT AN “INSIDER” AS DEFINED IN 11 U.S.C. 101(31) OR
       OTHERWISE, THE TRUSTEE PROVIDES NO EVIDENCE WHATSOEVER TO
13     ALLEGE THAT CLAIMANT WAS AN “INSIDER”, AND CLAIMANT ASSERTS
       THAT ANY AMOUNTS IDENTIFIED BY THE TRUSTEE WERE SOLELY FOR
14                         WAGES OWED TO CLAIMANT

15            On bare speculation, the Trustee alleges that Claimant was an “insider” of the Debtor.

16 Claimant is not an “insider”, as that term is defined in Bankruptcy Code § 101(31); nor is
17 Claimant a non-statutory “insider” as defined by relevant case law. (Orozco Decl. ¶ 4). The
18 Trustee’s “General Objection to Objected Claims” in the Objection or the Trustee’s Declaration
19 (“Marshack Decl.”) does not address any relevant actions or circumstances that would lead this
20 court to believe that Claimant was an “insider”, (Objection, 8:12 – 9:8; Marshack Decl. 4:6-23),
21 because Claimant was at no time an “insider” of the debtor. (Orozco Decl. Id).
22            Further, the Trustee’s specific objection to Claimant’s POC does not again address any

23 relevant actions or circumstances that would lead this court to believe that Claimant was an
24 “insider”, (Objection, 11:10-23; Marshack Decl. 6:26 – 7:10), because Claimant was at no time
25 an “insider” of the debtor. (Orozco Decl. ¶ 5). The only allegation presented in the specific
26 objection is the assertion that “Grobstein have identified $4,144.26 transferred to Claimant in

27 the 90 day period before the Petition Date that do not appear related to salary and another
28                                            2
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
           [DKT. NO 1707] TO CLAIMANT’S PREPETITION PROOF OF CLAIM [CLAIM NO. 104];
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 1 $4,225.78 transferred after the Petition Date for unknown purposes.” (Objection, 11:17-19).
 2 (Orozco Decl. Id).
 3          On October 2, 2024, Claimant contacted counsel for the Trustee, Mr. Tyler Powell

 4 (“Powell”) in an attempt to resolve the Trustee’s objection to Claimant’s POC. (Orozco Decl.
 5 ¶ 6). As to the prepetition amount of $4,144.26 identified by Grobstein, Claimant informed Mr.
 6 Powell that this amount reflected the amount related to Claimant’s salary. (Orozco Decl. Id.).
 7 In Claimant’s amended POC, Claimant included a paystub from Debtor during the pay period
 8 of 01/16/23 to 01/29/23, reflecting the net pay of $4,144.26 for wages owed to Claimant,

 9 (Exhibit “A”, pgs. 6-7). (Orozco Decl. Id.).
10          As to the postpetition amount of $4,225.78 identified by Grobstein, Claimant informed

11 Mr. Powell that Claimant had searched his bank records but that Claimant was unable to find a

12 deposit for that amount. (Orozco Decl. ¶ 7). Claimant further asked Mr. Powell whether this
13 postpetition amount was a single payment or more and asked for the dates in order for Claimant
14 to be able to verify that this postpetition amount was related to Claimant’s salary. (Orozco Decl.
15 Id.). On October 10, 2024, Claimant contacted Mr. Powell again in an attempt to resolve the
16 Trustee’s objection to Claimant’s POC, and to, in-part, receive whatever information from
17 Grobstein in order for Claimant to verify to the Court that the identified amounts are related to
18 Claimant’s salary. (Orozco Decl. Id).
19          Although Grobstein has identified these amounts, the Trustee has not provided to

20 Claimant the necessary information needed for Claimant to make a good-faith search of his
21 records in order to verify to the Court that these identified amounts were related to Claimant’s
22 salary. (Orozco Decl. ¶ 8). As explained, Claimant is not an “insider” of the debtor, and further
23 asserts that the amounts identified by Grobstein were related to Claimant’s salary. (Orozco Decl.
24 Id). Moreover, insofar as the Trustee’s general objections in its Objection may refer to Claimant,
25 Claimant has never participated in any form whatsoever in the transfer of debtor’s assets or
26 client files or ever participated in defrauding the debtor’s creditors. (Orozco Decl. Id).

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28                                            3
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
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 1    IV. PURSUANT TO 11 U.S.C. § 507(a)(4), CLAIMANT HAS A PRIORITY CLAIM IN
          THE AMOUNT OF $15,150.00 AGAINST THE DEBTOR FOR PREPETITION
 2                         WAGES OWED TO CLAIMANT

 3           In relevant part, section § 507(a)(4) of the bankruptcy court states as follows:

 4                   (a) The following expenses and claims have priority in the
                     following order … (4) Fourth, allowed unsecured claims, but
 5                   only to the extent of $15,150 [] for each individual or corporation,
                     as the case may be, earned within 180 days before the date of the
 6                   filing of the petition or the date of the cessation of the debtor's
                     business, whichever occurs first, for--(A) wages, salaries, or
 7                   commissions, including vacation, severance, and sick leave pay
                     earned by an individual[.]
 8
     11 U.S.C. § 507(a)(4).
 9
             Prepetition, Claimant received an annual salary of $164,000.00 from Debtor. (Orozco
10
     Decl. ¶ 9). Debtor paid Claimant on a bi-weekly basis, every other Friday, one to three weeks
11
     in arrears, for a gross bi-weekly amount of $6307.70. (Orozco Decl. Id). As detailed fully in
12
     Claimant’s Summary for its amended POC, on March 13, 2023, Claimant received his final
13
     paycheck from Debtor for vested vacation time, in the gross amount of $9,950.87.1 (Orozco
14
     Decl. Id). Claimant’s amount claimed for unpaid prepetition wages of $25,231.70, is broken
15
     down as follows:
16
             A. Claimant Is Owed $6,307.70 In Wages Earned But Never Received From Debtor.
17
             Unpaid wages in the gross amount of $6,307.70, for the pay-period of February 13, 2023
18
     to February 26, 2023.
19
20           B. The Court Should Award $18,924.00 In Wages Pursuant to Cal. Labor Code §

21 203.
22           Section 201 of the California Labor Code provides in relevant part that “(a) If an

23 employer discharges an employee, the wages earned and unpaid at the time of discharge are
24
25
26
     1
      Although by this amended claim, Claimant no longer seeks payment of vacation time as LPG
27   eventually paid the true and correct amount of $9950.87, Claimant only seeks penalties pursuant to
     Cal. Lab. Code § 203 due to LPG paying the vested vacation time late on March 13, 2023.
28                                            4
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
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 1 due and payable immediately.” Cal. Lab. Code § 201. Further, In relevant part, pursuant to Cal.
 2 Lab. Code § 203: “[A]ny wages of an employee who is discharged or who quits, the wages of
 3 the employee shall continue as a penalty from the due date thereof at the same rate until paid or
 4 until an action therefor is commenced; but the wages shall not continue for more than 30
 5 days[.] (emphasis added). Cal. Lab. Code § 203. Because Debtor failed to pay all outstanding
 6 wages upon Claimant’s termination, wages continued to accrue for an additional thirty days,
 7 amounting to $18,924.00 as wages owed as penalties, which is calculated as follows:
 8             i.   Paid wages, when due, in the gross amount of $6,307.70 for the pay-period of
                    January 16, 2023 to January 29, 2023. LPG was due to pay Claimant for this
 9                  pay-period on February 3, 2023, but instead paid it four (4) days late On
                    February 7, 2023.
10            ii.   Paid wages, when due, in the gross amount of $6,307.70 for the pay-period of
                    January 30, 2023 to February 12, 2023. LPG was due to pay Claimant for this
11                  pay-period on February 17, 2023, but instead paid it six (6) days late in February.
                    23, 2023.
12           iii.   Unpaid wages, in the gross amount of $6,307.70 for the pay-period of February
                    13, 2023, to February 26, 2023. Claimant has never received this wage from
13                  LPG.
             iv.    Vested vacation time, when due, (paid vacation as provided for under LPG’s
14                  Employee Handbook) in the gross amount of $9,950.87 (includes 40 hours of
                    accrued sick pay—but the Labor Code seems to only provide penalties for late
15                  vacation pay as wages) when said vested vacation time was to be paid out on
                    Claimant’s last day at LPG, which was February 26, 2023. Claimant was not
16                  paid his vested vacation time in the gross amount of $9,950.87 on time but was
                    instead paid fifteen (15) days late on March 13, 2023.
17
            In total, LPG was 25 days late in paying Claimant his wages for the pay-period of
18
     January 16, 2023 to January 29, 2023; January 30, 2023 to February 12, 2023; and for
19
     Claimant’s vested vacation time. (Orozco Decl. ¶ 10). Moreover, Claimant never received his
20
     wages for the pay-period of January 13, 2023 to February 26, 2023, which is far beyond 30
21
     days. (Orozco Decl. Id). The amount of $18,924.00 reflects the wages owed as penalties—
22
     capped at 30 days—for the reasons stated above. (Orozco Decl. Id). Therefore, Claimant is
23
     owed $25,231.70 in prepetition wages owed by Debtor to Claimant, which is capped at
24
     $15,150.00 as an unsecured, priority claim.
25
                                  V. REIMBURSABLE EXPENSES
26
            Prior to the Petition Date, Debtor reimbursed Claimant for reasonable and customary
27
28                                            5
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
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 1 expenses incurred on behalf of Debtor in the scope of Claimant’s employment, including, but
 2 not limited to, court filing costs, remote appearance costs (when applicable), mailing and
 3 shipping costs, bar admission costs, and travel expenses. (Orozco Decl. ¶ 11).
 4           Additionally, Claimant was issued a business credit card by Debtor, which was used to

 5 incur Reimbursable Expenses. (Orozco Decl. ¶ 12). However, on or around late January 2023
 6 to February 2023, Debtor experienced difficulty paying Claimant on time and was further
 7 unable to provide Claimant with a substitute business credit card to be used for necessary and
 8 actual legal expenses. (Orozco Decl. Id). In order to properly continue the legal representation

 9 of Debtor’s Clients, Claimant was forced to use personal credit cards for necessary and actual
10 legal expenses. (Orozco Decl. Id). This was done on Mr. March’s representation to Claimant
11 that Debtor was expected to continue running its operations for approximately a year, and at no

12 time prior to the Petition Date was Claimant informed that Debtor was filing or contemplating
13 filing this bankruptcy proceeding. (Orozco Decl. Id).
14           As detailed in the Summary of Claimant’s POC, the amount of prepetition expenses

15 owed to Claimant by the debtor is $8,803.01. (Orozco Decl. ¶ 13).
16       VI. BASIS FOR RELIEF FOR REIMBURSEABLE BUSINESS EXPENSES IS
        WARRANTED UNDER SECTIONS 105(a) AND 363(b) OF THE BANKRUPTCY
17                                   CODE.

18           Courts generally acknowledge that it is appropriate to authorize the payment (or other

19 special treatment) of prepetition obligations in appropriate circumstances. See, e.g., Czyzewki
20 v. Jevic Holding Corp. 580 U.S. 451, at 467 (2017) (citing favorably to the entry of “first day
21 orders” authorizing the payment of prepetition wages where doing so would, among other
22 things, “enable a successful reorganization”) In authorizing payments of certain prepetition
23 obligations, courts have relied on several legal theories, rooted in Bankruptcy Code sections
24 105(a), 363(b).
25           The Court may authorize Debtor to pay any prepetition amounts related to their policies

26 pursuant to section 363(b) of the Bankruptcy Code. Section 363 of the Bankruptcy Code

27 provides, in relevant part, that “[t]he trustee, after notice and a hearing, may use, sell, or lease,
28                                            6
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
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 1 other than in the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1).
 2 Under this section, a court may authorize a debtor to pay certain prepetition claims where a
 3 sound business purpose exists for doing so. See, e.g., In re Adams Apple, 829 F.2d 1484, 1490
 4 (9th Cir. 1987) (stating that “fundamental tenet” of rehabilitation of debtors “may supersede
 5 the policy of equal treatment” and noting examples of unequal treatment of prepetition debts
 6 permitted where necessary for rehabilitation); see also In re Ionosphere Clubs, Inc., 98 B.R.
 7 174, 175 (Bankr. S.D.N.Y. 1989) (finding that a sound business justification existed to justify
 8 payment of prepetition wages); see also Armstrong World Indus., Inc. v. James A. Phillips, Inc.,

 9 (In re James A. Phillips, Inc.), 29 B.R. 391, 397 (Bankr. S.D.N.Y. 1983) (relying on section
10 363 to allow contractor to pay prepetition claims of suppliers who were potential lien claimants
11 because the payments were necessary for general contractors to release funds owed to debtors).

12          In addition, the Court may authorize payment of prepetition claims in appropriate

13 circumstances based on section 105(a) of the Bankruptcy Code. Bankruptcy Code section
14 105(a), which codifies the inherent equitable powers of the bankruptcy court, empowers the
15 court to “issue any order, process, or judgment that is necessary or appropriate to carry out the
16 provisions of this title.” 11 U.S.C. § 105(a). Under section 105(a), courts may permit preplan
17 payments of prepetition obligations when essential to the continued operation of the debtor's
18 business. Specifically, this Court may use its power under Bankruptcy Code section 105(a) to
19 authorize payment of prepetition obligations pursuant to the “necessity of payment” rule (also
20 referred to as the “doctrine of necessity”). See In re Wehrenherg, Inc., 260 B.R. 468, 469 (Bankr.
21 E.D. Mo. 2001) (“Pursuant to 11 U.S.C. § 105(a) the Court may authorize the payment of
22 prepetition claims when such payments are necessary to the continued operation of the
23 Debtor.”) (citation omitted); see also In re NVR L.P., 147 B.R. 126, 127-28 (Bankr. E.D. Va.
24 1992).
25          Courts also have permitted postpetition payment of prepetition claims pursuant to

26 Bankruptcy Code section 105(a) in other situations, such as if nonpayment of a prepetition

27 obligation would trigger a withholding of goods or services essential to the debtors' continued
28                                            7
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
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 1 business operations in chapter 11. See In re UNR Indus., Inc., 143 B.R. 506, 520 (Bankr. N.D.
 2 Ill. 1992) (permitting the debtor to pay prepetition claims of suppliers or employees whose
 3 continued cooperation is essential to the debtors' successful reorganization); Ionosphere Clubs,
 4 98 B.R. 174, 177 (finding that Bankruptcy Code section 105 empowers bankruptcy courts to
 5 authorize payment of prepetition debt when such payment is needed to facilitate the
 6 rehabilitation of the debtor).
 7           This flexible approach is particularly critical where a prepetition creditor—like

 8 Claimant, here—provides vital goods or services to a debtor that would be unavailable if the

 9 debtor did not satisfy its prepetition obligations. In In re Structurlite Plastics Corp., 86 B.R.
10 922, 931 (Bankr. S.D. Ohio 1988), the bankruptcy court stated it “may exercise its equity
11 powers under §105(a) to authorize payment of pre-petition claims where such payment is

12 necessary ‘to permit the greatest likelihood of survival of the debtor and payment of creditors
13 in full or at least proportionately.”’ Id. The court explained that “a per se rule proscribing the
14 payment of pre-petition indebtedness may well be too inflexible to permit the effectuation of
15 the rehabilitative purposes of the Code.” Id. at 932.
16           Claimant relied exclusively on Claimant’s compensation and reimbursement of

17 expenses from Debtor to satisfy Claimant’s daily living expenses. (Orozco Decl. ¶ 14).
18 Consequently, Claimant had been exposed to significant financial difficulties, all while
19 Claimant used personal funds and credit cards in order to be able to continue legal
20 representation of Debtor’s Clients. (Orozco Decl. Id).
21           For all of the foregoing reasons, the relief requested herein directly benefitted Debtor’s

22 estate by allowing Debtor’s business operations to continue without interruption. The
23 importance of a debtor's employees to its operations has been recognized by courts in granting
24 relief similar to the relief requested herein. See, e.g., In re Fili Enters., Inc., Case No. 10-00324
25 (PB) (Bankr. S.D. Cal. Jan. 11, 2010); In re Roman Catholic Bishop of San Diego, Case No.
26 07-0939 (LA) (Bankr. S.D. Cal. Feb. 27, 2007); see also In re Walking Company, Case No. 09-

27 15138 (RR) (Bankr. C.D. Cal. Dec. 14, 2009); In re Woodside Group, LLC, Case No. 08-20682
28                                            8
      RESPONSE OF CLAIMANT ISRAEL OROZCO TO TRUSTEE RICHARD A. MARSHACK’S OBJECTION
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 1 (PC) (Bankr. C.D. Cal. Sept. 19, 2008); In re Visteon Corp., Case No. 09-11786 (CSS) (Bankr.
 2 D. Del. May 29, 2009); In re Masonite Corp., Case No. 09-10844 (PJW) (Bankr. D. Del. Apr.
 3 14, 2009); In re Portola Packaging, Inc., Case No. 08-12001 (CSS) (Bankr. D. Del. Aug. 29,
 4 2008); In re Hines Horticulture, Inc., Case No. 08-11922 (KJC) (Bankr. D. Del. Aug. 22,2008);
 5 In re Pierre Foods Inc., Case No. 08-11480 (KG) (Bankr. D. Del. July 16, 2008); In re ACG
 6 Holdings, Inc., Case No. 08-11467 (CSS) (Bankr. D. Del. July 16, 2008); In re Tropicana
 7 Entm‘t, LLC, Case No. 08-10856 (KJC) (Bankr. D. Del. May 6, 2008).
 8                                     VII. CONCLUSION.

 9          WHEREFORE, Claimant respectfully requests the Court to reject the Trustee’s

10 Opposition to Claimant’s amended proof of claim in its entirety, and instead authorizing and
11 allowing Claimant a prepetition proof of claim in the amount of $34,034.71; and for any other

12 relief the Court deems just and proper under the circumstances.
13    Dated: October 10, 2024                      Israel Orozco Law PC

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                                                   ___________________________
15                                                 Israel Orozco, Esq.
                                                   In Pro Per
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 6
 7
 8                           UNITED STATES BANKRUPTCY COURT

 9            CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10 In re                                             Case No. 8:23-bk-10571-SC

11 The Litigation Practice Group P.C.,               Chapter 11

12                 Debtor.                           DECLARATION OF CLAIMANT
                                                     ISRAEL OROZCO IN SUPPORT OF
13                                                   CLAIMANT’S RESPONSE TO
                                                     TRUSTEE RICHARD A. MARSHACK’S
14                                                   OBJECTION TO CLAIMANT’S PROOF
                                                     OF CLAIM
15
16                                                   Hearing Date: October 24, 2024
                                                     Time:         10:00 a.m.
17                                                   Dept.:        Courtroom 5C—Via Zoom
                                                     Place:        411 W. Fourth Street
18                                                                 Santa Ana, CA 92701

19
20
21
22          I, Israel Orozco declare as follows:

23          I am an attorney at law, duly licensed to practice law under the Laws of the State of

24 California, as well as in the Central District of California. This declaration is in support of
25 response to trustee Richard A. Marshack’s objection to my proof of claim. I make the following
26 facts to be true and based upon my personal knowledge, except as otherwise stated. If required,

27 I would competently testify with respect to the facts herein.
28
                                           -1-
     DECLARATION OF CLAIMANT ISRAEL OROZCO IN SUPPORT OF CLAIMANT’S RESPONSE TO
     TRUSTEE RICHARD A. MARSHACK’S OBJECTION TO CLAIMANT’S PROOF OF CLAIM
     Case 8:23-bk-10571-SC        Doc 1815 Filed 10/11/24 Entered 10/11/24 00:05:19                Desc
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 1          1.      From August 2021, until the Petition Date, I was employed by Debtor as an

 2 attorney providing legal services to Debtor’s Clients. The services provided included legal
 3 representation in California state courts to defend lawsuits brought by creditors and/or debt
 4 collectors against Clients.
 5          2.      During the prepetition time, from Claimant’s personal funds, Claimant paid

 6 prepetition reimbursable business expenses that were necessary and actual to preserve the estate
 7 of Debtor. Firstly, as detailed in the summary (“Summary”) of Claimant’s amended POC, the
 8 prepetition amount owing to Claimant for unpaid wages is $25,231.70, which is capped at

 9 $15,150.00 as an unsecured, priority claim, with the remaining $10,081.70 as an unsecured,
10 nonpriority claim.
11          3.      Secondly, Claimant’s reimbursable business expenses provided to Debtor is

12 $8,803.01, as detailed in the Summary of Claimant’s amended POC. The total amount
13 demanded in Claimant’s amended POC is $34,034.71, of which a portion thereof is claimed as
14 an unsecured priority claim.
15          4.      On bare speculation, the Trustee alleges that Claimant was an “insider” of the

16 Debtor. Claimant is not an “insider”, as that term is defined in Bankruptcy Code § 101(31); nor
17 is Claimant a non-statutory “insider” as defined by relevant case law. The Trustee’s “General
18 Objection to Objected Claims” in the Objection or the Trustee’s Declaration (“Marshack
19 Decl.”) does not address any relevant actions or circumstances that would lead this court to
20 believe that Claimant was an “insider”, (Objection, 8:12 – 9:8; Marshack Decl. 4:6-23), because
21 Claimant was at no time an “insider” of the debtor.
22          5.      Further, the Trustee’s specific objection to Claimant’s POC does not again

23 address any relevant actions or circumstances that would lead this court to believe that Claimant
24 was an “insider”, (Objection, 11:10-23; Marshack Decl. 6:26 – 7:10), because Claimant was at
25 no time an “insider” of the debtor. The only allegation presented in the specific objection is the
26 assertion that “Grobstein have identified $4,144.26 transferred to Claimant in the 90 day period

27 before the Petition Date that do not appear related to salary and another $4,225.78 transferred
28
                                           -2-
     DECLARATION OF CLAIMANT ISRAEL OROZCO IN SUPPORT OF CLAIMANT’S RESPONSE TO
     TRUSTEE RICHARD A. MARSHACK’S OBJECTION TO CLAIMANT’S PROOF OF CLAIM
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 1 after the Petition Date for unknown purposes.” (Objection, 11:17-19).
 2          6.      On October 2, 2024, Claimant contacted counsel for the Trustee, Mr. Tyler

 3 Powell (“Powell”) in an attempt to resolve the Trustee’s objection to Claimant’s POC. As to
 4 the prepetition amount of $4,144.26 identified by Grobstein, Claimant informed Mr. Powell
 5 that this amount reflected the amount related to Claimant’s salary. In Claimant’s amended POC,
 6 Claimant included a paystub from Debtor during the pay period of 01/16/23 to 01/29/23,
 7 reflecting the net pay of $4,144.26 for wages owed to Claimant, (Exhibit “A”, pgs. 6-7).
 8          7.      As to the postpetition amount of $4,225.78 identified by Grobstein, Claimant

 9 informed Mr. Powell that Claimant had searched his bank records but that Claimant was unable
10 to find a deposit for that amount. Claimant further asked Mr. Powell whether this postpetition
11 amount was a single payment or more and asked for the dates in order for Claimant to be able

12 to verify that this postpetition amount was related to Claimant’s salary. On October 10, 2024,
13 Claimant contacted Mr. Powell again in an attempt to resolve the Trustee’s objection to
14 Claimant’s POC, and to, in-part, receive whatever information from Grobstein in order for
15 Claimant to verify to the Court that the identified amounts are related to Claimant’s salary.
16          8.      Although Grobstein has identified these amounts, the Trustee has not provided

17 to Claimant the necessary information needed for Claimant to make a good-faith search of his
18 records in order to verify to the Court that these identified amounts were related to Claimant’s
19 salary. As explained, Claimant is not an “insider” of the debtor, and further asserts that the
20 amounts identified by Grobstein were related to Claimant’s salary. Moreover, insofar as the
21 Trustee’s general objections in its Objection may refer to Claimant, Claimant has never
22 participated in any form whatsoever in the transfer of debtor’s assets or client files or ever
23 participated in defrauding the debtor’s creditors.
24          9.      Prepetition, Claimant received an annual salary of $164,000.00 from Debtor.

25 Debtor paid Claimant on a bi-weekly basis, every other Friday, one to three weeks in arrears,
26 for a gross bi-weekly amount of $6307.70. As detailed fully in Claimant’s Summary for its

27 amended POC, on March 13, 2023, Claimant received his final paycheck from Debtor for
28
                                           -3-
     DECLARATION OF CLAIMANT ISRAEL OROZCO IN SUPPORT OF CLAIMANT’S RESPONSE TO
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 1 vested vacation time, in the gross amount of $9,950.87. Claimant’s amount claimed for unpaid
 2 prepetition wages of $25,231.70, is broken down as follows:
 3          10.    In total, LPG was 25 days late in paying Claimant his wages for the pay-period

 4 of January 16, 2023 to January 29, 2023; January 30, 2023 to February 12, 2023; and for
 5 Claimant’s vested vacation time. Moreover, Claimant never received his wages for the pay-
 6 period of January 13, 2023 to February 26, 2023, which is far beyond 30 days. The amount of
 7 $18,924.00 reflects the wages owed as penalties—capped at 30 days—for the reasons stated
 8 above.

 9          11.    Prior to the Petition Date, Debtor reimbursed Claimant for reasonable and

10 customary expenses incurred on behalf of Debtor in the scope of Claimant’s employment,
11 including, but not limited to, court filing costs, remote appearance costs (when applicable),

12 mailing and shipping costs, bar admission costs, and travel expenses.
13          12.    Additionally, Claimant was issued a business credit card by Debtor, which was

14 used to incur Reimbursable Expenses. However, on or around late January 2023 to February
15 2023, Debtor experienced difficulty paying Claimant on time and was further unable to provide
16 Claimant with a substitute business credit card to be used for necessary and actual legal
17 expenses. In order to properly continue the legal representation of Debtor’s Clients, Claimant
18 was forced to use personal credit cards for necessary and actual legal expenses. This was done
19 on Mr. March’s representation to Claimant that Debtor was expected to continue running its
20 operations for approximately a year, and at no time prior to the Petition Date was Claimant
21 informed that Debtor was filing or contemplating filing this bankruptcy proceeding.
22          13.    As detailed in the Summary of Claimant’s POC, the amount of prepetition

23 expenses owed to Claimant by the debtor is $8,803.01.
24 ///
25 ///
26 ///

27 ///
28
                                           -4-
     DECLARATION OF CLAIMANT ISRAEL OROZCO IN SUPPORT OF CLAIMANT’S RESPONSE TO
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 1          14.     Claimant relied exclusively on Claimant’s compensation and reimbursement of

 2 expenses from Debtor to satisfy Claimant’s daily living expenses. Consequently, Claimant had
 3 been exposed to significant financial difficulties, all while Claimant used personal funds and
 4 credit cards in order to be able to continue legal representation of Debtor’s Clients.
 5 I, declare, under penalty of perjury, under the laws of the State of California, that the foregoing
 6 is correct and true.
 7
 8    Dated: October 10, 2024                         Israel Orozco Law PC

 9
                                                      ___________________________
10                                                    Israel Orozco, Esq.
                                                      In Pro Per
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     DECLARATION OF CLAIMANT ISRAEL OROZCO IN SUPPORT OF CLAIMANT’S RESPONSE TO
     TRUSTEE RICHARD A. MARSHACK’S OBJECTION TO CLAIMANT’S PROOF OF CLAIM
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                        Exhibit “A”




                                                                 Exhibit A-1
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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 The Litigation Practice Group P.C.                                                                             U.S. Bankruptcy Court
                                                                                                                       Central District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             9/27/2024
 United States Bankruptcy Court           Central District of California                                              Kathleen J. Campbell, Clerk
 Case number: 23−10571


Official Form 410
Proof of Claim                                                                                                                                          04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Israel Orozco
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Israel Orozco

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  115 E Date St
                                  Brea, CA 92821



                                  Contact phone               7143510258                         Contact phone

                                  Contact email        israel@iolawcorp.com                      Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)       104             Filed on    07/06/2023

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




                                                                                                                         Exhibit A-2
   Case
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Part 2: Give Information About the Claim as of the Date the Case Was Filed 190
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      34034.71                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Unpaid wages, penalties for of unpaid/late wages, reimbursement owed for
                              business expenses


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




                                                                                                                     Exhibit A-3
    Case
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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,350 * of deposits toward purchase, lease, or rental of                   $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $15,150 *) earned within                   $ 15150.00
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                9/27/2024

                                                                 MM / DD / YYYY


                                 /s/ Israel Orozco

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                       Israel Orozco

                                                                           First name       Middle name         Last name
                                 Title                                      Attorney at Law

                                 Company

                                                                           Identify the corporate servicer as the company if the authorized agent is a
                                                                           servicer
                                 Address                                    115 E Date St

                                                                           Number Street
                                                                            Brea, CA 92821

                                                                           City State ZIP Code
                                 Contact phone             7143510258                           Email         israel@iolawcorp.com


Official Form 410                                                      Proof of Claim                                                   page 3




                                                                                                                            Exhibit A-4
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                        AMENDED PROOF OF CLAIM SUMMARY
                              Case No. 8:23-bk-10571-SC

                   Exhibit A – Unpaid Wages & Labor Code Penalty Fees

   1. A claim for $25,231.70:

           a. Unpaid wages in the gross amount of $6,307.70, for the pay-period of February 13,
              2023 to February 26, 2023; and
           b. $18,924.00 as penalties pursuant to California Labor Code § 203 as a result of
              LPG’s failure to pay Claimant on time for:

                    i. Paid wages, when due, in the gross amount of $6,307.70 for the pay-period
                       of January 16, 2023 to January 29, 2023. LPG was due to pay Claimant for
                       this pay-period on February 3, 2023, but instead paid it four (4) days late
                       On February 7, 2023.
                   ii. Paid wages, when due, in the gross amount of $6,307.70 for the pay-period
                       of January 30, 2023 to February 12, 2023. LPG was due to pay Claimant
                       for this pay-period on February 17, 2023, but instead paid it six (6) days late
                       in February. 23, 2023.
                  iii. Unpaid wages, in the gross amount of $6,307.70 for the pay-period of
                       February 13, 2023, to February 26, 2023. Claimant has never received this
                       wage from LPG.
                  iv. Vested vacation time, when due, (paid vacation as provided for under LPG’s
                       Employee Handbook) in the gross amount of $9,950.87 (includes 40 hours
                       of accrued sick pay—but the Labor Code seems to only provide penalties
                       for late vacation pay as wages) when said vested vacation time was to be
                       paid out on Claimant’s last day at LPG, which was February 26, 2023.
                       Claimant was not paid his vested vacation time in the gross amount of
                       $9,950.87 on time but was instead paid fifteen (15) days late on March 13,
                       2023.

In total, LPG was 25 days late in paying Claimant his wages for the pay-period of January 16,
2023 to January 29, 2023; January 30, 2023 to February 12, 2023; and for Claimant’s vested
vacation time. Moreover, Claimant never received his wages for the pay-period of January 13,
2023 to February 26, 2023, which is far beyond 30 days.

The amount of $18,924.00 reflects the wages owed as penalties—capped at 30 days—for the
reasons stated above.

California Labor Code

In relevant part, pursuant to Cal. Lab. Code § 203: “[A]ny wages of an employee who is discharged
or who quits, the wages of the employee shall continue as a penalty from the due date thereof at
the same rate until paid or until an action therefor is commenced; but the wages shall not continue
for more than 30 days[.] (emphasis added). Cal. Lab. Code § 203.

Pursuant to Cal. Lab. Code § 227.3, vested vacation time is treated as wages:

               Unless otherwise provided by a collective-bargaining agreement,
               whenever a contract of employment or employer policy provides for
               paid vacations, and an employee is terminated without having taken
               off his vested vacation time, all vested vacation shall be paid to him




                                                                                    Exhibit A-5
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               as wages at his final rate in accordance with such contract of
               employment or employer policy respecting eligibility or time
               served[.]

Calculation of Vested Vacation Time

Although by this amended claim, Claimant no longer seeks payment of vacation time as LPG
eventually paid the true and correct amount of $9950.87, Claimant only seeks penalties pursuant
to Cal. Lab. Code § 203 due to LPG paying the vested vacation time late on March 13, 2023.

Even so, Claimant herein provides the calculation of how $9950.87 of vested vacation (and sick
pay) time was properly paid as the right amount.

Sick Policy Calculation

Pursuant to LPG’s Employee Handbook (attached within Exhibit “A”), pursuant to “9.3 Sick
Policy”, LPG capped employee’s sick time at 40 hours per year. See page 26 of the Employee
Handbook.

Vacation Time Calculation

Pursuant to LPG’s Employee Handbook, Section “9.4 Vacation Policy”), in relevant part, the
policy states:

               “LPG full time employees will accrue vacation based upon their
               years of service[.] Vacation time begins accruing at the date of
               employment, however, there is a 90-day waiting period before you
               may utilize any vacation time.

               Employees may carry over unused vacation not to exceed 120 hours,
               at which point no additional vacation will accrue. Upon separation
               from the company any unused accrued vacation will be paid to the
               Employee.”

Pursuant to the vacation policy, 1.54 hours of vacation time accrues every pay-period for up to one
(1) year. LPG provided Claimant with a bi-weekly pay period (26 pay-periods per year).
From 2 to 4 years, 3.08 hours of vacation time accrues every pay-period. See page 26 of the
Employee Handbook.

                                                ***

Claimant’s employment with LPG began on August 2, 2021. See first paystub received within
Exhibit “A” – the first paystub listed therein. In 2021, Claimant received 10 paystubs (each paystub
reflecting one pay-period). Claimant finished 2021 with 15.40 hours of accrued, vested vacation
time.

For the 2022 year of Claimant’s employment, Claimant received 26 paystubs. For first 16 pay-
periods, Claimant accrued 24.64 hours of vested vacation time based on 1.54 hours per pay-period.
This concluded one year of employment at LPG. For the last 10 pay-periods, Claimant accrued
30.08 hours of vested vacation time based on 3.08 hours per pay-period. Claimant earned 55.40
hours of accrued vested vacation time in 2022.




                                                                                  Exhibit A-6
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For the 2023 year of Claimant’s employment, Claimant received 5 paystubs. Claimant finished
2023 with 15.40 hours of accrued, vested vacation time.

The total amount of vested vacation time that Claimant accrued from 2021 to 2023 is 86.20 hours.

Calculation of Hourly Rate

As such, pursuant to Cal. Lab. Code § 203: Claimants wages continue as a penalty from the due
date thereof at the same rate until paid … but the wages shall not continue for more than 30 days[.]
The calculated rate of Claimant’s pay is $78.85 an hour based on an annual salary of $164,000.00.

Claimant’s rate of $78.85 an hour is calculated as follows: $164,000 divided by 52 weeks =
$3,153.85 per week. /// Then, $3,153.85 is divided by 40 work hours in a week = $78.85 per hour.

Thus, when taking 86.20 hours of vested vacation time accrued, multiplied by the rate of $78.85
an hour, the total amount of vacation time paid to Claimant is $6,796.87. Plus, in addition to the
40 hours of accrued sick pay, multiplied by the rate of $78.85 an hour, the total amount of sick-
pay made out to Claimant is $3,154.00.

The total amount of vested vacation time accrued, and sick pay (totaling 126.20 hours), multiplied
by the rate of $78.85 is $9,950.87.

Therefore, Claimant has a prepetition claim for unpaid wages and penalties in the total amount of
$25,231.70. Of that amount, $15,150.00 is capped as an unsecured, priority claim pursuant to 11
U.S.C. § 507(a)(4). The remaining $10,081.70 is then considered an unsecured, nonpriority claim.

                                Exhibit B – One Legal Expenses

   2. Pre-petition expenses for court filings through One Legal from February 16, 2023, to
      March 15, 2023, in the amount of $6,766.48.

                                      Exhibit C – My Case

   3. Pre-petition expenses for “MyCase” client database in the amount of $1,602.31.

                                     Exhibit D – CourtCall

   4. Pre-petition expense for remote appearance via CourtCall in the amount of $72.00.

                                 Exhibit E – Court Documents

   5. Pre-petition expenses for court documents in the amount of $22.40.

                                    Exhibit F – Work Travel

   6. Pre-petition expenses for work-travel to San Bernardino County Superior Court on
      February 27, 2023, for case no. CIVSB2203213, and to Santa Barbara County Superior
      Court on March 7, 2023, for case no. 22CV01324, in the amount of $339.82.

Total Wages            $25,231.70 (only $15,150.00 as an unsecured, priority claim)
Total Expenses         $8,803.01

                                 TOTAL AMOUNT: $34,034.71




                                                                                  Exhibit A-7
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                        Exhibit “A”




                                                                    Exhibit A-8
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                                                                                             Claim
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                                                                                                                                                             Payrolls by Paychex, Inc.
                                   17542 17th St Ste 100                                     Main
                                                                                               EE ID:Document      Page 24 of 190
                                   Tustin CA 92780-1981
Payrolls by Paychex, Inc.




                                                                                 ISRAEL OROZCO
                                                                                 115 E. DALE STREET                                       NON-NEGOTIABLE
                                                                                 BREA CA 92821




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION
                            Israel Orozco
                            115 E. Dale Street
                            Brea, CA 92821
                            Soc Sec #: xxx-xx-xxxx           Employee ID:


                            Pay Period: 08/02/21 to 08/15/21
                            Check Date: 08/20/21     Check #: 10652




                            TIME OFF (Based on Policy Year)

                            DESCRIPTION     BEGBAL     CURR ACCRUECURR DEDUCT    AVAIL BAL
                            Sick            0.00 hrs       0.00 hrs   0.00 hrs   0.00 hrs
                            DESCRIPTION     BEGBAL     CURR ACCRUECURR DEDUCT    AVAIL BAL
                            Vacation        0.00 hrs       1.54 hrs   0.00 hrs   0.00 hrs




                             Payrolls by Paychex, Inc.

                            0942 1607-7926 Litigation Practice Group PC • 17542 17th St Ste 100 • Tustin CA 92780-1981 • (949) 715-0648
                                                                                                                                            Exhibit A-9
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Payrolls by Paychex, Inc.




                                                                         ISRAEL OROZCO
                                                                         115 E. DATE STREET                                                          NON-NEGOTIABLE
                                                                         BREA CA 92821




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS   YTD ($)
                            Israel Orozco                                                              PAY
                            115 E. Date Street                                                                Salary                                          6307.70
                            Brea, CA 92821                                                                     Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID:                                          Gross Earnings                                 6307.70
                                                                                                               Total Hrs Worked
                            Home Department: 1 LPG CA                                WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)             YTD ($)

                            Pay Period: 01/16/23 to 01/29/23
                            Check Date: 02/03/23     Check #: 12206
                            NET PAY ALLOCATIONS

                            DESCRIPTION            THIS PERIOD ($)
                            Check Amount                   4144.26
                            Chkg 109                          0.00
                            NET PAY                        4144.26                   DEDUCTION                 DESCRIPTION                             THIS PERIOD ($)             YTD ($)




                                                                                      NET PAY                                                              THIS PERIOD ($)           YTD ($)
                                                                                                                                                                   4144.26

                             Payrolls by Paychex, Inc.
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                                                                                  ISRAEL OROZCO
                                                                                  115 E. DATE STREET                                                    NON-NEGOTIABLE
                                                                                  BREA CA 92821




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS        BASIS OF DESCRIPTION       HRS/UNITS   RATE THIS PERIOD ($) YTD HOURS   YTD ($)
                            Israel Orozco                                                                       PAY
                            115 E. Date Street                                                                         Salary                                    6307.70
                            Brea, CA 92821                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID:                                             Gross Earnings                             6307.70
                                                                                                                      Total Hrs Worked
                            Home Department: 1 LPG CA
                                                                                                                      Dir Dep Reimb                                                   400.00
                            Pay Period: 01/30/23 to 02/12/23                                                          REIMB & OTHER PAYMENTS                                          400.00
                            Check Date: 02/17/23     Check #: 12650                           WITHHOLDINGS
                            NET PAY ALLOCATIONS

                            DESCRIPTION                 THIS PERIOD ($)
                            Check Amount                            0.00
                            Chkg 109                             4144.25
                            NET PAY                              4144.25
                            TIME OFF (Based on Policy Year)

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation        80.04 hrs      3.08 hrs   0.00 hrs    83.12 hrs




                                                                                               NET PAY                                                        THIS PERIOD ($)           YTD ($)
                                                                                                                                                                     4144.25

                             Payrolls by Paychex, Inc.
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                                                                         ISRAEL OROZCO
                                                                         115 E. DATE STREET                                                           NON-NEGOTIABLE
                                                                         BREA CA 92821




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS        RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Israel Orozco                                                              PAY
                            115 E. Date Street                                                                Salary                                           9950.87
                            Brea, CA 92821                                                                    Vacation               M86.2000                             M86.2000
                            Soc Sec #: xxx-xx-xxxx       Employee ID:                                          Total Hours               86.2000                              86.2000
                                                                                                               Gross Earnings                                  9950.87
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/13/23 to 02/26/23                                                   Dir Dep Reimb                                                            400.00
                            Check Date: 03/03/23     Check #: 13002                                            REIMB & OTHER PAYMENTS                                                   400.00
                            NET PAY ALLOCATIONS                                      WITHHOLDINGS

                            DESCRIPTION            THIS PERIOD ($)
                            Check Amount                      0.00
                            Chkg 109                       6021.28
                            NET PAY                        6021.28




                                                                                     DEDUCTION




                                                                                      NET PAY                                                               THIS PERIOD ($)               YTD ($)
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Welcome to The Litigation Practice Group (LPG). We are delighted that you have chosen to join our team and hope
that you enjoy a long and successful career with us. As you become familiar with our culture and mission, we hope
you will take advantage of opportunities to enhance your career and further LPG’s goals.
 People are the key to our success. We believe that we are only as good as those we surround ourselves with.


Handbook Introduction
Welcome! As an Employee with LPG you are an important part of a team effort. We hope that you will find your position
with the company rewarding, challenging, and productive.

Because our success depends upon the dedication of our Employees, we are highly selective in choosing new members of
our team. We look to you and the other Employees to contribute to the success of the company.

This Employee Handbook is intended to explain the terms and conditions of employment of all Employees at LPG This
handbook summarizes the policies and practices in effect at the time of publication. This handbook supersedes all
previously issued handbooks and handbook addendums and any policy memoranda that are inconsistent with the policies
described herein. Your Manager or Human Resource department will be happy to answer any questions you may have.

Use the Section Guide to locate information about specific programs and provisions within each of the topics. You will be
asked to sign a receipt that you have received this handbook.

This Handbook has been designed to give you an overview. It is not intended to be all encompassing or to provide you with
all of the details that might apply to an individual situation. If you find yourself needing to determine how a particular policy
applies in your situation, please contact your Manager, Manager, or Human Resources. You should keep this handbook with
other important company paperwork and refer to it when you have questions.

Right to Revise
LPG reserves the right to revise, modify, delete, or add to any and all policies, procedures, work rules, or benefits stated in
this handbook or any other document, except for the policy of at-will employment. Any written changes to this handbook will
be distributed as an addendum so that all Employees are aware of the new policies or procedures. No oral statements or
representations can in any way alter the provisions of this handbook.

Nothing in this Employee Handbook or in any other personnel document, including benefit plan descriptions, creates, or is
intended to create a promise or representation of continued employment for any Employee.




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The Basics

SECTION 1 – Company Information
   1. At-Will Employment Status
   2. Equal Employment Opportunity
   3. Union-Free
   4. Employee Classification
   5. Same-Sex Marriages and Registered Domestic Partners

SECTION 2 – General Appearance
  1. Dress Code and Other Personal Standards
  2. Personal Hygiene
  3. Facial Hair
  4. Piercings

SECTION 3 – Work Schedules, Timekeeping, and Compensation
   1. Time Keeping Requirements for Non-Exempt Employees
   2. Meal and Rest Periods for Non-Exempt Members
   3. Emergency Closings
   4. Questions About Your Pay
   5. Overtime Pay for Non-Exempt Employees
   6. Payment of Wages
   7. Direct Deposit

SECTION 4 – Business Ethics & More
   1. Code of Business Ethics
   2. Avoid Conflict of Interest
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   4. Employer Property
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   6. Reporting Illegal or Unethical Behavior
   7. Off-Duty Conduct
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SECTION 5 – The Basics- Miscellaneous
   1. Parking
   2. Personal Belongings
   3. Respect
   4. Communication
   5. Accountability
Programs and Practices

SECTION 6 – Programs and Practices
   1. Personal Data
   2. Personnel Records
   3. Employee Addresses, Phone Numbers, and Personnel File Information
   4. Employment Verifications
   5. Separation of Employment
   6. Voluntary Separation
   7. Rehire
   8. Confidentiality and Trade Secrets
   9. Solicitation and Distribution of Literature
   10. Surveillance
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   12. Meetings with Employees
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Policies

SECTION 7 – Company Policies & Prohibited Conduct
   1. Harassment Free Environment /Unlawful Harassment
   2. Abusive Conduct (Bullying)
   3. Reporting Procedures
   4. Workplace Violence Policy
   5. Prohibited Conduct Policy
   6. No Gossip Policy
   7. Diversity
   8. Attendance and Voluntary Separation Policy
   9. Punctuality and Tardiness
   10. Discipline and Involuntary Termination
   11. Gross Misconduct
   12. Fraternization
   13. Employment of Relatives
   14. Social Networking
   15. Electronic Communication
   16. Travel Policy
   17. Gifts/Gratuities
   18. Smoking/Tobacco Use
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SECTION 8 – Health & Safety Policies and Procedures
   1. Health and Safety
   2. Hand Washing Policy
   3. Follow Emergency Preparedness Procedures
   4. Fire Safety/Prevention
   5. Reporting Illness, Incident or Accident
   6. Workers’ Compensation
   7. Drug Free Workplace Policy

SECTION 9 – Our Benefits & Privileges
   1. Benefits
   2. Privacy and Health
   3. Sick Policy
   4. Vacation Policy
   5. Holidays
   6. 401(k) Retirement Savings Plan – (TBD)
   7. COBRA

SECTION 10 – Leaves of Absence Benefits
   1. Procedure for Requesting Leave
   2. Medical Certification or Proof for the Need for a Leave of Absence
   3. Amount of Leave
   4. Measuring 12-Month Period
   5. Intermittent Leave or a Reduced Work Schedule
   6. Use of Paid and Unpaid Leave
   7. Seniority While on Leave
   8. Health Benefits While on Leave
   9. Return to Work
   10. Family and Medical Leave Act (FMLA)
   11. Serious Health Condition
   12. Qualifying Exigency Leave
   13. Military Caregiver Leave
   14. California Family Rights Act (CFRA)
   15. CFRA Leave for Bonding or Placement

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   16. Use of Paid and Unpaid Leave
   17. Pregnancy Disability Leave
   18. Military Service Leave
   19. Military Spouse Leave
   20. Bereavement Leave
   21. Bone Marrow and Organ Donor Leave
   22. Domestic Violence, Sexual Assault and Stalking Victims’ Leave
   23. Crime Victim’s Leave
   24. Jury or Witness Duty
   25. Voting Leave
   26. Voluntary Civil Service Leave
   27. School Appearance Leave

   Handbook Acknowledgement, Signature & Authentication




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                            Section 1 - Company Information
1.1 At-Will Employment Status
LPG Employees are employed on an at-will basis. At-will Employment may be terminated with or without cause and with or
without notice at any time by the Employee or the company. Nothing in this handbook shall limit the right to terminate at-will
employment. No Employee of the company has any authority to enter into an agreement for employment for any specified
period of time or to make an agreement for employment on other than at-will terms. Only the CEO and CFO of LPG has the
authority to make any such agreement, which is binding only if it is in writing.

1.2 Equal Employment Opportunity
LPG is an equal opportunity employer and makes employment decisions on the basis of merit. We want to have the best
available persons in every job. Company policy prohibits unlawful discrimination based on race, color, creed, gender, religion,
marital status, registered domestic partner status, age, national origin or ancestry, gender identity, physical or mental
disability, medical condition including genetic characteristics, sexual orientation, or any other consideration made unlawful by
federal, state, or local laws. It also prohibits unlawful discrimination based on the perception that anyone has any of those
characteristics or is associated with a person who has or is perceived as having any of those characteristics. All such
discrimination is unlawful.

The company is committed to compliance with all applicable laws providing equal employment opportunities. This
commitment applies to all persons involved in company operations and prohibits unlawful discrimination by any
Employee of LPG

To comply with applicable laws ensuring equal employment opportunities to qualified individuals with a disability, the
company will make reasonable accommodations for the known physical or mental limitations of an otherwise qualified
individual with a disability who is an applicant or an Employee unless undue hardship would result.

Any applicant or Employee who requires an accommodation in order to perform the essential functions of the job should
contact their Manager or Human Resources with day-to-day personnel responsibilities and request such an accommodation.
The individual requesting an accommodation should specify what accommodation he or she needs to perform the job. The
company then will conduct an investigation to identify the barriers that interfere with the equal opportunity of the applicant or
Employee to perform his or her job. The company will identify possible accommodations, if any that will help eliminate the
limitation. If the accommodation is reasonable and will not impose an undue hardship, the company will make the
accommodation.

If you believe you have been subjected to any form of unlawful discrimination, submit a written complaint to Human
Resources. Your complaint should be specific and should include the names of the individuals involved and the names of any
witnesses. If you need assistance with your complaint, or if you prefer to make a complaint in person, contact the Manager in
your location or the Human Resources Department. The company will immediately undertake an effective, thorough, and
objective investigation to resolve the situation.

If the company determines that unlawful discrimination has occurred, effective remedial action will be taken commensurate
with the severity of the offense. Appropriate action also will be taken to deter any future discrimination. The company will not
retaliate against you for filing a complaint and will not knowingly permit retaliation by Management or other Employees.

1.3 Union-Free
We are a union-free environment, and we prefer to remain that way. Our union-free status allows us to work directly with our
Employees rather than through an outside third party, and to treat every Employee as an individual.

We sincerely believe that our success over the years is due to the cooperative relationship between Management teams and
Employees and our mutual willingness to listen to one another, share ideas and offer suggestions for improvement.




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1.4 Employee Classification
In compliance with the Fair Labor Standards Act and applicable state laws and regulations, all LPG Employees are
classified as either non-exempt or exempt.
    • Non-Exempt: Any Employee covered by the overtime provisions of the federal Fair Labor Standards Act (FLSA) and
         any applicable state laws. Non-exempt Employees are paid for all hours worked and are entitled to overtime pay based
         on state specific laws or local laws, if applicable.
    • Exempt: Any Employee who is exempt from the overtime provisions of federal and state laws. As an exempt
         Employee, you are paid for the job or role you perform, not the amount of hours you work. The Company is not
         required to pay overtime to Employees in exempt positions if the normal workweek is exceeded. Positions that are
         “exempt” are those that meet specific job content tests contained in the law.


1.5 Same-Sex Marriages and Registered Domestic Partners
LPG complies with all applicable federal and state laws regarding the provision of benefits to same-sex spouses and
domestic partners. In California, marriage is considered a personal relationship arising out of a contract between two
persons, which include same-sex spouses. At LPG, all registered domestic partners have the same rights, protections, and
benefits, and shall be subject to the same responsibilities, obligations, and duties under law, as are granted to and imposed
upon spouses.

Questions regarding this policy should be directed to the Human Resource department.




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                               Section 2 - General Appearance
2.1 Dress Code and Other Personal Standards
 Employees must always present a clean professional appearance during the work week.
 Our dress code is Business / Smart Casual / Conservative clothing.
 Employees who wish to wear business suits may do so, but this level of formality is not required.

Examples of Business Casual are:
Dress slacks, khakis, twill bottoms or light fabric slacks
Dresses or skirts (may not be more than 5 inches above the knee)
Jeans that are not faded and free from stains or tears
Collared button-down or polo style shirt, sweater or similar attire
Sandals and open toe shoes are permissible

 Examples of items considered too casual and/or inappropriate include: ·
 Revealing clothing that exposes your chest, stomach, navel, underwear (front or back) or
 that reveals too much cleavage
 T-shirts of a casual nature, such as those printed or embroidered with sayings or team logos, as well as those intended to be
 worn as undershirts
 Tops with spaghetti straps, halter tops or muscle shirts
 Tops that are transparent or see-through, or that give the appearance of such
 Shorts, skorts, or very short skirts
 items adorned with language or images that can be considered foul, vulgar or obscene
 Apparel with holes, rips or tears
 Workout attire, including yoga style pants, sweatpants, sweat suits, sweatshirts, hoodies,
 tennis attire or athletic shoes
 Beachwear, including swimwear, swimsuit cover-ups, or casual flip flops
 Hats, caps, sweat bands or bandanas

 Employees are expected to comply with the Company dress code policy, maintaining an appropriate image for the workplace
 any time they are at work or otherwise representing the Company, such as during professional association meetings and
 business travel. Failure to adhere to this policy may result in appropriate disciplinary action, up to and including termination of
 employment.

 2.2 Personal Hygiene
 Due to close contact with fellow Employees, good personal hygiene, cleanliness, and grooming are essential. Strong body
 odor is not acceptable; therefore, the use of an antiperspirant or deodorant is required.
 reasons, the use of strong, heavy scents and fragrances is not permitted. If you choose to wear a scent or fragrance product,
 please be considerate of others and select a light, mild scent.

 2.3 Facial Hair
 Male employees are permitted to have moustaches, beards or goatees that are kept trimmed and not present a bushy or
 unkempt appearance. Beard and Goatee lengths must not exceed ½ an inch below the chin.
 Moustaches must not extend further than the corners of your mouth. Sideburns may not extend below the bottom of the
 earlobe

 2.4 Piercings
 Intentional body alteration or modification for the purpose of achieving a visible, physical effect that disfigures, deforms or
 similarly detracts from a professional image is prohibited. Examples include, but are not limited to, body piercings
 (other than traditional ear piercing), tongue piercing or splitting, tooth filing, earlobe expansion, and acquiring visible.
 disfiguring skin implants. Employees are offered positions with the understanding that they meet the criteria above.
 LPG Law reserves the right to separate with any employee in violation of this policy after the date of hire.



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             Section 3 - Timekeeping and Compensation
3.1 Timekeeping Requirements for Non-Exempt Employees
Every Employee is entitled by law to receive wages for all hours worked. You will be assigned a Payroll login by the
Payroll Company. This is your identification when signing in and out on the computer and is required by the payroll
system. This Employee identification number and your password should not be shared with other Employees. Any
Employee found tampering with the time keeping system or deliberately falsifying their own or any other time records will
be subject to immediate termination.

All non-exempt Employees are required to record time worked for payroll purposes. Employees must record their own time at
the start and at the end of each work period, including before and after their meal period. Employees also must record their
time whenever they leave the building for any reason other than LPG business. All Employees are responsible for recording
their hours at the time the hours are worked. Employees are required to notify Human Resources
if they have failed to use the time clock properly. Any errors in your time record should also be immediately reported to
Human Resources and they will enter the correct time punches manually. Multiple occurrences of failing to use the Time
Clock properly will be documented as a Write Up.

Employees will not be required nor permitted to work any period of time beyond the normal starting or quitting times for the
purpose of making up time lost unless compensated. No instances of hourly Employees “working off the clock” will be
tolerated. Managers must ensure that hourly Employees receive wages for all hours worked. In the event an hourly
Employee is found to be working while not clocked in, both the Manager-on-duty and said hourly Employee(s) can expect
disciplinary action as a result of this misconduct. Clocking in another Employee or altering a time is not permissible and is
subject to immediate termination under the Prohibited Conduct Policy, as defined in section 7.

3.2 Meal and Rest Periods for Non-Exempt Employees
Meal and Rest breaks are guaranteed daily to non-exempt members by several state laws and are an important Company
policy to provide you with an opportunity to rest.

Meal Periods
All non-exempt Employees who work in excess of 5 hours in a workday are provided a minimum of 30 minutes up to an hour
of unpaid time for a meal period (“First Meal Period”). Employees who work more than 10 hours in a workday are provided a
second unpaid meal period of at least 30 minutes (“Second Meal Period”).

The employee’s First Meal Period shall begin prior to working 5 complete hours of work and the Second Meal Period
shall begin prior to working 10 complete hours of work. During a meal period, the employee will be relieved of all work
duties and is free to leave the premises. Under no circumstances should an employee clock out for a meal period and
continue working. Any employee who repeatedly violates this policy will receive disciplinary action up to termination.

Rest Breaks
Non-exempt Employees must take a net 15-minute rest break per 4 hours worked or major fraction thereof. A “net” 15-
minute rest break means that the employee has a full 15 minutes to rest. Insofar as practicable, rest breaks will be provided
in the middle of work periods – one before the meal period, and one after the meal period. Rest breaks are taken while on-
the-clock. And should never exceed 15 minutes.

The following chart outlines the meal periods and rest breaks LPG provides and expects all Non-exempt employees to take:




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                                                California Meal & Rest Periods

             Total Hours Worked Number of Available              Number of Available
             (including paid rest 15-Minute Paid Rest            30-Minute to an hour       Meal Period Start Time
                   breaks)              Breaks                   Unpaid Meal Periods

                 Less than 3½                   0                           0                          N/A
                    3½ to 5                     1                           0                          N/A
                                                                                            No later than 5 hours of
              More than 5 up to 6               1                           1
                                                                                                      work
                                                                                            No later than 5 hours of
             More than 6 up to 10               2                           1
                                                                                                      work
                                                                                            For the first meal period,
                                                                                            no later than 5 hours of
              More than 10 up to
                                                3                           2                 work; for the second
                     14
                                                                                              meal period, no later
                                                                                             than 10 hours of work

If anyone or anything interferes with an employee’s ability to take rest breaks or meal periods as outlined in this policy, the
employee must immediately notify a member of Management or the Human Resources Department. No employee will be
retaliated against for raising a concern regarding meal periods and/or rest breaks.

Meal Period: A designated meal period in accordance with state law and Company policy. The company requires that all non-
exempt Employees take the designated meal periods.

Employees are provided with a minimum of 30 minutes up to an hour meal period. The Employee’s First Meal Period shall
be provided after no more than 4 hours and 59 minutes of work. The Employee Second Meal Period shall be after no more
than 9 hours and 59 minutes of work. During a meal period, the employee will be relieved of all work duties and is free to
leave the premises. Under no circumstances should an employee clock out for a meal period and continue working.
    • The meal period for non-exempt Employees is unpaid.
    • Employees are required to clock out for their meal period and clock in no earlier than a full 30 minutes after
        clocking out. However, you will be considered late if you clock back in for your shift more than 35 minutes after
        clocking out.
    • You may depart the premises during a scheduled meal period once clocked out.

Rest Break: A designated 10-minute paid rest period is in accordance with state law and Company policy.
   • Non-exempt Employees must remain on the premises in designated areas during rest periods.

If for any reason you have missed a rest or meal period break, you must notify a Manager or Supervisor as soon as possible.
LPG prohibits you from working off the clock on your breaks. LPG takes the requirements of State Labor Codes regarding
rest and meal period breaks very seriously, and failure to take your scheduled breaks may be grounds for disciplinary
action up to and including termination.

Disciplinary actions for violating the Meal Break and Break Policy are as follows:

1st and 2nd occurrences- verbal warning
3rd occurrence – written warning
4th occurrence - 2-day suspension without pay
5th occurrence - 3-day suspension without pay
6th occurrence – Employment is Terminated
After 3 months of zero instance the number of occurrences reset to zero
Lactation/Breastfeeding Breaks
Any Employee who is breastfeeding her child will be provided reasonable break times as needed to express breast milk for
her baby. The break time shall, if possible, run concurrently with any break time already provided to the employee. Break

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time for an employee that does not run concurrently with the rest time authorized for the employee by the applicable wage
order of the Industrial Welfare Commission shall be unpaid. LPG, Inc has a designated room for this purpose. Employees
storing milk in the refrigerator assume all responsibility for the safety of the milk and the risk of harm for any reason,
including improper storage or refrigeration and tampering.
Breaks beyond an employee’s normal break time will be unpaid, and the Employee should indicate the unpaid break
period on her time record.

3.3 Emergency Closings
Severe weather, fire, power failure, earthquake or other events can disrupt our lives and company operations. These
circumstances may require the company to temporarily close the office. You will be notified by your Manager regarding
permission to leave early. If you have not begun your shift and are notified not to come to work, you will not be paid. In this
case, you may choose to take any accrued vacation or time without pay.

3.4 Questions About Your Pay
You may bring any questions you have regarding your paycheck, pay policy and deductions to the attention of Human
Resources.

If you lose your payroll check, the payroll company (ADP) is required to cancel the original check. You will not be issued a
new check until the bank has confirmed the stop payment. You may be documented for the extra costs incurred by the
company for re-issuing your paycheck.

3.5 Overtime Pay for Non-Exempt Employees
Before you incur any overtime your Manager must authorize the overtime. You must notify your Manager if you anticipate that
your shift will put you into an overtime situation. All overtime worked will be compensated. However, working overtime without
prior approval may result in disciplinary action.

Overtime Pay: Overtime pay for non-exempt Employees equals one and one half times their regular non-exempt rate (for
example, $10.00 hourly rate equal $15.00 overtime hourly rate.)

All non-exempt Employees are eligible to receive overtime pay based on the definition above. In addition, eligible non-
exempt Employees will receive “double time” pay (twice their hourly rate) when required to work a 7 th consecutive day in the
same workweek or for hours worked in excess of 12 hours based on specific state law.

                                                            California
                                  Hours worked over 8 in one workday; overtime is paid at the
                                          rate of 1.5 times your regular rate of pay.
                                 Hours worked over 12 in one workday; overtime is paid at the
                                            rate of 2.0 times your regular rate of pay.
                                       Hours worked up to 8 on the seventh consecutive
                                      day of the work week; overtime is paid at the rate of
                                                1.5 times your regular rate of pay.
                                       Hours worked over 8 on the seventh consecutive
                                      day of the work week; overtime is paid at the rate of
                                                2.0 times your regular rate of pay.
                                 Hours worked over 40 straight-time hours in one work week;
                                overtime is paid at the rate of 1.5 times your regular rate of pay.

3.6 Payment of Wages
Paydays are bi-weekly, with payday being every other Friday.

3.7 Direct Deposit
LPG offers direct deposit for Employees. You may begin and stop automatic payroll deposit at any time. To begin automatic
payroll deposit, you must complete a form on your first day of hire. You should carefully monitor your direct deposit stubs,
just as you would your paycheck stub.
To stop automatic payroll deposit, you must inform Human Resources.


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           Section 4 - Conflicts of Interest and Confidentiality
 4.1 Code of Business Ethics
 “Doing the right thing” is a company expectation. Your personal ethical behavior on the job is the most important way to keep
 the Company’s tradition of excellence intact. Maintaining integrity while performing all aspects of the Company’s business
 has always been a key part of LPG’s culture.

 Our reputation for ethical business practices is one of the Company’s most valued assets. Your personal integrity and actions
 are important to continue this tradition of excellence.

 You are expected to know the Company’s Code of Business Ethics, which is a Company policy that is followed without
 exception. Below is a summary of the Code, along with examples of actions to avoid. Review them carefully to learn your
 responsibilities for ethical behavior on the job.

  4.2 Conflicts of Interest
LPG expects all employees to conduct themselves and company business in a manner that reflects the highest standards of
ethical conduct, and in accordance with all federal, state, and local laws and regulations. This includes avoiding real and potential
conflicts of interests.
Exactly what constitutes a conflict of interest, or an unethical business practice is both a moral and a legal question. LPG
recognizes and respects the individual’s employees right to engage in activities outside of employment which are private in nature
and do not in any way conflict with or reflect poorly on the company.
It is not possible to define all the circumstances and relationships that might create a conflict of interest. If a situation arises where
there is a potential conflict of interest, the employees should discuss this with a manager for advice and guidance on how to
proceed. The list below suggests some of the types of activity that indicate improper behavior, unacceptable personal integrity, or
unacceptable ethics:
      1. Simultaneous employment by another firm that is a competitor to LPG
      2. Carrying on company business with a firm in which the employee, or a close relative of the employee, has a substantial
          ownership or interest.
      3. Holding a substantial interest in or participating in the management of a firm to which the company makes sales or from
          which it makes purchases.
      4. Borrowing money from customers or firms, other than recognized loan institutions, from which our company buys
          services, materials, equipment, or supplies.
      5. Accepting substantial gifts or excessive entertainment from an outside organization or the company.
      6. Speculation or dealing in materials, equipment, supplies, services, or property purchased by the company.
      7. Participating in civic or professional organization activities in a manner that divulges confidential company information.
      8. Misusing privileged information or revealing confidential data to outsiders.
      9. Using one’s position in the company or knowledge of its affairs for personal gains.
      10. Engaging in practices or procedures that violate antitrust laws, commercial bribery laws, copyright laws, campaign
          contribution laws, or other laws regarding the conduct of company business.

4.3 Confidential Information
The protection of confidential business information and trade secrets is vital to the interests and success of LPG Confidential
information is any and all information disclosed to or known by you because of employment with the company that is not generally
known to the people outside the company about its business.
An employee who improperly uses or discloses trade secrets or confidential business information will be subject to disciplinary
action up to and including termination of employment and legal action, even if he or she does not actually benefit from the
disclosed information.
This provision is not intended to, and should not be interpreted to, prohibit employees from discussing wages and other terms and
conditions of employment if they so choose.




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4.4 Employer Property
Desks, computers, keyboards, headsets, and phones, etc. are LPG property and must be maintained according to Company
rules and regulations. They must be kept clean and are to be used only for work-related purposes. LPG reserves the right to
inspect all company property to ensure compliance with its rules and regulations, without notice to the Employee and at any
time, not necessarily in the Employee’s presence.

Company voice mail and/or electronic mail (e-mail) are to be used for business purposes only. LPG reserves the right to
monitor voice mail messages and e-mail messages to ensure compliance with this rule, without notice to the Employee and
at any time, not necessarily in the Employee’s presence.

For security reasons, Employees should not leave personal belongings of value in the workplace. Terminated Employees
should remove any personal items at the time they leave LPG Personal items left in the workplace are subject to disposal if
not claimed at the time of an Employee’s termination.

It is your job to protect Company assets entrusted to you and to ensure their efficient use for legitimate business purposes.

4.5 Reporting Theft
As mentioned before, LPG has a zero tolerance policy when it comes to any form of theft. If you do
become aware of any theft you are required to report it. Here are four ways to report theft:
    • Talk to your Manager or Supervisor
    • Contact your Human Resource Department

4.6 Reporting Illegal or Unethical Behavior
If you have a concern of illegal, unethical or other questionable behavior in the workplace, speak up; discuss your concerns
with a Manager or contact Human Resources.

4.7 Off-Duty Conduct
While LPG does not seek to interfere with the off-duty and personal conduct of its Employees, certain types of off-duty
conduct may interfere with the Company’s legitimate business interests. For this reason, Employees are expected to
conduct their personal affairs in a manner that does not adversely affect the Company’s or their own integrity, reputation or
credibility. Illegal or immoral off-duty conduct by an Employee that adversely affects the Company’s legitimate business
interests or the Employee's ability to perform his or her job will not be tolerate

4.8 Secondary Employment
    Employees who wish to engage in additional employment that may create a real or apparent conflict of interest must submit
    a written request to LPG explaining the details of the additional employment. If the additional employment is authorized,
    LPG assumes no responsibility for it. LPG shall not provide workers’ compensation coverage or any other benefit for injuries
    occurring from or arising out of additional employment. Authorization to engage in additional employment can be revoked at
    any time
    The following types of employment elsewhere are strictly prohibited:
    • Additional employment that conflicts with an Employee’s work schedule, duties, and responsibilities at the
        company
    • Additional employment that creates a conflict of interest with the Employee’s position with the company
    • Additional employment that impairs or has a detrimental effect on the Employee’s work performance with the
        company
    • Additional employment that requires the Employee to conduct work or related activities on Company property
        during the employer's working hours or using company facilities and/or equipment
    • Additional employment that directly or indirectly competes with the business or the interests of the company.




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                     Section 5 - The Basics- Miscellaneous
5.1 Parking
Employees must park their vehicles in designated areas. Please leave all valuables at home and not in your car. LPG is not
responsible for any loss or damage to Employee vehicles or contents while parked in assigned parking.

5.2 Personal Belongings
LPG will not be responsible or liable for any personal property of an individual that is lost, stolen or damaged. The
responsibility for safeguarding, replacing or repairing personal property lost, stolen or damaged while on Company premises
is that of the Employee. Consequently, we encourage Employees not to bring personal property to work.

5.3 Respect
Respecting others invites respectful treatment toward you
    • Treat others with dignity as unique and valued individuals
    • Respect among Employees at all levels is vital to our success as a Company

5.4 Communication
Willingness to communicate with Employees, Supervisors, Managers and Human Resources helps to clarify issues,
resolve misunderstandings, and prevent conflicts that affect teamwork.
     • You are responsible for remaining courteous on the job at all times, including with clients, affiliates and fellow
        Employees.
     • If you have questions, ask them courteously and respectfully.
     • Never use foul language, biased words or tone of voice that could injure the image or reputation of the Company.

5.7 Accountability
Accountability is defined as taking ownership for your performance each day.
    • Take the initiative to deliver your best efforts every day
    • Support your team by pitching in
    • Be sensitive to how your work affects other Employees and contributes to their success




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                    Section 6 - Programs and Practices
6.1 Personal Data
You are responsible for ensuring that your personal data is accurate and up-to-date in the Company’s payroll
System (ADP). Timely updates are essential. This information is essential for you to receive Company communications.

A change of address, phone number, or emergency contact information must be reported to Human Resources via email or
paper form. A name change cannot be made in the Human Resources System until the name change has been processed
through the Social Security Administration. Human Resources must see your new Social Security card and request the
name change.

6.2 Personnel Records
You may request an appointment to review your personnel file at any time during normal business hours. The file is to remain
in the Human Resources Department. You may request copies of any document contained in your personnel file bearing
your signature. Only you, your Manager, and Human Resources have access to your personnel file. However, when applying
for another position within the Company, the hiring Manager may review your past performance and attendance records.

6.3 Employee Addresses, Phone Numbers, and Personnel File Information
All information contained in Employees' personnel files is confidential. This information must be maintained by all Employees
as confidential. Many times, people will ask for the address or phone number of a Company Employee. These numbers may
not be given out to other Employees or any other private party that may ask for it. They are to be kept in strict confidence at
all times. You are free to exchange phone numbers with other Employees, but this information will not be provided by your
store.

6.4 Employment Verifications
All verifications for employment information, including salary will be processed through Human Resources and all inquiries
received about your employment will be documented and kept in your personnel file.

Information will only be provided with your signed authorization or if the Company is served a subpoena, as required by law.
Your Manager is not authorized to release any information about your current or past employment. By policy, LPG discloses
only the dates of employment and the title of the last position held of a former Employee. If you authorize the disclosure in
writing, LPG will also inform prospective employers of the amount of salary or wage you last earned.

6.5 Separation of Employment
In the event that you choose to resign from your position, we ask that you give us at least a two week written notice. You are
responsible for returning all Company property, including keys, uniforms, and credit cards immediately upon termination of
employment. Employees leaving the Company may be requested to complete an electronic exit survey that will be returned
to Human Resources. The purpose of the survey is to determine the reasons for leaving and to resolve any questions or any
matters related to the separation. We encourage your candid response to assist us in our improvement efforts. Please note
that upon separation of employment, your final check will reflect benefit deductions up to the end of the date of separation.

6.6 Voluntary Separation
Voluntary separation results when a Employee voluntarily resigns his or her employment at LPG, or fails to report to work for
one scheduled workday without notice to, or approval by, his or her Manager.

6.7 Rehire
Employees who are rehired more than 31 days after their separation date will be subject to the new hire process such as
a background check, etc. Employees who provide the requested amount of notice will be considered to have resigned in
good standing and generally will be eligible for
All rehires must be approved by the Human Resource Department prior to promising or offering a position.




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6.8 Confidentiality and Trade Secrets
Each Employee is personally responsible for the security of all Company confidential information and trade secrets,
including material relating to the business of the Company and its subsidiaries, during and after employment. Each

Employee agrees, as a condition of employment, to use your best efforts and utmost diligence to safeguard and preserve
the confidentiality of all such information.

Trade secrets and confidential information is any information that reflects knowledge, not already available to the public,
acquired by a Employee during the course of employment, pertaining to the Company’s methods, formulations, inventions,
use of technology, business plans and other such information that provides the Company with a competitive advantage.

Examples of Confidential information include, but are not limited to:
   • All letters or any other information concerning transactions with clients
   • Financial records of the Company
   • All records pertaining to purchases from vendors and suppliers
   • Correspondence and agreements with clients and guests
   • Payroll or personnel records of past or present Employees
   • Trade secrets

6.9 Solicitation and Distribution of Literature
In order to ensure efficient operation of the company’s business and to prevent disruption to Employees, we have
established control of solicitations and distribution of literature on company property.

LPG has enacted rules applicable to all Employees governing solicitation, distribution of written material, and entry onto the
premises and work areas. All Employees are expected to comply strictly with these rules. Any Employee who is in doubt
concerning the application of these rules should consult with his or her Supervisor or Manager.

No Employee shall solicit or promote support for any cause or organization during his or her working time or during the
working time of the Employee or Employees at whom such activity is directed.
No Employee shall distribute or circulate any written or printed material in work areas at any time, or during his or her
working time or during the working time of the Employee or Employees at whom such activity is directed.

Under no circumstances will Non-Employees be permitted to solicit or to distribute written material for any purpose on company
property.

6.10 Surveillance
Our facilities may be monitored by video surveillance for your safety and protection. The Company also uses this tool to
minimize theft and unethical behavior. You may be videotaped while on the premises and this recording may be stored for
historical records and may be used and stored during an investigation. Tampering with any surveillance equipment will be
subject to disciplinary action up to and including termination.

6.11 Company Search
In order to enforce Company Policies, stop theft, prevent workplace violence, prevent harassment, prevent illegal actions and
otherwise protect the interests of the Company, its customers and its employees, a Company Manager or designee may
work areas, desks and other locations or belongings without prior notice in order to ensure a work environment free of
prohibited items. All Employees are required to cooperate with and aid in investigations to the best of their ability.

6.12 Meetings with Employees
From time to time, mandatory individual or staff meetings may be held for the purpose of providing instruction, training,
counseling, or to review Company operating policies. If such a meeting is called and includes you or your department, then
your attendance is required. You will be paid for this time.




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6.13 Performance Evaluation Periods and Compensation- ALL performance discussions are confidential.
Communication between employees and supervisors or mangers is very important. Discussions regarding job performance
are ongoing and often informal. Employees should initiate conversations with their supervisors if they feel additional
ongoing feedback is needed. Generally, formal performance reviews are conducted annually. These reviews include a
written performance appraisal and discussion between the employee and the supervisor about job performance and
expectations for the coming year.
If an Employee is out on a Leave of Absence their review will be deferred until their return.

6.14 Promotions
LPG believes that rewarding talent and promoting from within creates a culture of loyalty and stability.
We encourage our Employees to seek additional responsibilities and promotions that may come available. All open
positions will be posted so that all Employees will have the opportunity to apply.




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        Section 7 - Company Policies & Prohibited Conduct
7.1 Harassment Free Environment/Unlawful Harassment
 LPG is committed to providing a work environment free of unlawful harassment. Company policy prohibits sexual harassment
 and harassment based on pregnancy, childbirth or related medical conditions, race, religious creed, color, gender, national
 origin or ancestry, physical or mental disability, medical condition, marital status, registered domestic partner status, age,
 sexual orientation or any other basis protected by federal, state or local law or ordinance or regulation. All such harassment
 is unlawful. The company’s anti-harassment policy applies to all persons involved in the operation of the company and
 prohibits unlawful harassment by any Employee of the company, including Executives and Managers, as well as vendors,
 guests, and any other persons. It also prohibits unlawful harassment based on the perception that anyone has any of those
 characteristics or is associated with a person who has or is perceived as having any of those characteristics.

Prohibited unlawful harassment includes, but is not limited to, the following behavior:
   •    Verbal conduct such as epithets, derogatory jokes or comments, slurs or unwanted sexual advances, invitations or
        comments
   •    Visual displays such as derogatory and/or sexually-oriented posters, photography, cartoons, drawings, or gestures
   •    Physical conduct including assault, unwanted touching, intentionally blocking normal movement or interfering with
        work because of sex, race, or any other protected basis
   •    Threats and demands to submit to sexual requests as a condition of continued employment, or to avoid some other
        loss and offers of employment benefits in return for sexual favors
   •    Retaliation for reporting or threatening to report harassment

7.2 Abusive Conduct (Bullying)
As amended by A.B. 2053, Section 12950.1 of the Government Code defines abusive conduct as malicious conduct “that a
reasonable person would find hostile, offensive, and unrelated to an employer’s legitimate business interests.” Although A.B.
2053 provides that a single act is not abusive “unless especially severe and egregious,” its list of conduct that may be
abusive is expansive, such as:
    • infliction of verbal abuse, such as the use of derogatory remarks
    • insults
    • epithets
    • verbal or physical conduct that a reasonable person would find threatening, intimidating, or humiliating
    • gratuitous sabotage or undermining of a person’s work performance

7.3 Reporting Procedures
 If you believe that you have been unlawfully harassed, you may submit a complaint via a verbal or written communication to
 the Human Resources Department immediately or as soon as possible after the incident. You will be asked to provide details
 of the incident or incidents, names of individuals involved and names of any witnesses. Management will refer all

harassment complaints to the Human Resources Department. The company will immediately undertake an effective,
thorough, and objective investigation of the harassment allegations.

If the Company determines that unlawful harassment has occurred, effective remedial action will be taken in accordance with
the circumstances involved. Any Employee determined by the Company to be responsible for unlawful harassment will
be subject to appropriate disciplinary action, up to, and including termination. A Company representative will advise all
parties concerned of the results of the investigation. The Company will not retaliate against you for filing a complaint and will
not tolerate or permit retaliation by Management, Executives or co-workers.

LPG will also take action to protect the Employee who filed the complaint and prevent further harassment or retaliation. Any
individuals including Employees and Managers engaging in such conduct contrary to LPG policy may be personally liable in
any legal action brought against them.

The company encourages all Employees to immediately report any incidents of harassment forbidden by this policy so that
complaints can be quickly and fairly resolved. LPG does not consider conduct violating this policy to be within the course and
scope of employment or the direct consequence of the discharge of one’s duties. Accordingly, to the extent permitted by law,
the company reserves the right to not provide a defense or pay damages assessed against an Employee for conduct in
violation of this policy.
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You also should be aware that the Federal Equal Employment Opportunity Commission and the California Department of
Fair Employment and Housing investigate and prosecute complaints of prohibited harassment in employment. If you think
you have been harassed or that you have been retaliated against for resisting or complaining, you may file a complaint with
the appropriate agency. The nearest office is listed online or on the Employee Notices poster in the Employee break
rooms.

7.4 Workplace Violence Policy
 LPG is committed to providing a safe workplace for all Employees and we have established this policy to do our best to
 provide a safe and secure workplace. To better understand your role in reducing the risk of violence, all Employees should
 review and understand all provisions of this Workplace Violence Policy.
 This list of behaviors, while not inclusive, provides examples of conduct that is prohibited under the Workplace Violence
 policy.
     •     Causing physical injury to another person
     •     Making threatening remarks
     •     Aggressive or hostile behavior that creates a reasonable fear of injury to another person or subject another individual
           to emotional distress
     •     Intentionally damaging LPG property or property of another Employee
     •     Possession of a weapon while on LPG property or while on LPG business whether or not you are on the clock
     •     Committing acts motivated by, or related to, sexual harassment or domestic violence

7.5 Prohibited Conduct Policy
The list of behaviors below, while not inclusive, provides examples of conduct that is prohibited.
    •    Falsifying employment records, employment information, or other Company records
    •    Gambling on LPG property, including using the intranet for the purposes of gambling
    •    Violating traffic or parking regulations while traveling for Company business or failing to properly report any type of
         accidents involving a vehicle used while traveling on Company business
    •    Recording the work time of another Employee or allowing any other Employee to record your work time, or
         falsifying any time edit or time sheet, either your own or another Employee’s
    •    Theft and deliberate or careless damage or destruction of any Company property, or the property of any
         Employee or guest
    •    Removing or borrowing Company property without prior authorization
    •    Unauthorized use of Company equipment, time, materials, or facilities
    •    Provoking a fight or fighting during working hours or on Company property
    •    Carrying firearms or any other dangerous weapons on Company premises at any time
    •    Engaging in criminal conduct whether or not related to job performance
    •    Causing, creating, or participating in a disruption of any kind during working hours on Company property
    •    Insubordination, including but not limited to failure or refusal to obey the orders or instructions of a member of
         Management or the use of abusive or threatening language toward a Supervisor or member of Management
    •    Failing to notify a Supervisor, Manager or HR when unable to report to work
    •    Failing to obtain permission to leave work for any reason during normal working hours
    •    Failing to observe working schedules, including rest and lunch periods; (Please refer to Meal/Rest Break Policy in
         Section 3.2)
    •    Failure to report all time worked, including overtime
    •    Failing to use the Time Clock properly repeatedly
    •    Substandard Work, Performance
    •    Sleeping or malingering on the job
    •    Using abusive language and threatening gestures and or body language at any time on Company premises
    •    Violating any safety, health, security or Company policy, rule or procedure
    •    Committing, or involvement in, any act of unlawful harassment of another individual
    •    Making defamatory or false statements detrimental to the facility’s operation or good standing in the community
    •    Failing to be courteous and polite to other Employees and our guests at all times
    •    Working inefficiently, lacking of productive effort, or other unsatisfactory work performance
    •    Failing to report for scheduled work shift without proper notice, authorization, and/or valid reason. Employees
         failing to provide this notice will be considered to have voluntarily terminated their employment
    •    Having an excessive number of absences or tardiness



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Disciplinary actions for Substandard Work and other select Conduct issues are as follows:

1st occurrence - verbal warning
2nd occurrence written warning
3rd occurrence - 2-day suspension without pay
4th occurrence - 3-day suspension without pay
5th occurrence - Termination of employment with The Company
Based on the severity of the Prohibited Conduct, the Company has the right to Terminate employment immediately

7.6 No Gossip Policy
 Gossip is an activity that can drain, corrupt, and impact a company’s productivity, moral, and overall satisfaction. Most people
 involved in gossip may not intend to do harm, but gossip can have a negative impact as it has the potential to destroy a person’s
 or organization’s reputation and credibility.

Samples of gossiping are:
   • Discussing a person’s private life while that person was not present
   • Discussing a person’s professional life without that person’s supervisor present
   • Making negative, derogatory, or critical comments about someone else
   • Sharing information that could injure a person’s credibility or reputation, and
   • Sharing or repeating a rumor about another person.

Damaging side effects of gossip:
   • Increased anxiety among employees as rumors circulate without clear information as to what is and what is not fact.
   • Divisiveness among employees as people take sides.
   • Hurt feelings and reputations.
   • Good employees leaving the company because of an unhealthy work environment.

Gossip will not be tolerated at LPG Employees that participate in or instigate gossip about the company, a coworker, or
customer will receive disciplinary action up to Termination.

7.7 Diversity
 Diversity is our strength. The uniqueness of our individual Employees is what makes us special as a company. LPG
 celebrates these differences because we know diversity contributes to our key competitive strength—innovation. Our
 innovative excellence is a result of the creative ideas and perspectives of the many diverse people within our organization.
 The following guidelines allow us to celebrate diversity as our strength:
     • Make Your Actions Count: Conduct yourself in a manner that positively contributes to the quality of work life for
          everyone.
     • Demonstrate Acceptance of Others: Communicate respectfully through your words and actions.

For Example:
    • Use non-judgmental words or phrases;
    • Don’t make negative assumptions about people who are different than you
    • Control expressions that reflect generalizations about types of people
    • Don’t discuss or probe others’ personal habits or lifestyle
       Don’t make sexual, religious or ethnic jokes or remarks
    • Avoid contributing to negative attitudes towards groups or individuals. This includes holding back, denying your full
       assistance or participation, or by silently observing such treatment by others.
    • Follow the PLATINUM Rule: “Treat others as they would like to be treated.”

7.8 Attendance and Voluntary Separation Policy
As an Employee of LPG, you are expected to be in regular attendance. If you are unable to report to a scheduled shift LPG
expects you to inform your Manager, Human Resources and Payroll of the expected duration of any absence. If you are
absent for more than 2 shifts with an illness or injury, you will be asked to provide a doctor's note excusing you from work.
If you provide a doctor’s note, missed shifts during this absence will be dismissed as excused.
Four unexcused absences in a 45-day period will result in immediate termination.
In addition, if you fail to report for work without any notification to your Manager or Human Resources, LPG will
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consider this a “Voluntary Separation.” Voluntary Separation results when an Employee voluntarily resigns his
or her employment at LPG or fails to report to work for one (1) scheduled workday without giving notice to, or
approval by, his or her Manager or Human Resources.

7.9 Punctuality and Tardiness
As an Employee of LPG, you are expected to be punctual. Tardiness interferes with business operations and needs and
creates a hardship for your fellow Employees and your Managers.
Excessive tardiness will not be tolerated. Excessive tardiness will result in disciplinary action up to and including
termination. Excessive Tardiness is defined as being late over 15 minutes 7 times in a rolling 90 day period.
Employees are expected to report to work as scheduled, on time, and prepared to start work. Employees also are
expected to remain at work for their entire work schedule, except for meal periods or when required to leave on authorized
Company business. Late arrival and/or early departure from scheduled hours are disruptive and must be avoided, unless
authorized by Management.

7.10 Discipline and Involuntary Termination
LPG expects and demands high quality work and behavior from its Employees and expects you to conduct yourself in a
businesslike manner. If discipline is necessary, you will be subject to LPG progressive discipline process that may take the
form of a verbal warning, a written warning, suspension or discharge, at Management’s discretion. LPG, INC has the right to
determine what discipline is appropriate. In certain circumstances your conduct may lead to immediate termination. Further,
as previously stated, you are an at-will Employee and both you and LPG may terminate your employment at any time, with
or without cause. LPG’s discipline procedures are not meant to imply any contrary policy.

7.11 Gross Misconduct
Gross misconduct is any illegal or dangerous act willfully committed in the workplace. The act need not be criminal or
otherwise unlawful in nature to qualify as gross misconduct.

Gross misconduct can be an intentional, wanton, willful and/or reckless act in direct conflict or indifference to the Company’s
interests or the safety of the team. An act of gross misconduct that will result in termination is an act done in deliberate
violation of the Company’s known standards, beyond simple negligence or incompetence.

7.12 Fraternization
Relationships of a social and/or personal nature between Managers and subordinate Employees are discouraged by
LPG Such relationships can lead to alleged favoritism, morale and/or sexual harassment problems.

Therefore, if any two Employees who are dating or attempting to date and who are either directly or indirectly under his/her
supervision, both Employees involved must, in writing, immediately notify the Human Resources Department. Both
Employees will also be asked to sign a Consensual Relationship Agreement.

Any and all relationships between Employees, which disrupt the LPG operations or interfere with Employee’s rights, will
result in discipline up to and including termination. LPG has a strict policy against sexual harassment. Such harassment will
not be tolerated.

7.13 Employment of Relatives
LPG will not employ persons in direct or indirect Manager/subordinate relationships who are related by blood or marriage
without approval from the CEO and CFO. If you work in a supervisory position you are required to notify Human Resources
of any relatives that work for the company or have been hired by the company.

For the purpose of this policy, “related by blood or marriage” includes:

                  Adopted Relative      Spouse/ Ex-Spouse          Legal Ward
                  Aunt/Uncle            Grandchild                 Niece/Nephew
                  Brother/Sister        Grandparent                Parent/Stepparent
                  Child/Stepchild       In-Law                     Registered Domestic Partner
                  Cousin                Legal Guardian             Stepbrother/Stepsister




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In order to maintain this policy, the following rules apply: No one eligible for employment or any current Employee may be
transferred or promoted if they are related by blood or marriage to another Employee in the Management chain of
command over that position at any LPG location. It is the Manager in said position and the Employee’s responsibility to
notify Human Resources if there is such a relationship.

7.14 Social Networking
Social Networks have become a common form of communication in our personal and professional lives. These include
popular web sites such as Facebook, YouTube, Twitter, Instagram and Snap Chat as well as numerous blog sites and user
review sites. Used responsibly, they can help positively shape the public’s opinion of the Company and its products,
Employees and guests.

The same basic policies apply as in other areas of your work regarding these social networking sites. While typically what
you do outside of work is your personal business, certain activities, like social networking activities, might affect your
performance or the Company’s business interests and therefore are an appropriate subject of Company policy. The purpose
of these guidelines is to help you understand how LPG Company policies apply to your social media activities, so you can
participate responsibly.
     • Only those officially designated by the Company are authorized to speak on its behalf.
     • Unless you have this permission and are participating in this role, your participation in social networking activities is
         personal, and you should use a personal email address (not your corporate address). Just as you would not use
         Company stationery for a letter to the editor with your personal views, do not use your Company e-mail address for
         personal views. Remember even anonymous comments may be tracked to an individual through their specific IP
         address.
     • You must not share confidential or proprietary information about the Company or its operating companies—even
         when on your own Facebook page. You must assume anyone can read your posts at any time.
     • Never post sensitive confidential information about your work. This includes information about strategy, products,
         clients, employees, sales, finances, or any other information that has not been publicly released by the
         Company.
     • Policies you should be familiar with include the Code of Business Ethics, Computer, E-mail & Internet Use, and the
         release of Proprietary Information and Confidentiality. Remember, you are responsible for anything you write or
         present in a social network. Be mindful that your conduct may result in liability for the Company as well.
     • Write in the first person. Where your connection to the Company is apparent, make it clear that you are speaking for
         yourself and not on behalf of the Company by including the following statement in your communication: “The views
         expressed are my own and do not reflect the views of my employer.” Consider adding this language in an “About me”
         section of your blog or social networking profile.
     • Follow all Company policies.

7.15 Electronic Communication
LPG uses various forms of electronic communication including, but not limited to computers, e-mail, telephones, Internet,
etc. All electronic communications, including all software, databases, hardware, and digital files, remain the sole property of
LPG and are to be used only for Company business and not for any personal use.

Electronic communication and media may not be used in any manner that would be discriminatory, harassing, or obscene, or
for any other purpose that is illegal, against Company policy, or not in the best interest of the company.

Employees who misuse electronic communications and engage in defamation, copyright or trademark infringement,
misappropriation of trade secrets, discrimination, harassment, or related actions will be subject to discipline and/or immediate
termination.

Employees may not install personal software on company computer systems. No screen savers or any other programs may
be downloaded without prior consent from the IT department.

All electronic information created by any Employee using any means of electronic communication is the property of LPG and
remains the property of LPG Personal passwords may be used for purposes of security, but the use of a personal password
does not affect the company’s ownership of the electronic information. LPG will override all personal passwords if necessary
for any reason.

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LPG reserves the right to access and review electronic files, messages, mail, and other digital archives, and to monitor the
use of electronic communications as necessary to ensure that no misuse or violation of Company policy or any law occurs.

7.16 Travel Policy
    All travel costs including airline tickets, hotels, rental cars and use of personal vehicles must be approved by the CFO prior
    to purchases or usage.
   Travelers will be reimbursed for out-of-pocket, reasonable costs incurred when traveling on official Company business,
   within certain limitations as specified within these guidelines. Reimbursable expenses include the direct cost of approved
   travel, approved lodging, and approved meals excluding alcohol, approved airport parking, approved ground transportation,
   and other approved travel-related items.

   Personal expenses incurred during business travel will not be reimbursed. Examples of personal expenses include, but are
   not limited to items such as:

   •    Telephone calls to family and friends
   •    Movies, headphones, snacks, or beverages purchased on aircrafts, in airports, or in hotels
   •    Room service charges that are over and above daily allotted meal allowance per the terms below
   •    Dry cleaning and laundry expenses (except for trips longer than five days)
   •    Personal hygiene items, and other expenses of a personal nature

   All travel expenses must be documented on our standard Expense Report Form, approved by the CFO and then submitted
   to Accounts Payable within 15 days of the completion of the travel. In turn, Accounts Payable will process expense reports
   with the goal of producing reimbursement checks on a weekly basis.

   •    You must have the original receipt reflecting the meal cost and the original itemized receipts must be submitted in order
        to be reimbursed. Credit card receipts will not be accepted
   •    There is no reimbursement for alcoholic beverages.
   •    The CFO must approve all travel, before travel occurs.
   •    Keep a copy of all receipts submitted for your records.
   Non-exempt Employees who are traveling will be paid for travel time. If the hours worked goes into overtime during travel,
   the Employee will be paid time and a half, or double time if required by law.

   When approved by the CFO, LPG Employees may use a personal vehicle for travel. LPG will pay per mile for any travel
   outside of their regular commute. All reimbursements for mileage will be calculated from the location of their home office to
   their travel destination. LPG will not be responsible for any damages to a personal vehicle due to accident, vandalism or
   theft. This includes paying a deductible.

7.17 Gifts/Gratuities
Gifts of more than token value of $50.00 per year, excessive entertainment or other substantial favors from any outside party
that is seeking to do business with the Company is considered a conflict of interest. This policy should not be construed to
prohibit necessary business outings. However, sporting events or any other leisure activities with vendors or other outside
parties are not acceptable. Failure to comply with this policy will subject you to Corrective Action, up to and including
separation of employment.

7.18 Smoking/Tobacco Use
There is to be absolutely NO Smoking, chewing tobacco or Vaping of any kind inside the Restrooms or anywhere
inside the office building.

7.19 Lactation/Breastfeeding Breaks
Any Employee who is breastfeeding her child will be provided reasonable break times as needed to express breast milk for
her baby. The break time shall, if possible, run concurrently with any break time already provided to the employee. Break
time for an employee that does not run concurrently with the rest time authorized for the employee by the applicable wage
order of the Industrial Welfare Commission shall be unpaid. Each LPG location has a designated room for this purpose.
Employees storing milk in the refrigerator assume all responsibility for the safety of the milk and the risk of harm for any
reason, including improper storage or refrigeration and tampering.
Breaks beyond an employee’s normal break time will be unpaid, and the Employee should indicate the unpaid break
period on her time record.
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        Section 8 - Health & Safety Policies and Procedures
8.1 Health and Safety
LPG is committed to a safe and healthy work environment for Employees and guests alike. As a team, we manage the
safety and health function of our business in the same way we manage quality efforts– with a commitment to excellence.
The Company makes every effort to continually ensure your safety and health in the
workplace. To accomplish this, we believe safety is everyone’s job, not just the job of the Safety Committee. You are
responsible to act in a safe manner throughout your work shift every day.

While training for your new position, you will be coached on proper injury prevention methods. Our goal is to provide you and
your fellow Employees with a safe work environment and the knowledge necessary to prevent possible injuries.

As you are working, always study your job and its possible hazards. If you encounter an unsafe condition, please notify a
Supervisor or Manager immediately so we can actively take steps to prevent you or another Employee from being injured.
Maintaining a safe environment requires the efforts of all of us.

Protecting the safety of our employees and visitors is the most important aspect of running our business. All employees have the
opportunity and responsibility to contribute to a safe work environment by using common sense rules and safe practices and by
notifying management when any health or safety issues are present. All employees are encouraged to partner with
management to ensure maximum safety for all.
In the event of an emergency, notify the appropriate emergency personnel by dialing 911.

8.2 Hand Washing Policy
The prevention of illness and flu through proper hand washing is well established.

Your hands must be washed:
   • After using the restroom
   • After coughing or sneezing
   • After touching your face, hair
   • After smoking
   • After eating

    •   After taking a break
    •   After handling money
    •   After emptying garbage


8.3 Follow Emergency Preparedness Procedures
Emergency circumstances such as a power outage, earthquake, or fire can occur at any time. It is important for you to
understand your role in an emergency situation so that you can respond quickly and safely in a crisis. LPG has written
emergency plans for specific situations to reduce health and safety risks and possibly save lives. It is your responsibility to
become familiar with these plans.

Below are some basic tips to help you respond in an emergency:
    • Familiarize yourself with the emergency exits near your work area and throughout the office.
    • In an emergency, report directly to your Manager and follow their instructions to evacuate and/or secure the office.
    • Proceed directly to the designated assembly area where Employees are instructed to gather in the event of an
       emergency. These assembly areas are marked with the appropriate department information.

8.4 Fire Safety/Prevention
    • Know the location of fire extinguishers and exit doors in your work area and make sure they are kept clear at all
        times.
    • Do not do anything that would put you or your coworkers in danger. If in doubt, evacuate.

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8.5 Reporting Illness, Incident or Accident
Our first priority is your health. If you become ill while at work make sure to report your illness to your Manager as soon as
possible. We want to ensure you are able to contact your primary care provider if medical attention is needed.

8.6 Workers’ Compensation
The Company pays a Workers’ Compensation insurance premium, which provides benefits to Employees who experience
any compensable work related injury or illness. To be eligible for Workers’ Compensation benefits, the injury/illness must
be determined to be a direct result of work on the job or work environment. To be eligible for Workers’ Compensation
benefits your injury or illness must be work related. Benefit entitlements are governed by state laws, which involve
reporting structures and timelines. It is essential that you report all work related accidents, injuries, and illnesses to your
Manager at the time of occurrence. It is equally important to report an injury even if you are only a witness.

It is a crime to knowingly file a false or fraudulent claim for Workers’ Compensation benefits or to knowingly submit
false or fraudulent information in connection with any Workers’ Compensation claim.

The penalty for filing a false Worker's Compensation claim can vary widely. A judge may impose fines, restitution, and
probation. If a misdemeanor conviction is given it can include up to one year in jail. Depending on the specifics of the case, a
judge can impose a felony conviction and up to 30 years in prison. Filing a false or fraudulent Workers’ Compensation claim
is also a violation of Company policy and will result in disciplinary action, up to and including separation of employment. LPG
actively monitors for fraudulent Workers’ Compensation claims.

8.7 Drug Free Workplace Policy
Purpose: The Company is committed to providing a safe working environment to protect Employees and guests,
minimize the risk of accidents and injuries, and to provide the highest level of services.

It is the policy of LPG to maintain a drug- and alcohol-free work environment that is safe and productive for employees and
others having business with the company. The unlawful use, possession, sale, distribution, or being under the influence of any
illegal drug and/or the misuse of legal drugs while on company or client premises or while performing services for the company
is strictly prohibited. LPG also prohibits reporting to work or performing services under the influence of alcohol or consuming
alcohol while on duty or during work hours. In addition, LPG prohibits off-premises abuse of alcohol and controlled substances,
as well as the possession, use, or sale of illegal drugs, when these activities adversely affect job performance, job safety, or the
Company’s reputation in the community.




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                       Section 9 - Our Benefits & Privileges

9.1 Benefits
LPG is proud to offer its eligible Employees valuable and competitive benefits and services. For more information, please
contact Human Resources.

9.2 Privacy and Health
The federal government has created a set of rules under the Health Insurance Portability and Accountability Act (HIPAA).
These rules require privacy and security surrounding your personal health information. The HIPAA privacy rule does not
apply to other areas such as disability claims or workplace safety.

Human Resources will assist you with enrollment and provide detailed information about your benefit plan provisions. In
order to protect your privacy, Human Resources will not be able to assist you with your health claims. However, you will have
the full range of personal customer service available to you from your health care providers.

9.3 Sick Policy
LPG full time employees will receive 24 hours of sick pay upon hire, however, there is a 90-day waiting
period before you may utilize any sick time.
Afterwards, your sick time will accrue each pay period but will be capped at 40 hours per year.
Sick days are not intended to be used as a substitute for vacation days, but sick days may be used if
an employee needs to provide care for a family member who is ill. Sick days may also be used if an
employee needs time off for scheduled medical procedures.
If an employee misses 2 or more consecutive days because of an illness LPG may require the employee to provide a
doctor’s note to excuse the absence. Any accrued sick days are paid out when employee’s employment is terminated.

9.4 Vacation Policy
LPG full time employees will accrue vacation based upon their years of service,
position as per the chart below. Vacation time begins accruing at the date of employment, however,
there is a 90-day waiting period before you may utilize any vacation time.

The eligible Employee must submit all vacation requests on a Time-Off Request Form at least 2 weeks in advance of the
planned vacation time in order to make allowances for business needs. In some cases, business requirements may restrict
requested days off.

Employees may carry over unused vacation not to exceed 120 hours, at which point no additional vacation will accrue.
Upon separation from the company any unused accrued vacation will be paid to the Employee.




                                 Years of Service                            Vacation Accrual
                                                                        Accrual 5 days off per year.
                                   Up to 1 year
                                                                         1.54 hours per pay period
                                                                        Accrual 10 days off per year.
                                   2 to 4 years                         3.08 hours per pay period

                                                                        Accrual 15 days off per year.
                                 5 years or more                        4.62 hours per pay period




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                                                      Executive Management
                                                                       Accrual 15 days off per year.
                                 1 years to 5 Years
                                                                        4.62 hours per pay period
                                                                       Accrual 20 days off per year.
                                 10 years or more
                                                                        6.16 hours per pay period

   Executive Management will be forced to take vacation for two consecutive weeks annually.


9.1 Holidays
The company observes and allows time off with pay for the following holidays:

  •   New Year’s Day
  •   Martin Luther King
  •   Memorial Day
  •   Independence Day (4th of July)
  •   Labor Day
  •   Thanksgiving Holiday (Thursday & Friday)
  •   Christmas

Should a holiday fall over the weekend, LPG will close it’s offices the Friday immediately preceding the Holiday.

9.2 401(k) Retirement Savings Plan
   TBD

9.3 COBRA
The Consolidated Omnibus Budget Reconciliation Act provides the opportunity for Employees and their beneficiaries to
continue health insurance coverage under the Company health plan when a "qualifying event" could result in the loss of
eligibility. Qualifying events include resignation, termination of employment, death of a Employee, reduction in hours, a leave
of absence, divorce or legal separation, entitlement to Medicare, or where a dependent child no longer meets eligibility
requirements. Please contact Human Resources to learn more about your COBRA rights.




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                    Section 10 – Leaves of Absences Benefits
 LPG recognizes that Employees may need to be absent from work (or miss work intermittently) for an extended period of
 time for various reasons. Taking a leave of absence can accommodate this needed time-off, while maintaining status as a
 Company Employee.

 There are various types of leaves, some of which may require you to meet certain eligibility criteria. The leave may fall under
 one or more of the following categories: Family and Medical Leave Act (FMLA), California Family Rights Act (CFRA),
 Pregnancy Disability Leave (PDL), a Personal Leave of Absence, Military Service Leave, or Military Spouse Leave. In
 addition, there are other leave types available which are further outlined in this section.

 Your office phone, voice mail, email and all system access will be deactivated while you are on a leave, subject to specific
 leave type. Once you return from leave, your access will be restored. You must turn in you radio and company keys before
 you go on leave.

10.1 Procedure for Requesting Leave
  If you think you may need to take a leave of absence, please notify Human Resources and a Leave of Absence Request
  Form will be provided to you. The request form must be submitted to and approved by Human Resources.

 When the need for the leave is foreseeable, the Employee must provide the employer with at least 30 days' notice. When a
 Employee becomes aware of a need for leave less than 30 days in advance, the Employee must provide
 notice of the need for the leave either the same day or the next business day, or according to the specific policy related to the
 leave type. When the need for a leave is not foreseeable, the Employee must provide notice within a reasonable period of
 time either prior to the commencement of the leave or as soon as feasible .

 Every leave is unique, and Human Resources will be able to assist you with the leave process and answer any questions you
 may have. After you submit your leave of absence request, a leave designation notice will be mailed to your current address
 on record.

 10.2 Medical Certification or Proof for the Need for a Leave of Absence
 In most cases, the company will require certification or proof for the need for a leave of absence. The certification should be
 attached to the Leave of Absence Request form. If the certification or proof is not attached, the leave cannot be approved
 and instead a designation notice will be sent to the Employee stating that the leave is contingent upon receiving the
 certification or proof within 15 days or provide a reasonable explanation for the delay. Failure to provide certification or proof
 may result in a denial of continuation of leave. If the leave type does not require a designation notice, and certification or
 proof has not been submitted prior to the need for leave, if the leave is foreseeable and not an emergency situation, then the
 leave may be denied.

 The company may request recertification for the serious health condition of the Employee or the Employee’s family member
 when circumstances have changed significantly, or if the employer receives information casting doubt on the reason given for
 the absence, or if the Employee seeks an extension of his or her leave. Otherwise, the company may request recertification
 for the serious health condition of the Employee or the Employee’s family member every six months in connection with a
 FMLA absence.

 10.3 Amount of Leave
 An eligible Employee may take up to 12 weeks for most FMLA/CFRA qualified leaves during any 12-month period (or 26
 weeks for the FMLA military caregiver leave). If a husband and wife both work for the company and each wishes to take
 leave to care for a covered injured or ill service member, the husband and wife may only take a combined total of 26 weeks
 of leave.

 A woman Employee who goes out on a Pregnancy Disability Leave is provided with up to 4 months or 17 1/3 weeks for
 pregnancy disability leave. (Please see Pregnancy Disability Leave section for further information.)


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 10.4 Measuring 12-Month Period
 The Company will measure the 12-month period as a rolling 12-month period measured backward from the date a Employee
 uses any leave under this policy. Each time an Employee takes leave, the company will compute the amount of leave the
 Employee has taken under this policy in the last 12-months and subtract it from the 12 weeks of available leave, and the
 balance remaining is the amount of time the Employee is entitled to take at that time.

 An eligible Employee can take up to 26 weeks for the FMLA military caregiver leave circumstance above during a single 12-
 month period. For this military caregiver leave, the company will measure the 12-month period as a rolling 12-month period
 measured forward. FMLA leave already taken for other FMLA circumstances will be deducted from the total of 26 weeks
 available.

 The company will measure a 30 day personal leave period as a rolling 12-month period measured backward from the date a
 Employee uses any leave under this policy. Each time a Employee takes a personal leave, the company will compute the
 amount of leave the Employee has taken under this policy in the last 12 months and subtract it from the 30 days of available
 leave, and the balance remaining is the amount of time the Employee is entitled to take at that time.

10.5 Intermittent Leave or a Reduced Work Schedule
  The Employee may take FMLA leave in 12 consecutive weeks, may use the leave intermittently (take a day periodically
  when needed over the year) or, under certain circumstances, may use the leave to reduce the workweek or workday,
  resulting in a reduced-hour schedule. In all cases, the leave may not exceed a total of 12 workweeks (or 26 workweeks to
  care for an injured or ill service member over a 12-month period).

10.6 Use of Paid and Unpaid Leave
  All paid vacation and sick leave runs concurrently with FMLA leave when the leave type falls under FMLA.

 Disability leave for the birth of a child (Pregnancy Disability Leave) and for a Employee's serious health condition,
 including workers' compensation leave (to the extent that it qualifies), will be designated as FMLA leave and will run
 concurrently with FMLA.

 Employees who are on leave for their own serious health condition or to care for a family member who has a serious health
 condition, or who is bonding with a newborn or child placed for adoption or foster care may qualify for pay under State
 Disability Insurance (SDI) or Paid Family Leave (PFL). Pamphlets will be sent to the Employee along with the leave of
 absence designation letter.

10.7 Seniority While on Leave
  Your bonus, annual increase, review date may be prorated according to any Leave of Absence you have taken. (For leaves
  related to pregnancy, workers’ compensation, military leave under USERRA, Crime Victims, or bone marrow and organ
  donor leave, your review date and service award date will not be affected.)

10.8 Health Benefits While on Leave
  For Employees who are currently enrolled in health benefits when their leave begins, their health coverage will be maintained at
  the same level and under the same conditions as coverage would have been provided if the employee was continuously
  employed during the entire leave period. Employees are expected to continue paying for their portion of the premiums
  while on leave.

 Health coverage will be maintained, for Employees who qualify for a leave under FMLA/CFRA, for up to 12 weeks (or up to
 26 weeks during a leave to care for an ill or injured service member). For Pregnancy Disability Leaves (PDL), coverage will
 be maintained for the entire duration of the PDL and during the 12 weeks the qualifying Employee is on CFRA leave for baby
 bonding. Health coverage for Employees on a personal leave of absence will be maintained for up to 30 days.

 Employees who are provided an extension of leave but whose leave is exhausted under FMLA/CFRA and personal leave,
 will be able to continue their health coverage under COBRA.

10.9 Return to Work
  An Employee who takes leave may be asked to provide a fitness for duty (FFD) clearance from the health care provider if
  the original medical certification provided does not include a return to work date.
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The Company may require a Employee on leave to report periodically on the Employee’s status and intent to return
to work.

Should the Employee fail to return to work at the end of an approved leave or fail to provide an updated LOA request form to
extend the leave (not to exceed the total weeks allowed under the specific leave type), will be considered to have voluntarily
resigned from the Company.

10.10 Family and Medical Leave Act (FMLA)
The function of this policy is to provide Employees with a general description of their FMLA rights. In the event of any
conflict between this policy and the applicable law, Employees will be afforded all rights required by law.

If you have any questions, concerns or disputes with this policy, you must contact the LPG Human Resources.

General Provisions
Under this policy, the Company will grant up to 12 weeks of unpaid leave (or up to 26 weeks of unpaid military caregiver
leave to care for a covered service member with a serious injury or illness) during a 12-month period to eligible Employees.

Eligibility
To qualify to take family or medical leave under this policy, the Employee must meet the following conditions:

    •   The Employee must have worked for the company for 12 months prior to the Employee’s first day out on leave. The
        12 months does not have to be consecutive. Separate periods of employment will be counted, provided that the
        break in service does not exceed seven years. Separate periods of employment will be counted if the break in
        service exceeds seven years due to National Guard or Reserve military service obligations.
    •   The Employee must have worked at least 1,250 hours during the 12-month period immediately before the date
        when the leave is requested to commence.
    •   The Employee must work in a work site where 50 or more Employees are employed by the company within 75 miles
        of that office or work site. The distance is to be calculated by using available transportation by the most direct route.

Type of Leave Covered
To qualify as FMLA leave under this policy, the eligible Employee must be taking leave for one of the reasons listed
below:
    • The birth of a child and to care for the newborn child within one year of birth.
    • The placement of a child for adoption or foster care and to care for a newly placed child.
    • To care for a spouse, child or parent with a serious health condition (Under the FMLA, a “spouse” means a husband
        or wife as defined under the law in the state where the Employee resides, including same-sex marriages in states
        that legally recognize such civil unions, such as California).
    • The serious health condition of the Employee. (Further explained)
    • Qualifying exigency leave for families of members of the National Guard or Reserves or of a regular component of
        the Armed Forces when the covered military member is on covered active duty or called to covered active duty.
        (Further explained)
    • Military caregiver leave (also known as covered service member leave) to care for an injured or ill service member or
        veteran. (Further explained)

10.11 Serious Health Condition
A Employee may take leave because of a serious health condition that makes the Employee unable to perform the
functions of the Employee's position.

A serious health condition is defined as a condition that requires inpatient care at a hospital, hospice or residential medical
care facility, including any period of incapacity or any subsequent treatment in connection with such inpatient care or as a
condition that requires continuing care by a licensed health care provider.

This policy covers illnesses of a serious and long-term nature, resulting in recurring or lengthy absences. Generally, a chronic
or long-term health condition that would result in a period of three consecutive days of incapacity with the first visit to the


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health care provider within seven days of the onset of the incapacity and a second visit within 30 days of the incapacity would
be considered a serious health condition. For chronic conditions requiring periodic health care visits for treatment, such visits
must take place at least twice a year.

Employees with questions about what illnesses are covered under this FMLA policy or under the company's sick leave policy
are encouraged to consult with Human Resources.

If an Employee takes paid sick leave for a condition that progresses into a serious health condition and the Employee
requests unpaid leave as provided under this policy, the company may designate all or some portion of related leave taken
as leave under this policy, to the extent that the earlier leave meets the necessary qualifications.

10.12 Qualifying Exigency Leave
A Employee whose spouse, son, daughter or parent has been notified of an impending call or order to covered active military
duty or who is already on covered active duty may take up to 12 weeks of leave for reasons related to or affected by the
family member’s call-up or service. The qualifying exigency must be one of the following: a) short-notice deployment, b)
military events and activities, c) child care and school activities, d) financial and legal arrangements, e) counseling, f) rest and
recuperation, g) post-deployment activities, and h) additional activities that arise out of active duty, provided that the
employer and Employee agree, including agreement on timing and duration of the leave.

Covered active duty means:
   • In the case of a member of a regular component of the Armed Forces, duty during the deployment of the member
       with the Armed Forces to a foreign country.

    •   In the case of a member of a reserve component of the Armed Forces, duty during the deployment of the member
        with the Armed Forces to a foreign country under a call or order to active duty under a provision of law referred to in
        Title 10 U.S.C. §101(a)(13)(B).

The leave may commence as soon as the individual receives the call-up notice. (Son or daughter for this type of FMLA leave
is defined the same as for child for other types of FMLA leave except that the person does not have to be a minor.) This type
of leave would be counted toward the Employee’s 12-week maximum of FMLA leave in a 12-month period.

10.13 Military Caregiver Leave
An Employee whose son, daughter, parent or next of kin is a covered service member may take up to 26 weeks in a single
12-month period to care for that service member.

Next of kin is defined as the closest blood relative of the injured or recovering service member.

The term covered service member means:
   • A member of the Armed Forces (including a member of the National Guard or Reserves) who is undergoing medical
        treatment, recuperation or therapy or is otherwise in outpatient status, or is otherwise on the temporary disability
        retired list, for a serious injury or illness.
   • A veteran who is undergoing medical treatment, recuperation or therapy for a serious injury or illness and who was a
        member of the Armed Forces (including a member of the National Guard or Reserves) at any time during the period
        of five years preceding the date on which the veteran undergoes that medical treatment, recuperation or therapy.

The term serious injury or illness means:
   • In the case of a member of the Armed Forces (including a member of the National Guard or Reserves), an injury or
        illness that was incurred by the member in line of duty on active duty in the Armed Forces (or that existed before the
        beginning of the member’s active duty and was aggravated by service in line of duty on active duty in the Armed
        Forces) and that may render the member medically unfit to perform the duties of the member’s office, grade, rank or
        rating.

    •   In the case of a veteran who was a member of the Armed Forces (including a member of the National Guard or
        Reserves) at any time during a period when the person was a covered service member, a qualifying (as defined by
        the Secretary of Labor) injury or illness that was incurred by the member in line of duty on an active duty in the

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    •   Armed Forces (or that existed before the beginning of the member’s active duty and was aggravated by service in
        line of duty on active duty in the Armed Forces) and that manifested itself before or after the member became a
        veteran.

10.14 California Family Rights Act (CFRA)
General Provisions and Eligibility
CFRA leave shares the same General Provisions and Eligibility as FMLA, (with the exception of military caregiver leave).
Please see General Provisions and Eligibility under the FMLA section of this handbook.

Type of Leave Covered
The California Family Rights Act (CFRA) (Gov. Code, § 12945.2) was established to ensure secure leave rights for the
following:
     • Birth of a child for purposes of bonding
     • Placement of a child in the employee's family for adoption or foster care
     • For the serious health condition of the employee's child, parent, spouse (including same-sex spouses), or registered
         domestic partner
     • For the employee's own serious health condition

For the definition of Serious Health Condition, please refer to Type of Leave Covered under the FMLA section of this
handbook.

10.15 CFRA Leave for Bonding or Placement
The birth-mom (who is also the Employee), who qualifies for a leave under CFRA, is eligible to take up to 12 weeks of baby
bonding after a Pregnancy Disability Leave (PDL). Any FMLA leave-time remaining after the PDL will run concurrently with
any CFRA leave taken for this purpose.

A Employee who is not the birth mom, and who qualifies for a leave under CFRA, is eligible to take 12 weeks of leave under
CFRA for baby bonding. The 12 weeks of leave provided under CFRA runs concurrently with 12 weeks of Leave provided
under FMLA. A written and signed statement from the Employee will serve as proof of relationship to the child.

Leave taken under this policy must be completed within one year of the event. If the original requested time off is less than
the total 12 weeks allowed under this policy and the Employee wishes to extend the time, the Employee should provide
the Company with an updated LOA Request form with at least a 30 day notice.

The basic minimum duration of a CFRA leave is two weeks when the leave is taken for the birth, adoption, or foster care
placement of a child. However, the Company shall grant a request for a CFRA leave of less than two weeks duration on any
two occasions.

10.16 Use of Paid and Unpaid Leave
If CFRA leave is for a serious health condition, the employee may elect or the employer may require the employee to use any
accrued vacation time or other accumulated paid leave, including any accrued sick leave. The 12 weeks of leave provided
under CFRA for a serious health condition runs concurrently with 12 weeks of Leave provided under FMLA.

10.17 Pregnancy Disability Leave
A woman Employee is eligible for Pregnancy Disability Leave immediately upon hire. A length of service requirement does
not need to be met. The Employee’s healthcare provider ultimately decides when a woman is disabled by her pregnancy.

If disabled by pregnancy, childbirth or related medical conditions, a Employee is entitled to take Pregnancy Disability Leave
(PDL) of up to four months, or the working days in one-third of a year or 17⅓ weeks, depending on her period(s) of actual
disability.




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The following are all covered by PDL:
   • severe morning sickness
   • prenatal or postnatal care
   • doctor-ordered bed rest
   • gestational diabetes
   • pregnancy-induced hypertension
   • preeclampsia
   • childbirth
   • postpartum depression
   • loss or end of pregnancy
   • recovery from childbirth or loss or end of pregnancy

Leave taken for pregnancy disability does not have to be taken at one time. Leave can be taken before or after birth or at any
period of time the woman is physically unable to work because of the pregnancy or pregnancy-related condition. Periods of
leave may be totaled in computing the four months of leave.

Reasonable accommodation or transfer to another job function will be made for a pregnant Employee affected by her
pregnancy when it is medically advisable. Also, if a Employee’s health care provider indicates that intermittent leave or a
reduced work schedule is medically advisable and foreseeable based on planned medical treatment, LPG may require the
Employee to transfer to an alternative position. The alternative position must better accommodate recurring periods of leave
than does the Employee's regular job. Although the alternative position need not have equivalent duties, it must have an
equivalent rate of pay and benefits and the Employee must be qualified for the position. Transfer to an alternative position
may include altering an existing position to accommodate the Employee's need for intermittent leave or a reduced work
schedule. Periodic absences for pregnancy-related illness of limited duration taken prior to an actual leave may be subtracted
from the four months of disability leave for pregnancy.

An Employee who takes a pregnancy disability leave is also entitled to take a CFRA leave if she meets the eligibility
requirements for a CFRA leave. That means that a woman who is eligible for CFRA leave could take up to four months of
pregnancy disability leave for her pregnancy disability and could also be entitled to up to 12 weeks of CFRA leave to bond
with the baby, or for another CFRA qualifying event such as to bond with an adopted child, or to care for a parent, spouse or
child with a serious health condition.

An Employee under this policy is required to use their sick accrual for any portion of PDL leave which is unpaid. If the
Employee is applying for SDI, their sick leave benefit will be coordinated with SDI as long as it does not exceed 100% of her
wages. The Employee is not required to use any vacation accrual during her PDL leave.

10.18 Military Service Leave
LPG is committed to protecting the job rights of Employees absent on military leave. In accordance with federal and state
law, it is the company’s policy that no Employee or prospective Employee will be subjected to any form of discrimination on
the basis of that person's membership in or obligation to perform service for any of the Uniformed Services of the United
States. Specifically, no person will be denied employment, reemployment, promotion or other benefit of employment on the
basis of such membership. Furthermore, no person will be subjected to retaliation or adverse employment action because
such person has exercised his or her rights under applicable law or company policy.

If any Employee believes that he or she has been subjected to discrimination in violation of company policy, the Employee
should immediately contact Human Resources.

Employees taking part in a variety of military duties are eligible for benefits under this policy. Such military duties include
leaves of absence taken by members of the uniformed services, including Reservists and National Guard members, for
training, periods of active military service and funeral honors duty, as well as time spent being examined to determine fitness
to perform such service. Subject to certain exceptions under the applicable laws, these benefits are generally limited to five
years of leave of absence.

Employees requesting leave for military duty should contact Human Resources to request leave as soon as they are aware
of the need for leave. For request forms and detailed information on eligibility, Employee rights while on leave and job
restoration upon completion of leave, refer to the policies, procedures and forms by contacting Human Resources.
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10.19 Military Spouse Leave
Military Spouse Leave is separate from leave under the Family and Medical Leave Act (FMLA) to provide qualifying exigency
leave and leave to care for an ill or injured service member. Leave under this policy is unpaid and lasts for up to 10 days.

An Employee must meet the following qualifications to qualify for leave under this policy:
   • Work for a qualified employer that employs 25 or more employees
   • Be the spouse of a qualified service member
   • Work an average of 20 or more hours per week
   • Provide you with notice of his/her intention to take the leave, within two business days of receiving official notice
      that the service member will be on leave from deployment
   • Submit written documentation certifying that the service member will be on leave from deployment during the time
      the leave is requested

The service member must meet one of the following requirements for an Employee to be eligible for leave under this policy:
   • Be a qualified member of the United States Armed Forces who was deployed during a period of military conflict to an
       area designated as a combat theater or combat zone by the president of the United States
   • Be a member of the National Guard who has been deployed during a period of military conflict
   • Be a member of the Reserves who has been deployed during a period of military conflict

Employees may use their vacation accrual during military spouse leave. However, it is not required.

10.20 Bereavement Leave
Employees with more than 3 months’ service may take up to 3 days of paid bereavement leave upon the
death of a member of their immediate family. “Immediate family members” are defined as an employee’s spouse,
domestic partner, parents, stepparents, siblings, children, stepchildren, grandparent, father in law,
mother in law, sister in law, son in law, daughter in law, or grandchild. All regular, full time employees
may take up to one (1) day off with pay to attend the funeral of an extended family member; aunts, uncles and cousins.
The company may require verification of the need for the leave.
The employee’s supervisor and Human Resources will consider this time off on a case-by-case basis.

An eligible Employee who is notified of a death in his or her family as defined above while at work will be paid for the
remainder of the scheduled hours that day. The eligibility for paid bereavement leave will not commence until the next
regularly scheduled workday which is lost. All time off in connection with the death of one of the above-listed individuals
should be scheduled with your Manager. Employees will be required to have proof for Payroll Services to payout. See Human
Resources for clarification or questions.

10.21 Bone Marrow and Organ Donor Leave
Bone Marrow Leave: (California only) Employees are allowed up to five days of unpaid leave in any one-year period for a
bone marrow donation. Employee must provide a medical certification that he or she is a bone marrow donor and that there
is a medical necessity for the donation of the bone marrow. This leave will run concurrent with other leaves. A Employee
taking leave for this purpose must use up to five days of their accrued sick and vacation pay.

Organ Donation Leave: Allows Employees up to thirty days of unpaid leave in any one-year period for organ donation.
Employee must provide a medical certification that he or she is an organ donor and that there is a medical necessity for the
donation of the organ. This leave will run concurrent with other leaves. Up to two weeks of vacation or sick time will be
exhausted for Employees taking leave for this purpose.

In order to take Bone Marrow or Organ Donor Leave, an eligible Employee must be employed for a period of 90 days
immediately preceding the beginning of the leave.

A “one-year period” is considered to be 12 consecutive months from the date the employee begins his/her leave, not one
calendar year.

Bone Marrow and Organ Donor Leave does not run concurrently with FMLA/CFRA.


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10.22 Domestic Violence, Sexual Assault and Stalking Victims' Leave
Reasons for Leave
Employees who are victims of domestic violence, sexual assault or stalking may need time off for legal proceedings, such as
1) obtaining a restraining order or court assistance; 2) to seek medical attention for injuries; 3) to obtain services from a
shelter, program or rape crisis center to obtain psychological counseling or to participate in safety planning, including
relocation due to domestic violence. Accrued paid sick leave may be used for these purposes.

Notice to Employer
Employees must give reasonable advance notice of their intent to take time off, if feasible and be able to provide
certification. The confidentiality of any Employee seeking leave for this purpose will be maintained. The certification may be
any of the following:
     • A police report indicating that the employee was a victim of domestic violence, sexual assault or stalking

    •   A court order protecting or separating the employee from the perpetrator of an act of domestic violence, sexual
        assault or stalking, or other evidence from the court or prosecuting attorney that the employee appeared in court
    •   Documentation from a medical professional, domestic violence advocate or advocate for victims of sexual

        assault, health care provider or counselor that the employee was undergoing treatment for physical or mental
        injuries or abuse resulting in victimization from an act of domestic violence, sexual assault or stalking

An Employee, who seeks medical treatment for this purpose, to the extent that they qualify, may take a leave of absence under
FMLA.

10.23 Crime Victim's Leave
Judicial Proceedings
Employees who are victims of a crime may take leave to attend to judicial proceedings related to the specified serious
crime and for any proceeding involving victims’ rights.

The leave can be of any length. However, the time off from work must be used to attend judicial proceedings related to a:
   • Violent felony
   • Serious felony
   • Felony theft or felony embezzlement

An Employee who is a victim of one of these serious crimes or whose immediate family member is a crime victim can take time
off to attend judicial proceedings related to that crime.

An Employee may take time off from work to attend judicial proceedings related to one of these serious crimes if the
Employee is:
   • A victim of a crime
   • A crime victim’s immediate family member
   • A crime victim’s registered domestic partner
   • A child of a registered domestic partner who is a crime victim

Immediate family members include the employee’s: Spouse, Child/Step-Child, Brother/Sister, Step-Brother/Step-Sister,
Mother/Father, and Step-mother/Step-father.

Before taking leave to attend the judicial proceeding, the Employee must provide a copy of the notice of each scheduled
proceeding. These notices are provided to the victim by the pertinent government agency. Documentation can come from
any of the following sources:
    • The court or government agency setting the hearing
    • The district attorney or prosecuting attorney’s office
    • The victim or witness assistance office advocating on the victim’s behalf

Employees can use accrued sick time, vacation, and personal leave under this policy to attend judicial proceedings related
to the crime.

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 Leave for Any Proceeding Involving Victims' Rights
 An Employee who is a crime victim can take time off from work to appear in court to be heard at any proceeding in which a
 right of the victim is at issue.

 Unlike the leave under the Judicial Proceeds section, this leave can be initiated at the victim’s request and does not need to
 be initiated by a notice from a government agency.

 Under this policy, a Employee who is a “victim” may take time off from work to attend proceedings related to that crime. The
 law protects time off to attend any “proceeding,” including any delinquency proceeding, involving a post-arrest release
 decision, plea, sentencing, post-conviction release decision; or any proceeding in which a right of the victim is at issue.
 (Labor Code 230.5)

 A “victim” is any person who suffers direct or threatened physical, psychological, or financial harm as a result of the
 commission or attempted commission of a crime or a delinquent act.” (Labor Code 230.5)

 A victim includes various family members for whom you will have to provide leave. A victim also includes the person’s:
 Spouse, Parent, Child, Sibling, or Guardian.

 The leave can be of any length. The Employee must be a victim, as defined above, of one of the following covered offenses:
    • Vehicular manslaughter while intoxicated
    • Felony child abuse likely to produce great bodily harm or a death
    • Assault resulting in the death of a child under eight years of age
    • Felony domestic violence
    • Felony physical abuse of an elder or dependent adult
    • Felony stalking
    • Solicitation for murder
    • A serious felony, such as kidnapping, rape or assault
    • Hit-and-run causing death or injury
    • Felony driving under the influence causing injury
    • Specified sexual assault

 Although this leave type can be taken at the victim’s request, the Employee must provide reasonable advance notice of his
 or her intention to take the time off. When advance notice is not feasible, or if an unscheduled absence occurs, please
 provide certification within a reasonable time after the absence.

 Any one of the following forms will be sufficient:
    • A police report indicating that the employee was a victim of one of the specified offenses
    • A court order protecting or separating the employee from the perpetrator of one of the specified offenses.
    • Documentation verifying that the employee was undergoing treatment for physical or mental injuries or abuse as a
        result of being a victim of one of the specified offenses.
    • Documentation must be accepted from a:
             o Medical professional
             o Domestic violence advocate
             o Victims of sexual assault advocate
             o Health care provider
             o Counselor

 Employees can use accrued vacation time and personal leave under this policy to attend judicial proceedings related to the
 crime.

 10.24 Jury or Witness Duty
Upon receiving a summons to appear for grand jury/trial jury, or to appear in court in compliance with a subpoena or court order
as a witness, you must inform your Manager at least 24-hours in advance. Proof of notification and attendance is required. The
company supports employees in their civic duty to serve on a jury. Employees must present any summons to jury duty to their
supervisor as soon as possible after receiving the notice to allow advance planning for an employee’s absence.

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  Nonexempt employees will be paid for up to 2 weeks of jury duty service at their regular rate of pay minus any compensation
received from the court for the period of service. Exempt employees are subject to the same 2-week limitation except that they will
also receive pay for any days they serve as a juror or witness in a workweek in which they actually perform work.
All employees may use any accrued time off if required to serve more than 2 weeks on a jury. If an employee is released from
jury duty after 4 hours or less of service, he or she must report to work for the reminder of that work day.
Time for appearance in court for personal business will be the individual employee’s responsibility. Normally, personal days or
vacation days will be used for this purpose.

 10.25 Voting Leave
 Voting Time
 All Employees should be able to vote either before or after their shift. However, when this is not possible due to work schedules,
 Employees will receive up to two hours during the workday to vote.

 Notification to Employer
 The Employee must notify their Manager at least two working days in advance that time will be needed to vote.

 Election Leave
 Employees who are chosen to serve as election officials at polling sites will be permitted to take required unpaid time off to
 serve in this capacity. Please notify your Manager seven days in advance of your need for time off in order to accommodate
 the necessary rescheduling of work periods.

 10.26 Voluntary Civil Service Leave
 Volunteer Emergency Duty Leave
 The law applies to:
     • Volunteer firefighters
     • Reserve peace officers
     • Emergency rescue personnel, defined as any person who is an officer, employee, or member of:
            o A fire department, fire protection or firefighting agency of the federal government, California state
                 government, local government, special district or other public or municipal corporation or political
                 subdivision of California
            o An officer of a sheriff's department, police department or private fire department
            o Disaster medical Response Teams

 Civil Air Patrol Leave
 The Employee must be a volunteer member of the California Wing of the civilian auxiliary of the U.S. Air Force Civil Air Patrol,
 responding to an emergency operation mission.

 A qualified Employee is entitled up to 10 days of unpaid leave per year. However, the leave for a single emergency mission
 cannot exceed three days, unless the emergency is extended by the entity in charge of the operation and the leave
 extension is approved.

 Employees are not required to exhaust their vacation or personal leave time.

 10.27 School Appearance Leave
 An Employee who needs to appear at their child’s school for disciplinary reasons, and as required by the school or ward
 under The Education Code to attend class with the student when the student is suspended, may take unpaid time off from
 work.
 The parent or guardian should receive a written notice from the school stating that they must attend a class. A copy of the
 notice or some other certification from the school is required.
 School Activities Leave
 Employees, who are the parents, guardians or custodial grandparents of children in kindergarten through grade 12, or of
 children in a licensed child day care facility, may take time off to participate in school activities following these guidelines:
      • The time must not exceed 40 hours per year, nor 8 hours in a calendar month.
      • The employee must give reasonable prior notice of the planned absence.
      • The employee must provide documentation of his/her participation.

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If both parents work for the Company and are at the same location, the parent who gave notice first will be able to take the
leave. The other parent may take leave upon approval from their Manager or Manager if it does not interfere with daily
operations. An Employee must use existing vacation accrual or the time off will be deducted from their personal leave
benefit.




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                        Employee Handbook Acknowledgment and Receipt
I hereby acknowledge the receipt of the employee handbook of LPG I understand and agree that it is my
responsibility to read and comply with the policies in the handbook. I understand that the handbook and all other
written and oral material provided to me are intended for informational purposes only. Neither it, company practices,
nor other communications create an employment contract or term. I understand that the policies and benefits, both in
the handbook and those communicated to me in any other fashion, are subject to interpretation, review, removal, and
change by management at any time without notice. I further understand that I am an at-will employee and that neither
this document nor any other communication shall bind the company to employ me now or hereafter and that my
employment may be terminated by me or the company without reason at any time. I understand that no
representative of the company has any authority to enter into any agreement for employment for any specific period of
time or to assure any other personnel action or to assure any benefits or terms or conditions of employment, or to
make any agreement contrary to the foregoing. I also understand and agree that his agreement may not be modified
orally and that only the presidents of the company may make a commitment for employment. I also understand that if
such an agreement is made, it must be in writing and signed by the presidents of the company.



Employee’s Name – Printed



Signature of Employee



Date Signed by Employee

TO BE PLACED IN EMPLOYEE’S PERSONNEL FILE




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                        Exhibit “B”




                                                                 Exhibit A-55
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      venmo
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                                                                                                 Account holder: ISRAEL OROZCO
                                                                                       Go to the Ven mo app or call 1-855-878-6462



      Transaction details
      Date      Reference#                    Description                                                                        Amount

      Purchases and other debits                                                                                              $5,783.89
      Israel Orozco (Card Number Ending In 8102)
      02/16      24906411F4VWZ6E08           Onelegal   PYMNT1510046 800-9388815 CA                                             $494.83
 2    02/16      24906411F4VXLRZHZ           Onelegal   PYMNT1510250 800-9388815 CA                                              $164.72
 3    02/16      24906411F4VYGB62Z           Onelegal   CCSALE04757928 800-9388815 CA                                           $251.40
 4    02/17      24906411G4W0ML48W           Onelegal   PYMNT1511777 800-9388815 CA                                             $261.44
 5    02/17      24906411G4W0X0PE3           Onelegal   CCSALE04762025 800-9388815 CA                                             $18.07
 6    02/17      24906411G4W10ZFKM           Onelegal   CCSALE04762534 800-9388815 CA                                           $250.32
 7    02/18      24906411H4W25XGPJ           Onelegal   PYMNT1512076 800-9388815 CA                                             $304.73
 8    02/21      24906411L4W9AHQX5           Onelegal   CCSALE04767660 800-9388815 CA                                           $205.02
 9    02/21      24906411L4W9KXJ40           Onelegal   CCSALE04768205 800-9388815 CA                                              $18.27
 10   02/21      24906411L4W9L12Y6           Onelegal   CCSALE04768054 800-9388815 CA                                             $17.40
 11   02/21      24906411L4W90Z1HL           Onelegal   CCSALE04766569 800-9388815 CA                                           $204.56
 12   02/21      24906411L4W941RH5           Onelegal   CCSALE04766950 800-9388815 CA                                             $18.07
 13   02/21      24906411L4W983DRJ           Onelegal   CCSALE04767534 800-9388815 CA                                             $14.36
 14   02/22      24906411M4WAVNTY6           Onelegal   CCSALE04770039 800-9388815 CA                                           $249.86
 15   02/22      24906411M4WAWGV29           Onelegal   CCSALE04770043 800-9388815 CA                                           $249.86
 16   02/22      24906411M4WAY0GST           Onelegal   CCSALE04770209 800-9388815 CA                                             $17.66
 17   02/22      24906411M4WBMTQNQ           Onelegal   CCSALE04772089 800-9388815 CA                                             $18.69
 18   02/22      24906411M4W9XEGT7           Onelegal   PYMNT1512543 800-9388815 CA                                              $179.08
 19   02/24      24906411P4WFAN445           Onelegal   CCSALE04778287 800-9388815 CA                                             $20.49
 20   02/24      24906411P4WFFP632           Onelegal   CCSALE04779242 800-9388815 CA                                             $19.66
 21   02/24      24906411P4WFHEJL8           Onelegal   CCSALE04779333 800-9388815 CA                                             $19.66
 22   02/25      24906411R4WGMXVGL           Onelegal   PYMNT1514924 800-9388815 CA                                               $30.89
 23   02/27      24906411S4WMKJXZ3           Onelegal   CCSALE04782543 800-9388815 CA                                             $14.36
 24   02/28      24906411V4WS15RHD           Onelegal   CCSALE04788336 800-9388815 CA                                           $398.57
 25   02/28      24906411V4WTVBDTA           Onelegal   CCSALE04787830 800-9388815 CA                                             $14.36
 26   02/28      24906411V4WTVWSM2           Onelegal   CCSALE04787893 800-9388815 CA                                           $248.32
 27   03/01      24906411W4WWVSAF2           Onelegal   CCSALE04790015 800-9388815 CA                                           $246.98
 28   03/01      24906411W4WXBNQRZ           Onelegal   CCSALE04790887 800-9388815 CA                                              $16.37
 29   03/01      24906411W4WXBN7HX           Onelegal   CCSALE04790919 800-9388815 CA                                           $246.00
 30   03/02      24906411X4WYVTGYX           Onelegal   CCSALE04793389 800-9388815 CA                                           $454.01
 31   03/02      24906411X4WYVV0ME           Onelegal   CCSALE04793390 800-9388815 CA                                           $454.01




      -                                                                                                                          -
 32   03/02      24906411X4X0EE71B           Onelegal   CCSALE04794492 800-9388815 CA                                            $270.91
 33   03/06      2490641214XA3QM1E           Onelegal   CCSALE04805243 800-9388815 CA                                            $295.21
 X
 34   03/14     2490641294XSY8Y1P             Onelegal CCSALE04828318 800-9388815 CA                                              $72.07
                                              Total                                                                           $5,783.89

      Total fees charged this eeriod                                                                                               $0.00

      Total interest charged this eeriod                                                                                           $0.00
      03/19                                   INTEREST CHARGE ON PURCHASES                                                         $0.00
      03/19                                   INTEREST CHARGE ON CASH ADVANCES                                                     $0.00


                                                                                          2023 Year-to-date        fees and interest
                                                                                          Total fees charged                    $0.00
                                                                                          Total interest charged                $0.00




      Interest charge calculation
      Your Annual Percentage Rate (APR) is the annual interest rate on your account.




                                             -                                           - -
        Type of balance                      Expiration date      (APR) Annual            Balance subject           Interest charge
                                                                  percentage rate         to interest rate

                                                                                                                                            -I




                                                                                            Exhibit A-56
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C)NELEGAL   =._
              ...,
                                                                                                                                                     Invoice
1400 N. McDowell Blvd
Suite 300                                                                                                                              Date                            2/15/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                       Customer                          0152315

                                                                                                                                       Invoice                         14337504
 Bill To
 LPG                                                                                                                                   Due Date                        2/15/2023
 17542 E 17th Street., Suite 100
                                                                                                                                       Terms                     Due on Receipt
 Tustin CA 92780
                                                                                                                                       Amount Due                            $0.00




 Order Number                                           19831883
 Billing Code                                           558738739
 Case Number                                            BCL-23-010388
 Court Transaction Number                               11189227
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Case Title
 Documents                                              Answer to Complaint
 Court                                                  Superior Court of California, Kern County

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $3.50
 eCheck Fee++                                                                                                                                                                 $0.25
       SUBTOTAL                                                                                                                                                           $228.75

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 Convenience Fee‡                                                                                                                                                             $7.13
       SUBTOTAL                                                                                                                                                             $20.08

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $228.75
 One Legal Fees                                                                                                                                                             $20.08
       TOTAL BILLED                                                                                                                                                       $248.83




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
++ When it is most cost effective, One Legal disburses fees on your behalf via eCheck. We pass these savings directly on to you.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.



                                                                                                                                             Exhibit A-57
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
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C)NELEGAL   =._
              ...,
                                                                                                                                                     Invoice
1400 N. McDowell Blvd
Suite 300                                                                                                                              Date                            2/15/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                       Customer                          0152315

                                                                                                                                       Invoice                         14337021
 Bill To
 LPG                                                                                                                                   Due Date                        2/15/2023
 17542 E 17th Street., Suite 100
                                                                                                                                       Terms                     Due on Receipt
 Tustin CA 92780
                                                                                                                                       Amount Due                            $0.00




 Order Number                                           19823692
 Billing Code                                           559172731
 Case Number                                            37-2023-00001649-CL-CL-CTL
 Court Transaction Number                               21588956
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Case Title
 Documents                                              Answer
 Court                                                  Superior Court of California, San Diego County

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
       SUBTOTAL                                                                                                                                                           $225.00

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.05
       SUBTOTAL                                                                                                                                                             $21.00

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $225.00
 One Legal Fees                                                                                                                                                             $21.00
       TOTAL BILLED                                                                                                                                                       $246.00




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-58
          Case 8:23-bk-10571-SC         Claim
                                        Doc   104 Part
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~NE
c......,,/            LEGAL I t~foTrack:Company                                   Payment Receipt
1400 North McDowell Blvd. Suite 300                                         Date                            2/15/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                       Acct. No.                        0152315
TIN: XX-XXXXXXX

Bill To                                                                         Payment Method       VISA
LPG
17542 E 17th Street., Suite 100                                                 Credit Card #        ************8102
Tustin CA 92780


Date                Description                              Orig. Amount       Amount Due          Applied Amount
2/15/2023           Invoice #14337504                                  248.83              248.83               248.83
2/15/2023           Invoice #14337021                                  246.00              246.00               246.00


                                                                                                      Applied 494.83
                                                                                                    Unapplied 0.00




                                                                                        Exhibit A-59
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
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C)NELEGAL   =._
              ...,
                                                                                                                                                     Invoice
1400 N. McDowell Blvd
Suite 300                                                                                                                              Date                            2/15/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                       Customer                          0152315

                                                                                                                                       Invoice                         14341644
 Bill To
 LPG                                                                                                                                   Due Date                        2/15/2023
 17542 E 17th Street., Suite 100
                                                                                                                                       Terms                     Due on Receipt
 Tustin CA 92780
                                                                                                                                       Amount Due                            $0.00




 Order Number                                           19444235
 Billing Code                                           468314366
 Case Number                                            L22-06136
 Court Transaction Number
 Contact                                                Maria Wilson
 Attorney                                               Anthony Diehl
 Case Title
 Documents                                              Summons, Complaint, Civil Case Cover Sheet
 Court                                                  Superior Court of California, Contra Costa County
 Assignment Details                                     Company Serve - American First Finance, LLC


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 Convenience Fee‡                                                                                                                                                             $4.72
 Service on a Registered Agent (CT or CSC)                                                                                                                                  $40.00
 Process Serving Area Surcharge                                                                                                                                           $120.00
       SUBTOTAL                                                                                                                                                           $164.72

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                           $164.72
       TOTAL BILLED                                                                                                                                                       $164.72




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-60
          Case 8:23-bk-10571-SC         Claim
                                        Doc   104 Part
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                                                   Filed  Filed 09/27/24
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~NE
c......,,/            LEGAL I t~foTrack:Company                                   Payment Receipt
1400 North McDowell Blvd. Suite 300                                         Date                            2/16/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                       Acct. No.                        0152315
TIN: XX-XXXXXXX

Bill To                                                                         Payment Method       VISA
LPG
17542 E 17th Street., Suite 100                                                 Credit Card #        ************8102
Tustin CA 92780


Date                Description                              Orig. Amount       Amount Due          Applied Amount
2/15/2023           Invoice #14341644                                  164.72              164.72               164.72


                                                                                                      Applied 164.72
                                                                                                    Unapplied 0.00




                                                                                        Exhibit A-61
            Case 8:23-bk-10571-SC                         Claim
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C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/16/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04757928
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19846304
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           597285915
 Case Title
 Court                                                  Superior Court of California, Yolo County
 Court Transaction Number                               11209762
 Case Number                                            CV2023-0276
 Documents                                              Answer / Response / Denial - Limited up to $10,000

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $5.00
 eCheck Fee++                                                                                                                                                                 $0.25
       SUBTOTAL                                                                                                                                                           $230.25

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.20
       SUBTOTAL                                                                                                                                                             $21.15

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $230.25
 One Legal Fees                                                                                                                                                             $21.15
       TOTAL CHARGED                                                                                                                                                      $251.40




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
++ When it is most cost effective, One Legal disburses fees on your behalf via eCheck. We pass these savings directly on to you.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-62
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       59 of 171
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                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19846304 : Customer 0152315
   Date: February 16, 2023 at 2:14 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19846304
         Credit card sale number:                        04757928
         Credit card number:                             ************8102
         Credit card sale amount:                                              $251.40
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                        LEGAL                     I fo rac
                                                                                              Company




                                                                                                     Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                           Date               2/16/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                    Customer            0152315

                                                                                                   Credit Sale        04757928
                Bill To
                LPG                                                                                Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19846304
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      597285915
                Case Title                        Synchrony BankvsEdward Rodriguez                               Exhibit A-63
                Court                             Superior Court of California, Yolo County
                Court Transaction Number          11209762
         Case 8:23-bk-10571-SC                       Claim
                                                     Doc   104 Part
                                                         1815       2 10/11/24
                                                                Filed  Filed 09/27/24
                                                                                 EnteredDesc Attachment
                                                                                         10/11/24        1 Page
                                                                                                  00:05:19 Desc
                                                                 60 of 171
                                                     Main Document      Page 79 of 190

~NE                        LEGAL I t~foTrack:          Company
                                                                                                                                     Invoice
1400 North McDowell Blvd. Suite 300                                                                                   Date                               2/15/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                                                 Customer                            0152315
TIN: XX-XXXXXXX                                                                                                       Invoice                            14341803
Bill To                                                                                                               Due Date                           2/15/2023
LPG                                                                                                                   Terms                      Due on Receipt
17542 E 17th Street., Suite 100                                                                                       Amount Due                               $0.00
Tustin CA 92780



 Order Number                                     19823352
 Billing Code                                     558738739
 Case Number                                      BCL-23-010388
 Court Transaction Number                         11177420
 Contact                                          Nicole Filtz
 Attorney                                         Vincent Jackson
 Case Title
 Documents                                        Answer to Complaint
 Court                                            Superior Court of California, Kern County
 Assignment Details

ONE LEGAL FEES                                                                                                                                             AMOUNT
eFiling Charge                                                                                                                                                $12.95
eServe Charge                                                                                                                                                  $1.00
Convenience Fee‡                                                                                                                                               $0.41
  SUBTOTAL                                                                                                                                                    $14.36

FEES SUMMARY                                                                                                                                               AMOUNT
One Legal Fees                                                                                                                                                $14.36
  TOTAL BILLED                                                                                                                                                $14.36

    Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
    ‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To
    avoid these fees, you can choose to pay via ACH.




                                                                                                                                 Exhibit A-64
         Case 8:23-bk-10571-SC                       Claim
                                                     Doc   104 Part
                                                         1815       2 10/11/24
                                                                Filed  Filed 09/27/24
                                                                                 EnteredDesc Attachment
                                                                                         10/11/24        1 Page
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                                                                 61 of 171
                                                     Main Document      Page 80 of 190

~NE                        LEGAL I t~foTrack:          Company
                                                                                                                                     Invoice
1400 North McDowell Blvd. Suite 300                                                                                   Date                               2/15/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                                                 Customer                            0152315
TIN: XX-XXXXXXX                                                                                                       Invoice                            14342101
Bill To                                                                                                               Due Date                           2/15/2023
LPG                                                                                                                   Terms                      Due on Receipt
17542 E 17th Street., Suite 100                                                                                       Amount Due                               $0.00
Tustin CA 92780



 Order Number                                     19337805
 Billing Code                                     404764614
 Case Number                                      CIVSB2134269
 Court Transaction Number
 Contact                                          Nicole Filtz
 Attorney                                         Israel Orozco
 Case Title
 Documents                                        Answer to Complaint
 Court                                            Superior Court of California, San Bernardino County
 Assignment Details

STATUTORY DISBURSEMENTS*                                                                                                                                   AMOUNT
Court Filing Fee                                                                                                                                            $240.00
  SUBTOTAL                                                                                                                                                  $240.00

ONE LEGAL FEES                                                                                                                                             AMOUNT
Convenience Fee‡                                                                                                                                                $7.08
  SUBTOTAL                                                                                                                                                      $7.08

FEES SUMMARY                                                                                                                                               AMOUNT
Disbursements                                                                                                                                               $240.00
One Legal Fees                                                                                                                                                $7.08
   TOTAL BILLED                                                                                                                                             $247.08

    Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
    * These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
    ‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To
    avoid these fees, you can choose to pay via ACH.




                                                                                                                                 Exhibit A-65
          Case 8:23-bk-10571-SC         Claim
                                        Doc   104 Part
                                            1815       2 10/11/24
                                                   Filed  Filed 09/27/24
                                                                    EnteredDesc Attachment
                                                                            10/11/24        1 Page
                                                                                     00:05:19 Desc
                                                    62 of 171
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~NE
c......,,/            LEGAL I t~foTrack:Company                                   Payment Receipt
1400 North McDowell Blvd. Suite 300                                         Date                            2/17/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                       Acct. No.                        0152315
TIN: XX-XXXXXXX

Bill To                                                                         Payment Method       VISA
LPG
17542 E 17th Street., Suite 100                                                 Credit Card #        ************8102
Tustin CA 92780


Date                Description                              Orig. Amount       Amount Due          Applied Amount
2/15/2023           Invoice #14341803                                   14.36               14.36                14.36
2/15/2023           Invoice #14342101                                  247.08              247.08               247.08


                                                                                                      Applied 261.44
                                                                                                    Unapplied 0.00




                                                                                        Exhibit A-66
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
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                                                          Main Document      Page 82 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/17/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04762025
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19846125
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           441867840
 Case Title
 Court                                                  Superior Court of California, Sonoma County
 Court Transaction Number                               11209425
 Case Number                                            MCV-256997
 Documents                                              Trial Orders - Procedural Stipulations

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $3.50
 Court Convenience Fee**                                                                                                                                                      $0.10
       SUBTOTAL                                                                                                                                                               $3.60

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.52
       SUBTOTAL                                                                                                                                                             $14.47

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $3.60
 One Legal Fees                                                                                                                                                             $14.47
       TOTAL CHARGED                                                                                                                                                        $18.07




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
** The court levies a surcharge on all its mandatory fees. The surcharge varies depending on the court.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-67
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      64 of 171
                                                          Main Document      Page 83 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/17/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04762534
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19856016
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           458281097
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00244655
 Case Number                                            23NWLC02982
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $4.20
       SUBTOTAL                                                                                                                                                           $229.20

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.17
       SUBTOTAL                                                                                                                                                             $21.12

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $229.20
 One Legal Fees                                                                                                                                                             $21.12
       TOTAL CHARGED                                                                                                                                                      $250.32




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-68
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       65 of 171
                                           Main Document      Page 84 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19856016 : Customer 0152315
   Date: February 17, 2023 at 1:28 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19856016
         Credit card sale number:                        04762534
         Credit card number:                             ************8102
         Credit card sale amount:                                             $250.32
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date               2/17/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04762534
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19856016
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      458281097
                Case Title                        CITIBANK N.A. vs CATHERI NOONAN-RAFANELLO                        Exhibit A-69
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00244655
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      66 of 171
                                                          Main Document      Page 85 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                                     Invoice
1400 N. McDowell Blvd
Suite 300                                                                                                                              Date                            2/17/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                       Customer                          0152315

                                                                                                                                       Invoice                         14348572
 Bill To
 LPG                                                                                                                                   Due Date                        2/17/2023
 17542 E 17th Street., Suite 100
                                                                                                                                       Terms                     Due on Receipt
 Tustin CA 92780
                                                                                                                                       Amount Due                            $0.00




 Order Number                                           19798982
 Billing Code                                           67850298
 Case Number                                            FCM182862
 Court Transaction Number
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Case Title
 Documents                                              Answer to Complaint and Demand for Bill of Particulars
 Court                                                  Superior Court of California, Solano County

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
       SUBTOTAL                                                                                                                                                           $225.00

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $8.73
 Court Filing Service Charge, 1 - 15 Pages                                                                                                                                  $70.00
       SUBTOTAL                                                                                                                                                             $79.73

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $225.00
 One Legal Fees                                                                                                                                                             $79.73
       TOTAL BILLED                                                                                                                                                       $304.73




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-70
          Case 8:23-bk-10571-SC         Claim
                                        Doc   104 Part
                                            1815       2 10/11/24
                                                   Filed  Filed 09/27/24
                                                                    EnteredDesc Attachment
                                                                            10/11/24        1 Page
                                                                                     00:05:19 Desc
                                                    67 of 171
                                        Main Document      Page 86 of 190

~NE
c......,,/            LEGAL I t~foTrack:Company                                   Payment Receipt
1400 North McDowell Blvd. Suite 300                                         Date                            2/18/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                       Acct. No.                        0152315
TIN: XX-XXXXXXX

Bill To                                                                         Payment Method       VISA
LPG
17542 E 17th Street., Suite 100                                                 Credit Card #        ************8102
Tustin CA 92780


Date                Description                              Orig. Amount       Amount Due          Applied Amount
2/17/2023           Invoice #14348572                                  304.73              304.73               304.73


                                                                                                      Applied 304.73
                                                                                                    Unapplied 0.00




                                                                                        Exhibit A-71
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      68 of 171
                                                          Main Document      Page 87 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04767660
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19864926
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           418066743
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00252353
 Case Number                                            22NWLC29743
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $4.20
 Court Filing Fee                                                                                                                                                         $181.00
       SUBTOTAL                                                                                                                                                           $185.20

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $5.87
       SUBTOTAL                                                                                                                                                             $19.82

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $185.20
 One Legal Fees                                                                                                                                                             $19.82
       TOTAL CHARGED                                                                                                                                                      $205.02




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-72
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       69 of 171
                                           Main Document      Page 88 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19864926 : Customer 0152315
   Date: February 21, 2023 at 6:08 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19864926
         Credit card sale number:                        04767660
         Credit card number:                             ************8102
         Credit card sale amount:                                             $205.02
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date               2/21/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04767660
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19864926
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      418066743
                Case Title                        LVNV FUNDING LLC vs CYNTHIA D WINSTEAD, AN INDIVIDUAL            Exhibit A-73
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00252353
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
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C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04768205
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19867536
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           462945848
 Case Title
 Court                                                  Superior Court of California, Riverside County
 Court Transaction Number                               23RSCR00341861
 Case Number                                            CVRI2203877
 Documents                                              Case Management Statement,Notice of Remote Appearance for Hearing on

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $3.80
       SUBTOTAL                                                                                                                                                               $3.80

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.52
       SUBTOTAL                                                                                                                                                             $14.47

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $3.80
 One Legal Fees                                                                                                                                                             $14.47
       TOTAL CHARGED                                                                                                                                                        $18.27




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-74
   Case 8:23-bk-10571-SC                 Claim
                                         Doc   104 Part
                                             1815       2 10/11/24
                                                    Filed  Filed 09/27/24
                                                                     EnteredDesc Attachment
                                                                             10/11/24        1 Page
                                                                                      00:05:19 Desc
                                                     71 of 171
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                                                                                                             •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19867536 : Customer 0152315
   Date: February 21, 2023 at 7:57 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19867536
         Credit card sale number:                        04768205
         Credit card number:                             ************8102
         Credit card sale amount:                                          $18.27
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                    An
                                       ,ONE                      LEGAL              I fo rac
                                                                                    Company




           Credit Card
          Sale_0…05.pdf




                                                                                               Exhibit A-75
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      72 of 171
                                                          Main Document      Page 91 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04768054
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19870977
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           566755138
 Case Title
 Court                                                  Superior Court of California, Tulare County
 Court Transaction Number                               23TL00026511
 Case Number                                            VCL294892
 Documents                                              Notice of Change Address or Other Contact Information

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $2.95
       SUBTOTAL                                                                                                                                                               $2.95

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.50
       SUBTOTAL                                                                                                                                                             $14.45

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $2.95
 One Legal Fees                                                                                                                                                             $14.45
       TOTAL CHARGED                                                                                                                                                        $17.40




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-76
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       73 of 171
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                                                                                                                                     •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19870977 : Customer 0152315
   Date: February 21, 2023 at 7:29 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19870977
         Credit card sale number:                        04768054
         Credit card number:                             ************8102
         Credit card sale amount:                                               $17.40
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


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                                                                                                An
                                        ,ONE                       LEGAL                        I fo rac
                                                                                                Company




                                                                                                           Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                              Date               2/21/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                       Customer            0152315

                                                                                                      Credit Sale        04768054
                Bill To
                LPG                                                                                   Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19870977
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      566755138
                Case Title                        Jaramillo, Julie vs. Capital One Financial Corporation            Exhibit A-77
                Court                             Superior Court of California, Tulare County
                Court Transaction Number          23TL00026511
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
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                                                          Main Document      Page 93 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04766569
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19864947
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           459367021
 Case Title
 Court                                                  Superior Court of California, Stanislaus County
 Court Transaction Number                               11233088
 Case Number                                            CV-23-000824
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $181.00
 Court Technology Access Fee                                                                                                                                                  $3.50
 eCheck Fee++                                                                                                                                                                 $0.25
       SUBTOTAL                                                                                                                                                           $184.75

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $5.86
       SUBTOTAL                                                                                                                                                             $19.81

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $184.75
 One Legal Fees                                                                                                                                                             $19.81
       TOTAL CHARGED                                                                                                                                                      $204.56




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
++ When it is most cost effective, One Legal disburses fees on your behalf via eCheck. We pass these savings directly on to you.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-78
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       75 of 171
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                                                                                                                                   •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19864947 : Customer 0152315
   Date: February 21, 2023 at 2:36 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19864947
         Credit card sale number:                        04766569
         Credit card number:                             ************8102
         Credit card sale amount:                                              $204.56
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                        ,ONE                        LEGAL                     I fo rac
                                                                                              Company




                                                                                                      Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                            Date               2/21/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                     Customer            0152315

                                                                                                    Credit Sale        04766569
                Bill To
                LPG                                                                                 Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19864947
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      459367021
                Case Title                        LVNV FUNDING LLC vs THOMAS, JARRED                              Exhibit A-79
                Court                             Superior Court of California, Stanislaus County
                Court Transaction Number          11233088
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
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                                                          Main Document      Page 95 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04766950
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19868516
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           458674629
 Case Title
 Court                                                  Superior Court of California, Fresno County
 Court Transaction Number                               11239238
 Case Number                                            22CECL01306
 Documents                                              Notice

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $3.50
 Court Convenience Fee**                                                                                                                                                      $0.10
       SUBTOTAL                                                                                                                                                               $3.60

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.52
       SUBTOTAL                                                                                                                                                             $14.47

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $3.60
 One Legal Fees                                                                                                                                                             $14.47
       TOTAL CHARGED                                                                                                                                                        $18.07




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
** The court levies a surcharge on all its mandatory fees. The surcharge varies depending on the court.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-80
   Case 8:23-bk-10571-SC                 Claim
                                         Doc   104 Part
                                             1815       2 10/11/24
                                                    Filed  Filed 09/27/24
                                                                     EnteredDesc Attachment
                                                                             10/11/24        1 Page
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                                                     77 of 171
                                         Main Document      Page 96 of 190




                                                                                                             •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19868516 : Customer 0152315
   Date: February 21, 2023 at 3:57 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19868516
         Credit card sale number:                        04766950
         Credit card number:                             ************8102
         Credit card sale amount:                                          $18.07
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                                                                    Company




           Credit Card
          Sale_0…50.pdf




                                                                                               Exhibit A-81
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
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                                                          Main Document      Page 97 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04767534
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19864691
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           472048946
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00252077
 Case Number                                            22NWLC08331
 Documents                                              Answer


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.41
       SUBTOTAL                                                                                                                                                             $14.36

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $14.36
       TOTAL CHARGED                                                                                                                                                        $14.36




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-82
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       79 of 171
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                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19864691 : Customer 0152315
   Date: February 21, 2023 at 5:45 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19864691
         Credit card sale number:                        04767534
         Credit card number:                             ************8102
         Credit card sale amount:                                             $14.36
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        The One Legal Team


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                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date               2/21/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04767534
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19864691
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      472048946
                Case Title                        WELLS FARGO BANK, N.A. vs JOSE I MURILLO                         Exhibit A-83
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00252077
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
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                                                          Main Document      Page 99 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/22/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04770039
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19846561
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           662466473
 Case Title
 Court                                                  Superior Court of California, Fresno County
 Court Transaction Number                               11210135
 Case Number                                            23CECL00333
 Documents                                              Answer/Response/Denial/Demurrer - First Appearance Fee

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $3.50
 eCheck Fee++                                                                                                                                                                 $0.25
       SUBTOTAL                                                                                                                                                           $228.75

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.16
       SUBTOTAL                                                                                                                                                             $21.11

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $228.75
 One Legal Fees                                                                                                                                                             $21.11
       TOTAL CHARGED                                                                                                                                                      $249.86




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++ When it is most cost effective, One Legal disburses fees on your behalf via eCheck. We pass these savings directly on to you.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-84
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       81 of 171
                                           Main Document      Page 100 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19846561 : Customer 0152315
   Date: February 22, 2023 at 11:48 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19846561
         Credit card sale number:                        04770039
         Credit card number:                             ************8102
         Credit card sale amount:                                              $249.86
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                        ,ONE                        LEGAL                       I fo rac
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                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date               2/22/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04770039
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19846561
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      662466473
                Case Title                        Bank Of America N.A. vs. James Tsytsyn                           Exhibit A-85
                Court                             Superior Court of California, Fresno County
                Court Transaction Number          11210135
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
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                                                          Main Document      Page 101 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/22/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04770043
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19846487
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           552103156
 Case Title
 Court                                                  Superior Court of California, Fresno County
 Court Transaction Number                               11210025
 Case Number                                            23CECL00974
 Documents                                              Answer/Response/Denial/Demurrer - First Appearance Fee

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $3.50
 eCheck Fee++                                                                                                                                                                 $0.25
       SUBTOTAL                                                                                                                                                           $228.75

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.16
       SUBTOTAL                                                                                                                                                             $21.11

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $228.75
 One Legal Fees                                                                                                                                                             $21.11
       TOTAL CHARGED                                                                                                                                                      $249.86




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
++ When it is most cost effective, One Legal disburses fees on your behalf via eCheck. We pass these savings directly on to you.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-86
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       83 of 171
                                           Main Document      Page 102 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19846487 : Customer 0152315
   Date: February 22, 2023 at 11:49 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19846487
         Credit card sale number:                        04770043
         Credit card number:                             ************8102
         Credit card sale amount:                                              $249.86
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                        ,ONE                        LEGAL                       I fo rac
                                                                                                Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date               2/22/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04770043
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19846487
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      552103156
                Case Title                        Citibank N.A. vs. Dianne Anderson                                Exhibit A-87
                Court                             Superior Court of California, Fresno County
                Court Transaction Number          11210025
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      84 of 171
                                                          Main Document      Page 103 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                               02/22/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04770209
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19872853
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           472048946
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00258950
 Case Number                                            22NWLC08331
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $4.20
       SUBTOTAL                                                                                                                                                               $4.20

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 Convenience Fee‡                                                                                                                                                             $0.51
       SUBTOTAL                                                                                                                                                             $13.46

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $4.20
 One Legal Fees                                                                                                                                                             $13.46
       TOTAL CHARGED                                                                                                                                                        $17.66




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-88
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
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                                           Main Document      Page 104 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19872853 : Customer 0152315
   Date: February 22, 2023 at 12:33 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19872853
         Credit card sale number:                        04770209
         Credit card number:                             ************8102
         Credit card sale amount:                                             $17.66
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



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                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date              02/22/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04770209
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19872853
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      472048946
                Case Title                        WELLS FARGO BANK, N.A. vs JOSE I MURILLO                         Exhibit A-89
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00258950
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      86 of 171
                                                          Main Document      Page 105 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/22/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04772089
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19871260
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           552684316
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00257673
 Case Number                                            22STLC08204
 Documents                                              Notice of Change of Handling Attorney

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $4.20
       SUBTOTAL                                                                                                                                                               $4.20

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.54
       SUBTOTAL                                                                                                                                                             $14.49

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $4.20
 One Legal Fees                                                                                                                                                             $14.49
       TOTAL CHARGED                                                                                                                                                        $18.69




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-90
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       87 of 171
                                           Main Document      Page 106 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19871260 : Customer 0152315
   Date: February 22, 2023 at 7:15 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19871260
         Credit card sale number:                        04772089
         Credit card number:                             ************8102
         Credit card sale amount:                                             $18.69
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date               2/22/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer            0152315

                                                                                                     Credit Sale        04772089
                Bill To
                LPG                                                                                  Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19871260
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      552684316
                Case Title                        ABIGAEL TORRES vs AMERICAN EXPRESS COMPANY                       Exhibit A-91
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00257673
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      88 of 171
                                                          Main Document      Page 107 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                                     Invoice
1400 N. McDowell Blvd
Suite 300                                                                                                                              Date                            2/21/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                       Customer                          0152315

                                                                                                                                       Invoice                         14352461
 Bill To
 LPG                                                                                                                                   Due Date                        2/21/2023
 17542 E 17th Street., Suite 100
                                                                                                                                       Terms                     Due on Receipt
 Tustin CA 92780
                                                                                                                                       Amount Due                            $0.00




 Order Number                                           19819461
 Billing Code                                           520595980
 Case Number                                            37-2022-00023713-CL-NP-NC
 Court Transaction Number                               21588216
 Contact                                                Israel Orozco
 Attorney                                               Israel Orozco
 Case Title
 Documents                                              Notice of Unconditional Settlement
 Court                                                  Superior Court of California, San Diego County


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.41
       SUBTOTAL                                                                                                                                                             $14.36

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $14.36
       TOTAL BILLED                                                                                                                                                         $14.36




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-92
          Case 8:23-bk-10571-SC         Claim
                                        Doc   104 Part
                                            1815       2 10/11/24
                                                   Filed  Filed 09/27/24
                                                                    EnteredDesc Attachment
                                                                            10/11/24        1 Page
                                                                                     00:05:19 Desc
                                                    89 of 171
                                        Main Document      Page 108 of 190

~NE
c......,,/            LEGAL I t~foTrack:Company                                   Payment Receipt
1400 North McDowell Blvd. Suite 300                                         Date                            2/22/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                       Acct. No.                        0152315
TIN: XX-XXXXXXX

Bill To                                                                         Payment Method       VISA
LPG
17542 E 17th Street., Suite 100                                                 Credit Card #        ************8102
Tustin CA 92780


Date                Description                              Orig. Amount       Amount Due          Applied Amount
2/13/2023           Invoice #14334181                                  164.72              164.72               164.72
2/21/2023           Invoice #14352461                                   14.36               14.36                14.36


                                                                                                      Applied 179.08
                                                                                                    Unapplied 0.00




                                                                                        Exhibit A-93
  Case 8:23-bk-10571-SC              Claim
                                     Doc   104 Part
                                         1815       2 10/11/24
                                                Filed  Filed 09/27/24
                                                                 EnteredDesc Attachment
                                                                         10/11/24        1 Page
                                                                                  00:05:19 Desc
                                                 90 of 171
                                     Main Document      Page 109 of 190




                                                                                                            •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Invoice Notification
   Date: February 14, 2023 at 5:21 AM
     To: israel@lpglaw.com




       Dear LPG:


       Thank you for being a One Legal customer. An invoice is attached for the following:

        Order number:                                            19649450
        Invoice number:                                          14334181
        Invoice amount:                                          $164.72

       You can manage your payment options, view invoices, and more, from the Billing Center.

       Need help? Contact us at accounting@onelegal.com.


       Sincerely,

       The One Legal Team




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                                 account. Get help in our Support Center or Contact Us.
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                                   QNELEGAL                                 I fo ac
                                                                            Company




         Transaction_774
            00968.pdf




                                                                                           Exhibit A-94
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      91 of 171
                                                          Main Document      Page 110 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/24/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04778287
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19890392
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           51165551
 Case Title
 Court                                                  Superior Court of California, Alameda County
 Court Transaction Number                               23AA00027539
 Case Number                                            22CV019876
 Documents                                              Request for Dismissal

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $6.95
       SUBTOTAL                                                                                                                                                               $6.95

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 Convenience Fee‡                                                                                                                                                             $0.59
       SUBTOTAL                                                                                                                                                             $13.54

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $6.95
 One Legal Fees                                                                                                                                                             $13.54
       TOTAL CHARGED                                                                                                                                                        $20.49




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-95
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       92 of 171
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                                                                                                                                 •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19890392 : Customer 0152315
   Date: February 24, 2023 at 11:18 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19890392
         Credit card sale number:                        04778287
         Credit card number:                             ************8102
         Credit card sale amount:                                             $20.49
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


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                                        ,ONE                      LEGAL                      I fo rac
                                                                                             Company




                                                                                                    Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                          Date               2/24/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                   Customer            0152315

                                                                                                  Credit Sale        04778287
                Bill To
                LPG                                                                               Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19890392
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      51165551
                Case Title                        MCGLOTHEN vs OPPORTUNITY FINANCIAL, LLC                       Exhibit A-96
                Court                             Superior Court of California, Alameda County
                Court Transaction Number          23AA00027539
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
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                                                                      93 of 171
                                                          Main Document      Page 112 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/24/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04779242
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19894746
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           544233283
 Case Title
 Court                                                  Superior Court of California, Santa Barbara County
 Court Transaction Number                               11274276
 Case Number                                            22CV04462
 Documents                                              Case Management Statement,Notice

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $5.00
 Court Convenience Fee**                                                                                                                                                      $0.15
       SUBTOTAL                                                                                                                                                               $5.15

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.56
       SUBTOTAL                                                                                                                                                             $14.51

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $5.15
 One Legal Fees                                                                                                                                                             $14.51
       TOTAL CHARGED                                                                                                                                                        $19.66




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
** The court levies a surcharge on all its mandatory fees. The surcharge varies depending on the court.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-97
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
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                                                       94 of 171
                                           Main Document      Page 113 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19894746 : Customer 0152315
   Date: February 24, 2023 at 2:28 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19894746
         Credit card sale number:                        04779242
         Credit card number:                             ************8102
         Credit card sale amount:                                             $19.66
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                             An
                                        ,ONE                        LEGAL                    I fo rac
                                                                                             Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                           Date               2/24/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                    Customer            0152315

                                                                                                   Credit Sale        04779242
                Bill To
                LPG                                                                                Amount Due               $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19894746
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      544233283
                Case Title                        Bank Of America NAvsSonja Larsen                               Exhibit A-98
                Court                             Superior Court of California, Santa Barbara County
                Court Transaction Number          11274276
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
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                                                                      95 of 171
                                                          Main Document      Page 114 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/24/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04779333
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19894798
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           544233283
 Case Title
 Court                                                  Superior Court of California, Santa Barbara County
 Court Transaction Number                               11274324
 Case Number                                            22CV04464
 Documents                                              Case Management Statement,Notice

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $5.00
 Court Convenience Fee**                                                                                                                                                      $0.15
       SUBTOTAL                                                                                                                                                               $5.15

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.56
       SUBTOTAL                                                                                                                                                             $14.51

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $5.15
 One Legal Fees                                                                                                                                                             $14.51
       TOTAL CHARGED                                                                                                                                                        $19.66




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
** The court levies a surcharge on all its mandatory fees. The surcharge varies depending on the court.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                             Exhibit A-99
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed  Filed 09/27/24
                                                                       EnteredDesc Attachment
                                                                               10/11/24        1 Page
                                                                                        00:05:19 Desc
                                                       96 of 171
                                           Main Document      Page 115 of 190




                                                                                                                                •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19894798 : Customer 0152315
   Date: February 24, 2023 at 2:54 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19894798
         Credit card sale number:                        04779333
         Credit card number:                             ************8102
         Credit card sale amount:                                             $19.66
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



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                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                             An
                                        ,ONE                        LEGAL                    I fo rac
                                                                                             Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                           Date             2/24/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                    Customer          0152315

                                                                                                   Credit Sale      04779333
                Bill To
                LPG                                                                                Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19894798
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      544233283
                Case Title                        Bank Of America NAvsSonja Larsen                            Exhibit A-100
                Court                             Superior Court of California, Santa Barbara County
                Court Transaction Number          11274324
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      97 of 171
                                                          Main Document      Page 116 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                                     Invoice
1400 N. McDowell Blvd
Suite 300                                                                                                                              Date                            2/24/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                       Customer                          0152315

                                                                                                                                       Invoice                         14363649
 Bill To
 LPG                                                                                                                                   Due Date                        2/24/2023
 17542 E 17th Street., Suite 100
                                                                                                                                       Terms                     Due on Receipt
 Tustin CA 92780
                                                                                                                                       Amount Due                            $0.00




 Order Number                                           19821500
 Billing Code                                           555146452
 Case Number                                            34-2023-00333299
 Court Transaction Number
 Contact                                                Israel Orozco
 Attorney                                               Richard Meier
 Case Title
 Documents                                              POS
 Court                                                  Superior Court of California, Sacramento County


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 Convenience Fee‡                                                                                                                                                             $0.89
 File Proof of Service                                                                                                                                                      $30.00
       SUBTOTAL                                                                                                                                                             $30.89

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $30.89
       TOTAL BILLED                                                                                                                                                         $30.89




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-101
          Case 8:23-bk-10571-SC         Claim
                                        Doc   104 Part
                                            1815       2 10/11/24
                                                   Filed  Filed 09/27/24
                                                                    EnteredDesc Attachment
                                                                            10/11/24        1 Page
                                                                                     00:05:19 Desc
                                                    98 of 171
                                        Main Document      Page 117 of 190

~NE
c......,,/            LEGAL I t~foTrack:Company                                   Payment Receipt
1400 North McDowell Blvd. Suite 300                                         Date                                2/25/2023
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                       Acct. No.                            0152315
TIN: XX-XXXXXXX

Bill To                                                                         Payment Method           VISA
LPG
17542 E 17th Street., Suite 100                                                 Credit Card #            ************8102
Tustin CA 92780


Date                Description                              Orig. Amount       Amount Due              Applied Amount
2/24/2023           Invoice #14363649                                   30.89                   30.89                30.89


                                                                                                          Applied 30.89
                                                                                                        Unapplied 0.00




                                                                                      Exhibit A-102
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed  Filed 09/27/24
                                                                                      EnteredDesc Attachment
                                                                                              10/11/24        1 Page
                                                                                                       00:05:19 Desc
                                                                      99 of 171
                                                          Main Document      Page 118 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/27/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04782543
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19905070
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           389864955
 Case Title
 Court                                                  Superior Court of California, Imperial County
 Court Transaction Number                               23IM00014322
 Case Number                                            ECL007196
 Documents                                              Answer


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.41
       SUBTOTAL                                                                                                                                                             $14.36

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $14.36
       TOTAL CHARGED                                                                                                                                                        $14.36




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-103
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
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                                           Main Document      171 119 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19905070 : Customer 0152315
   Date: February 27, 2023 at 12:07 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19905070
         Credit card sale number:                        04782543
         Credit card number:                             ************8102
         Credit card sale amount:                                              $14.36
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


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                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                                  An
                                        ,ONE                       LEGAL                          I fo rac
                                                                                                  Company




                                                                                                         Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                               Date             2/27/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                        Customer          0152315

                                                                                                       Credit Sale      04782543
                Bill To
                LPG                                                                                    Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19905070
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      389864955
                Case Title                        LVNV Funding LLC vs. Mark L Juel                                Exhibit A-104
                Court                             Superior Court of California, Imperial County
                Court Transaction Number          23IM00014322
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
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                                                          Main Document      171 120 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/28/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04788336
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19919080
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           524042977
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00297054
 Case Number                                            23NWLC03209
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $4.20
 Court Filing Fee                                                                                                                                                         $370.00
       SUBTOTAL                                                                                                                                                           $374.20

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 Convenience Fee‡                                                                                                                                                           $11.42
       SUBTOTAL                                                                                                                                                             $24.37

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $374.20
 One Legal Fees                                                                                                                                                             $24.37
       TOTAL CHARGED                                                                                                                                                      $398.57




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-105
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       102 of Page
                                           Main Document      171 121 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19919080 : Customer 0152315
   Date: February 28, 2023 at 5:39 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19919080
         Credit card sale number:                        04788336
         Credit card number:                             ************8102
         Credit card sale amount:                                             $398.57
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             2/28/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04788336
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19919080
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      524042977
                Case Title                        BANK OF AMERICA, N.A. vs TAO WANG                             Exhibit A-106
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00297054
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
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                                                                      103 of Page
                                                          Main Document      171 122 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/28/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04787830
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19914397
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           524042977
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00293272
 Case Number                                            23NWLC03209
 Documents                                              Answer


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.41
       SUBTOTAL                                                                                                                                                             $14.36

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $14.36
       TOTAL CHARGED                                                                                                                                                        $14.36




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-107
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
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                                           Main Document      171 123 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19914397 : Customer 0152315
   Date: February 28, 2023 at 3:53 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19914397
         Credit card sale number:                        04787830
         Credit card number:                             ************8102
         Credit card sale amount:                                             $14.36
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             2/28/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04787830
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19914397
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      524042977
                Case Title                        BANK OF AMERICA, N.A. vs TAO WANG                             Exhibit A-108
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00293272
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
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                                                          Main Document      171 124 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 2/28/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04787893
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19871588
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           406009542
 Case Title
 Court                                                  Superior Court of California, Orange County
 Court Transaction Number                               11104531
 Case Number                                            30-2023-01301183-CL-CL-CJC
 Documents                                              Answer to Complaint

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $2.25
       SUBTOTAL                                                                                                                                                           $227.25

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.12
       SUBTOTAL                                                                                                                                                             $21.07

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $227.25
 One Legal Fees                                                                                                                                                             $21.07
       TOTAL CHARGED                                                                                                                                                      $248.32




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-109
   Case 8:23-bk-10571-SC                 Claim
                                         Doc   104 Part
                                             1815       2 10/11/24
                                                    Filed   Filed 09/27/24
                                                                      EnteredDesc Attachment
                                                                              10/11/24        1 Page
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                                                     106 of Page
                                         Main Document      171 125 of 190




                                                                                                             •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19871588 : Customer 0152315
   Date: February 28, 2023 at 4:05 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19871588
         Credit card sale number:                        04787893
         Credit card number:                             ************8102
         Credit card sale amount:                                          $248.32
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                       ,ONE                      LEGAL               I fo rac
                                                                                     Company




           Credit Card
          Sale_0…93.pdf




                                                                                                Exhibit A-110
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
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                                                          Main Document      171 126 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/1/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04790015
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19919023
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           389864955
 Case Title
 Court                                                  Superior Court of California, Imperial County
 Court Transaction Number                               23IM00014482
 Case Number                                            ECL007196
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
 Court Technology Access Fee                                                                                                                                                  $1.95
       SUBTOTAL                                                                                                                                                           $226.95

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 Convenience Fee‡                                                                                                                                                             $7.08
       SUBTOTAL                                                                                                                                                             $20.03

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $226.95
 One Legal Fees                                                                                                                                                             $20.03
       TOTAL CHARGED                                                                                                                                                      $246.98




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-111
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       108 of Page
                                           Main Document      171 127 of 190




                                                                                                                                    •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19919023 : Customer 0152315
   Date: March 1, 2023 at 9:13 AM
     To: Israel Orozco israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19919023
         Credit card sale number:                        04790015
         Credit card number:                             ************8102
         Credit card sale amount:                                              $246.98
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        The One Legal Team


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                                                                                                  An
                                        ,ONE                       LEGAL                          I fo rac
                                                                                                  Company




                                                                                                         Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                               Date              3/1/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                        Customer          0152315

                                                                                                       Credit Sale      04790015
                Bill To
                LPG                                                                                    Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19919023
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      389864955
                Case Title                        LVNV Funding LLC vs. Mark L Juel
                Court                             Superior Court of California, Imperial County                   Exhibit A-112
                Court Transaction Number          23IM00014482
                Case Number                       ECL007196
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
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                                                          Main Document      171 128 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/1/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04790887
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19864534
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           556616830
 Case Title
 Court                                                  Superior Court of California, Placer County
 Court Transaction Number                               23PL00062640
 Case Number                                            M-CV-0081133
 Documents                                              Case Management Conference Statement,Notice: Appear

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $1.95
       SUBTOTAL                                                                                                                                                               $1.95

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.47
       SUBTOTAL                                                                                                                                                             $14.42

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $1.95
 One Legal Fees                                                                                                                                                             $14.42
       TOTAL CHARGED                                                                                                                                                        $16.37




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-113
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       110 of Page
                                           Main Document      171 129 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19864534 : Customer 0152315
   Date: March 1, 2023 at 12:23 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19864534
         Credit card sale number:                        04790887
         Credit card number:                             ************8102
         Credit card sale amount:                                              $16.37
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                                An
                                        ,ONE                       LEGAL                        I fo rac
                                                                                                Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date              3/1/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04790887
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19864534
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      556616830
                Case Title                        CAPITAL ONE N.A. vs. PAXIAO, LEANDRA K                        Exhibit A-114
                Court                             Superior Court of California, Placer County
                Court Transaction Number          23PL00062640
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      111 of Page
                                                          Main Document      171 130 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/1/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04790919
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19876982
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           484456885
 Case Title
 Court                                                  Superior Court of California, San Diego County
 Court Transaction Number                               21597143
 Case Number                                            37-2023-00003533-CL-CL-CTL
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $225.00
       SUBTOTAL                                                                                                                                                           $225.00

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.05
       SUBTOTAL                                                                                                                                                             $21.00

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $225.00
 One Legal Fees                                                                                                                                                             $21.00
       TOTAL CHARGED                                                                                                                                                      $246.00




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-115
   Case 8:23-bk-10571-SC                 Claim
                                         Doc   104 Part
                                             1815       2 10/11/24
                                                    Filed   Filed 09/27/24
                                                                      EnteredDesc Attachment
                                                                              10/11/24        1 Page
                                                                                       00:05:19 Desc
                                                     112 of Page
                                         Main Document      171 131 of 190




                                                                                                             •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19876982 : Customer 0152315
   Date: March 1, 2023 at 12:28 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19876982
         Credit card sale number:                        04790919
         Credit card number:                             ************8102
         Credit card sale amount:                                          $246.00
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


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                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                     An
                                       ,ONE                      LEGAL               I fo rac
                                                                                     Company




           Credit Card
          Sale_0…19.pdf




                                                                                                Exhibit A-116
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      113 of Page
                                                          Main Document      171 132 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/1/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04793389
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19904977
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           567511558
 Case Title
 Court                                                  Superior Court of California, Ventura County
 Court Transaction Number
 Case Number                                            56-2023-00574481
 Documents                                              Answer to Complaint and Demand for Bill of Particulars

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $370.00
       SUBTOTAL                                                                                                                                                           $370.00

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                           $13.01
 Court Filing Service Charge, 1 - 15 Pages                                                                                                                                  $70.00
       SUBTOTAL                                                                                                                                                             $84.01

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $370.00
 One Legal Fees                                                                                                                                                             $84.01
       TOTAL CHARGED                                                                                                                                                      $454.01




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-117
   Case 8:23-bk-10571-SC                 Claim
                                         Doc   104 Part
                                             1815       2 10/11/24
                                                    Filed   Filed 09/27/24
                                                                      EnteredDesc Attachment
                                                                              10/11/24        1 Page
                                                                                       00:05:19 Desc
                                                     114 of Page
                                         Main Document      171 133 of 190




                                                                                                             •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19904977 : Customer 0152315
   Date: March 1, 2023 at 9:07 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19904977
         Credit card sale number:                        04793389
         Credit card number:                             ************8102
         Credit card sale amount:                                          $454.01
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                     An
                                       ,ONE                      LEGAL               I fo rac
                                                                                     Company




           Credit Card
          Sale_0…89.pdf




                                                                                                Exhibit A-118
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      115 of Page
                                                          Main Document      171 134 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/1/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04793390
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19905008
 Contact                                                Nicole Filtz
 Attorney                                               Vincent Jackson
 Billing Code                                           567511558
 Case Title
 Court                                                  Superior Court of California, Ventura County
 Court Transaction Number
 Case Number                                            56-2023-00574480
 Documents                                              Answer to Complaint and Demand for Bill of Particulars

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Filing Fee                                                                                                                                                         $370.00
       SUBTOTAL                                                                                                                                                           $370.00

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                           $13.01
 Court Filing Service Charge, 1 - 15 Pages                                                                                                                                  $70.00
       SUBTOTAL                                                                                                                                                             $84.01

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $370.00
 One Legal Fees                                                                                                                                                             $84.01
       TOTAL CHARGED                                                                                                                                                      $454.01




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-119
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       116 of Page
                                           Main Document      171 135 of 190




                                                                                                                                   •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19905008 : Customer 0152315
   Date: March 1, 2023 at 9:08 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19905008
         Credit card sale number:                        04793390
         Credit card number:                             ************8102
         Credit card sale amount:                                              $454.01
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

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                                                                                                 An
                                        ,ONE                        LEGAL                        I fo rac
                                                                                                 Company




                                                                                                        Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                              Date              3/1/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                       Customer          0152315

                                                                                                      Credit Sale      04793390
                Bill To
                LPG                                                                                   Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19905008
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      567511558
                Case Title                        Bank of America, N.A. v Mary C Arevalo                         Exhibit A-120
                Court                             Superior Court of California, Ventura County
                Court Transaction Number
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      117 of Page
                                                          Main Document      171 136 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/2/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04794492
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19932557
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           481094068
 Case Title
 Court                                                  Superior Court of California, Los Angeles County
 Court Transaction Number                               23LA00308406
 Case Number                                            23NWLC02337
 Documents                                              Answer,Request

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $4.20
 Court Filing Fee                                                                                                                                                         $245.00
       SUBTOTAL                                                                                                                                                           $249.20

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.76
       SUBTOTAL                                                                                                                                                             $21.71

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $249.20
 One Legal Fees                                                                                                                                                             $21.71
       TOTAL CHARGED                                                                                                                                                      $270.91




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-121
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       118 of Page
                                           Main Document      171 137 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19932557 : Customer 0152315
   Date: March 2, 2023 at 10:33 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19932557
         Credit card sale number:                        04794492
         Credit card number:                             ************8102
         Credit card sale amount:                                             $270.91
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date              3/2/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04794492
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19932557
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      481094068
                Case Title                        LVNV FUNDING LLC vs BRENDA L STARR                            Exhibit A-122
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00308406
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      119 of Page
                                                          Main Document      171 138 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/6/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04805243
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19940624
 Contact                                                Israel Orozco
 Attorney                                               Israel Orozco
 Billing Code                                            456813233
 Case Title
 Court                                                  Superior Court of California, Colusa County
 Court Transaction Number
 Case Number                                            C6406
 Documents                                              Mandatory Settlement Conference Statement


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 Courtesy Copy with Filing Service                                                                                                                                          $40.00
 Photocopy Charges                                                                                                                                                            $0.75
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $8.46
 Court Filing Service Charge, 1 - 15 Pages                                                                                                                                  $70.00
 Urgent Service - Court Filing                                                                                                                                              $75.00
 Court Filing Area Surcharge                                                                                                                                              $100.00
       SUBTOTAL                                                                                                                                                           $295.21

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                           $295.21
       TOTAL CHARGED                                                                                                                                                      $295.21




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-123
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       120 of Page
                                           Main Document      171 139 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19940624 : Customer 0152315
   Date: March 6, 2023 at 8:55 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19940624
         Credit card sale number:                        04805243
         Credit card number:                             ************8102
         Credit card sale amount:                                              $295.21
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                        ,ONE                       LEGAL                        I fo rac
                                                                                                Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date              3/6/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04805243
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19940624
                Contact                           Israel Orozco
                Attorney                          Israel Orozco
                Billing Code
                Case Title                        Synchrony Bank v Jose Haro                                    Exhibit A-124
                Court                             Superior Court of California, Colusa County
                Court Transaction Number
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      121 of Page
                                                          Main Document      171 140 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 3/14/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04828318
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19857607
 Contact                                                Israel Orozco
 Attorney                                               Anthony Diehl
 Billing Code                                           525443413
 Case Title
 Court                                                  Superior Court of California, San Joaquin County
 Court Transaction Number
 Case Number                                            STK-CV-LNPI-2022-0007482
 Documents                                              Request for Dismissal


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 Convenience Fee‡                                                                                                                                                             $2.07
 Court Filing Service Charge, 1 - 15 Pages                                                                                                                                  $70.00
       SUBTOTAL                                                                                                                                                             $72.07

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $72.07
       TOTAL CHARGED                                                                                                                                                        $72.07




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-125
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       122 of Page
                                           Main Document      171 141 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19857607 : Customer 0152315
   Date: March 14, 2023 at 8:12 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                   19857607
         Credit card sale number:                        04828318
         Credit card number:                             ************8102
         Credit card sale amount:                                             $72.07
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                        ,ONE                      LEGAL                      I fo rac
                                                                                             Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/14/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04828318
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19857607
                Contact                           Israel Orozco
                Attorney                          Anthony Diehl
                Billing Code                      525443413
                Case Title                        Tomas Bermodes v Navy Federal Credit Union                    Exhibit A-126
                Court                             Superior Court of California, San Joaquin County
                Court Transaction Number
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      123 of Page
                                                          Main Document      171 142 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                   3/6/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04802529
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19951653
 Contact                                                Nicole Filtz
 Attorney                                               Israel Orozco
 Billing Code                                           543135454
 Case Title
 Court                                                  Superior Court of California, Kern County
 Court Transaction Number                               11352820
 Case Number                                            BCL-22-016201
 Documents                                              Notice

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $3.50
 Court Convenience Fee**                                                                                                                                                      $0.10
       SUBTOTAL                                                                                                                                                               $3.60

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $0.52
       SUBTOTAL                                                                                                                                                             $14.47

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                                $3.60
 One Legal Fees                                                                                                                                                             $14.47
       TOTAL CHARGED                                                                                                                                                        $18.07




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
** The court levies a surcharge on all its mandatory fees. The surcharge varies depending on the court.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-127
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       124 of Page
                                           Main Document      171 143 of 190




                                                                                                                                •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19951653 : Customer 0152315
   Date: March 6, 2023 at 11:41 AM
     To: Israel Orozco israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19951653
         Credit card sale number:                          04802529
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $18.07
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                              An
                                        ,ONE                       LEGAL                      I fo rac
                                                                                              Company




                                                                                                     Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                           Date              3/6/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                    Customer          0152315

                                                                                                   Credit Sale      04802529
                Bill To
                LPG                                                                                Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19951653
                Contact                           Nicole Filtz
                Attorney                          Israel Orozco
                Billing Code                      543135454
                Case Title                        MILLER VS CAPITAL ONE FINANCIAL CORPORATION
                Court                             Superior Court of California, Kern County                   Exhibit A-128
                Court Transaction Number          11352820
                Case Number                       BCL-22-016201
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     125 of Page
                                                         Main Document      171 144 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 6                                INFOTRACK                   ONELEGAL CCSALE04802800-938-8815 CA                               $18.07
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04802800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    18
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 77985421 11568578 92780




                                                                                                                   Exhibit A-129
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      126 of Page
                                                          Main Document      171 145 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                               03/10/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04817866
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19972843
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           540016227
 Case Title
 Court                                                  Superior Court of California, Alameda County
 Court Transaction Number                               23AA00034017
 Case Number                                            22CV023875
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $6.95
 Court Filing Fee                                                                                                                                                         $225.00
       SUBTOTAL                                                                                                                                                           $231.95

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.25
       SUBTOTAL                                                                                                                                                             $21.20

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $231.95
 One Legal Fees                                                                                                                                                             $21.20
       TOTAL CHARGED                                                                                                                                                      $253.15




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-130
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       127 of Page
                                           Main Document      171 146 of 190




                                                                                                                               •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19972843 : Customer 0152315
   Date: March 10, 2023 at 9:12 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19972843
         Credit card sale number:                          04817866
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $253.15
        You can manage your payment options, view invoices, and more, from the Billing Center.

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                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


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                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                             An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                             Company




                                                                                                    Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                          Date            03/10/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                   Customer          0152315

                                                                                                  Credit Sale      04817866
                Bill To
                LPG                                                                               Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19972843
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      540016227
                Case Title                        BANK OF AMERICA, N.A. vs GEAGAN                            Exhibit A-131
                Court                             Superior Court of California, Alameda County
                Court Transaction Number          23AA00034017
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     128 of Page
                                                         Main Document      171 147 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                        AMOUNT



Mar 10                               INFOTRACK                   ONELEGAL CCSALE04817800-938-8815 CA                               $253.15
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04817800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                253
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78138060 11568578 92780




                                                                                                                   Exhibit A-132
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      129 of Page
                                                          Main Document      171 148 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 3/10/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04818826
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19970937
 Contact                                                Nicole Filtz
 Attorney                                               none
 Billing Code                                           506961997
 Case Title
 Court                                                  Superior Court of California, Tulare County
 Court Transaction Number                               23TL00027851
 Case Number                                            VCL295553
 Documents                                              Answer

 STATUTORY DISBURSEMENTS*                                                                                                                                               AMOUNT
 Court Technology Access Fee                                                                                                                                                  $2.95
 Court Filing Fee                                                                                                                                                         $225.00
       SUBTOTAL                                                                                                                                                           $227.95

 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 eFiling Charge                                                                                                                                                             $12.95
 eServe Charge                                                                                                                                                                $1.00
 Convenience Fee‡                                                                                                                                                             $7.14
       SUBTOTAL                                                                                                                                                             $21.09

 FEES SUMMARY                                                                                                                                                           AMOUNT
 Disbursements                                                                                                                                                            $227.95
 One Legal Fees                                                                                                                                                             $21.09
       TOTAL CHARGED                                                                                                                                                      $249.04




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-133
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       130 of Page
                                           Main Document      171 149 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19970937 : Customer 0152315
   Date: March 10, 2023 at 12:42 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19970937
         Credit card sale number:                          04818826
         Credit card number:                               ***********4008
         Credit card sale amount:                                                $249.04
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


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                                                                                                An
                                        ,ONE                       LEGAL                        I fo rac
                                                                                                Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/10/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04818826
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19970937
                Contact                           Nicole Filtz
                Attorney                          none
                Billing Code                      506961997
                Case Title                        Absolute Resolutions Investments, LLC vs. Castro, Alice       Exhibit A-134
                Court                             Superior Court of California, Tulare County
                Court Transaction Number          23TL00027851
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     131 of Page
                                                         Main Document      171 150 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                        AMOUNT



Mar 10                               INFOTRACK                   ONELEGAL CCSALE04818800-938-8815 CA                               $249.04
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04818800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                249
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78145594 11568578 92780




                                                                                                                   Exhibit A-135
            Case 8:23-bk-10571-SC                         Claim
                                                          Doc   104 Part
                                                              1815       2 10/11/24
                                                                     Filed   Filed 09/27/24
                                                                                       EnteredDesc Attachment
                                                                                               10/11/24        1 Page
                                                                                                        00:05:19 Desc
                                                                      132 of Page
                                                          Main Document      171 151 of 190
C)NELEGAL   =._
              ...,
                                                                                                                                       Credit Card Sale
1400 N. McDowell Blvd
Suite 300                                                                                                                         Date                                 3/10/2023
Petaluma CA 94954
TIN : XX-XXXXXXX                                                                                                                  Customer                               0152315

                                                                                                                                  Credit Sale                          04820795
 Bill To
 LPG                                                                                                                              Amount Due                                      $0
 17542 E 17th Street., Suite 100
 Tustin CA 92780




 Order Number                                           19985738
 Contact                                                Vanessa Buchner
 Attorney                                               Israel Orozco
 Billing Code                                           BATLLC-453105955
 Case Title
 Court                                                  Superior Court of California, San Bernardino County
 Court Transaction Number
 Case Number                                            CIVSB2203213
 Documents                                              Notice of Remote Appearance


 ONE LEGAL FEES                                                                                                                                                         AMOUNT
 Convenience Fee‡                                                                                                                                                             $2.07
 Court Filing Service Charge, 1 - 15 Pages                                                                                                                                  $70.00
       SUBTOTAL                                                                                                                                                             $72.07

 FEES SUMMARY                                                                                                                                                           AMOUNT
 One Legal Fees                                                                                                                                                             $72.07
       TOTAL CHARGED                                                                                                                                                        $72.07




* These mandatory fees are charged by the court or required by statute and are not One Legal service fees. One Legal disburses these fees on your behalf.
‡ When paying invoices by credit card, a convenience fee will be assessed in accordance with applicable law and Terms of Service accepted at time of order. To avoid these fees, you can
choose to pay via ACH.




                                                                                                                                           Exhibit A-136
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       133 of Page
                                           Main Document      171 152 of 190




                                                                                                                                •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19985738 : Customer 0152315
   Date: March 10, 2023 at 8:51 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19985738
         Credit card sale number:                          04820795
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $72.07
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        The One Legal Team


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                                        ,ONE                      LEGAL                      I fo rac
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                                                                                                        Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                           Date             3/10/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                    Customer          0152315

                                                                                                   Credit Sale      04820795
                Bill To
                LPG                                                                                Amount Due              $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19985738
                Contact                           Vanessa Buchner
                Attorney                          Israel Orozco
                Billing Code                      BATLLC-453105955
                Case Title                        Synchrony Bank v Brenda Henderson                           Exhibit A-137
                Court                             Superior Court of California, San Bernardino County
                Court Transaction Number
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     134 of Page
                                                         Main Document      171 153 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 10                               INFOTRACK                   ONELEGAL CCSALE04820800-938-8815 CA                               $72.07
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04820800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    72
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78160179 11568578 92780




                                                                                                                   Exhibit A-138
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       135 of Page
                                           Main Document      171 154 of 190




                                                                                                                                   •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19758108 : Customer 0152315
   Date: March 13, 2023 at 9:05 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19758108
         Credit card sale number:                          04821454
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $256.07
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                        ,ONE                        LEGAL                     I fo rac
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                                                                                                        Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                              Date             3/13/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                       Customer          0152315

                                                                                                      Credit Sale      04821454
                Bill To
                LPG                                                                                   Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19758108
                Contact                           Nicole Filtz
                Attorney                          Vincent Jackson
                Billing Code                      348688061
                Case Title                        Synchrony Bankvs.Madeleine Rodriguez                           Exhibit A-139
                Court                             Superior Court of California, Contra Costa County
                Court Transaction Number          11091200
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
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            ACCOUNT ENDING - 04008
                                                                     136 of Page
                                                         Main Document      171 155 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                        AMOUNT



Mar 13                               INFOTRACK                   ONELEGAL CCSALE04821800-938-8815 CA                               $256.07
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04821800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                256
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78192547 11568578 92780




                                                                                                                   Exhibit A-140
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       137 of Page
                                           Main Document      171 156 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19992923 : Customer 0152315
   Date: March 13, 2023 at 10:27 AM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19992923
         Credit card sale number:                          04821852
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $17.66
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

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                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/13/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04821852
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19992923
                Contact                           Vanessa Buchner
                Attorney                          Israel Orozco
                Billing Code                      BATLLC-455512287
                Case Title                        CITIBANK N.A. vs EFRAIN E JOVEL                               Exhibit A-141
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00358903
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     138 of Page
                                                         Main Document      171 157 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 13                               INFOTRACK                   ONELEGAL CCSALE04821800-938-8815 CA                               $17.66
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04821800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    18
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78195993 11568578 92780




                                                                                                                   Exhibit A-142
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       139 of Page
                                           Main Document      171 158 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #19992925 : Customer 0152315
   Date: March 14, 2023 at 8:39 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     19992925
         Credit card sale number:                          04828446
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $83.13
        You can manage your payment options, view invoices, and more, from the Billing Center.

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        Sincerely,

        The One Legal Team


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                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/14/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04828446
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      19992925
                Contact                           Vanessa Buchner
                Attorney                          Israel Orozco
                Billing Code                      BATLLC-455512287
                Case Title                                                                                      Exhibit A-143
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     140 of Page
                                                         Main Document      171 159 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 14                               INFOTRACK                   ONELEGAL CCSALE04828800-938-8815 CA                               $83.13
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04828800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    83
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78256753 11568578 92780




                                                                                                                   Exhibit A-144
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       141 of Page
                                           Main Document      171 160 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #20015881 : Customer 0152315
   Date: March 15, 2023 at 2:14 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     20015881
         Credit card sale number:                          04830495
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $19.71
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/15/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04830495
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      20015881
                Contact                           Vanessa Buchner
                Attorney                          Israel Orozco
                Billing Code                      BATLLC-458193383
                Case Title                        CITIBANK, N.A. vs DYLAN A LUNA                                Exhibit A-145
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00378036
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     142 of Page
                                                         Main Document      171 161 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 15                               INFOTRACK                   ONELEGAL CCSALE04830800-938-8815 CA                               $19.71
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04830800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    20
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78281307 11568578 92780




                                                                                                                   Exhibit A-146
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       143 of Page
                                           Main Document      171 162 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #20016055 : Customer 0152315
   Date: March 15, 2023 at 2:19 PM
     To: Israel Orozco israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     20016055
         Credit card sale number:                          04830524
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $19.71
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at ------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/15/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04830524
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      20016055
                Contact                           Vanessa Buchner
                Attorney                          Israel Orozco
                Billing Code                      BATLLC-458110937
                Case Title                        CITIBANK, N.A. vs GEORGE L LOPEZ
                Court                             Superior Court of California, Los Angeles County              Exhibit A-147
                Court Transaction Number          23LA00378197
                Case Number                       22NWLC06877
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     144 of Page
                                                         Main Document      171 163 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 15                               INFOTRACK                   ONELEGAL CCSALE04830800-938-8815 CA                               $19.71
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04830800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    20
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78281275 11568578 92780




                                                                                                                   Exhibit A-148
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19 Desc
                                                       145 of Page
                                           Main Document      171 164 of 190




                                                                                                                                  •
  From: One Legal Accounting no-reply@onelegal.com
Subject: Transaction Notification for order #20016220 : Customer 0152315
   Date: March 15, 2023 at 5:51 PM
     To: israel@lpglaw.com



        Dear LPG:


        Thank you for being a One Legal customer. A credit card sale receipt is attached for the
        following:
         Order number:                                     20016220
         Credit card sale number:                          04831604
         Credit card number:                               ***********4008
         Credit card sale amount:                                               $17.66
        You can manage your payment options, view invoices, and more, from the Billing Center.

        Need help? Contact us at -------
                                 accounting@onelegal.com.


        Sincerely,

        The One Legal Team


        How are we doing? Click here to answer a two-question survey.



             You are receiving this email because you are opted in to receive billing emails for your One Legal
                                  account. Get help in our Support Center or Contact Us.
                      InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954
                                                                                              An
                                        ,ONE                      LEGAL                      I fo rac
                                                                                              Company




                                                                                                       Credit Card Sale
               1400 N. McDowell Blvd
               Suite 300                                                                             Date             3/15/2023
               Petaluma CA 94954
               TIN : XX-XXXXXXX                                                                      Customer          0152315

                                                                                                     Credit Sale      04831604
                Bill To
                LPG                                                                                  Amount Due             $0
                17542 E 17th Street., Suite 100
                Tustin CA 92780




                Order Number                      20016220
                Contact                           Vanessa Buchner
                Attorney                          Israel Orozco
                Billing Code                      BATLLC-463428924
                Case Title                        CITIBANK, N.A. vs LEONOR ORELLANA                             Exhibit A-149
                Court                             Superior Court of California, Los Angeles County
                Court Transaction Number          23LA00378341
           Case 8:23-bk-10571-SC                         Claim
                                                         Doc   104 Part
                                                             1815       2 10/11/24
                                                                    Filed   Filed 09/27/24
                                                                                      EnteredDesc  Attachment
                                                                                              10/11/24         1 Page
                                                                                                        00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                     146 of Page
                                                         Main Document      171 165 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                             DESCRIPTION                                                       AMOUNT



Mar 15                               INFOTRACK                   ONELEGAL CCSALE04831800-938-8815 CA                               $17.66
                                     1400 NORTH MCDOWELL         Will appear on your Mar 29, 2023 statement as ONELEGAL
                                     BLVD STE 300                CCSALE04831800-938-8815 CA

                                     PETALUMA                    CARD
                                     CA                          ISRAEL OROZCO
                                     94954
                                                                 MEMBERSHIP REWARDS POINTS
                                     (415) 475-6223
                                                                 1X on Other purchases                                    18
                                     www.infotrack.com
                                                                 ADDITIONAL INFORMATION

                                                                 78289981 11568578 92780




                                                                                                                   Exhibit A-150
Case 8:23-bk-10571-SC   Claim
                        Doc   104 Part
                            1815       2 10/11/24
                                   Filed   Filed 09/27/24
                                                     EnteredDesc Attachment
                                                             10/11/24        1 Page
                                                                      00:05:19 Desc
                                    147 of Page
                        Main Document      171 166 of 190




                        Exhibit “C”




                                                                 Exhibit A-151
                Case 8:23-bk-10571-SC                        Claim
                                                             Doc   104 Part
                                                                 1815       2 10/11/24
                                                                        Filed   Filed 09/27/24
                                                                                          EnteredDesc Attachment
                                                                                                  10/11/24        1 Page
                                                                                                           00:05:19 Desc
                                                                         148 of Page
                                                             Main Document      171 167 of 190




      The Litigation Practice Group                                                          Invoice #                             INVOICE DATE

      1351 Calle Avanzado Suite 4                                                            INV00303915                           02/15/2023
      San Clemente California
                                                                                             Account#
      92673
                                                                                             MCA00018463


                                                                                                                                       TOTAL DUE
                                                                                                                                    $1,063.70

111

       DESCRIPTION                                                          SERVICE PERIOD       QTY             UNIT PRICE                   TOTAL
       Annual User License (Pro) -- Proration                       02/15/2023-11/18/2023           6              $708.00               ($3,231.68)
       Credit
       Annual User License (Pro) -- Proration                       02/15/2023-11/18/2023           7              $708.00                 $3,770.29


                                                                                                                 SUBTOTAL                   $538.61
                                                                                                                     TAX*                     $0.00

                                                                                                            INVOICE TOTAL                   $538.61




                                                                                                             AMOUNT PAID                 ($538.61)

                                                                                                             PAYMENT INFO     ***********4008



                                                                                                                TOTAL DUE                 $1,063.70

                                                                                                           Credit Card On File was Declined:
                                                                                                           Please update your billing information
                                                                                                           in MyCase with a different card to
                                                                                                           ensure your service is not interrupted.
                                                                                                           Click Settings > Firm Settings > Edit
                                                                                                           Payment Information



      Thank you for your business!
      The MyCase Billing Team is developing new ways to support our
      customers. We are working to improve your billing experience and
      welcome your feedback, please contact us at billing@mycase.com

      *Tax is calculated based on the rates in your state and local jurisdiction




                                                                                                                 Exhibit A-152
           Case 8:23-bk-10571-SC                      Claim
                                                      Doc   104 Part
                                                          1815       2 10/11/24
                                                                 Filed   Filed 09/27/24
                                                                                   EnteredDesc  Attachment
                                                                                           10/11/24         1 Page
                                                                                                     00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                  149 of Page
                                                      Main Document      171 168 of 190CARD MEMBER
       s
            Platinum Card®                                                                           ISRAEL OROZCO


DATE                                                           DESCRIPTION                                                        AMOUNT



Feb 22                               MYCASE                    MYCASE OP 8990000047SAN DIEGO CA                                  $538.61
                                     3700 NORTH CAPITAL OF     Will appear on your Feb 26, 2023 statement as MYCASE OP
                                     TEXAS HWY                 8990000047SAN DIEGO CA

                                     AUSTIN                    CARD
                                     TX                        ISRAEL OROZCO
                                     78746
                                                               MEMBERSHIP REWARDS POINTS
                                     (800) 571-8062
                                                               1X on Other purchases                                539
                                     https://www.mycase.com/
                                                               ADDITIONAL INFORMATION

                                                               73011003055 COMPUTERS & EQUIPMENT




                                                                                                                 Exhibit A-153
                Case 8:23-bk-10571-SC                        Claim
                                                             Doc   104 Part
                                                                 1815       2 10/11/24
                                                                        Filed   Filed 09/27/24
                                                                                          EnteredDesc Attachment
                                                                                                  10/11/24        1 Page
                                                                                                           00:05:19 Desc
                                                                         150 of Page
                                                             Main Document      171 169 of 190




      The Litigation Practice Group                                                          Invoice #                         INVOICE DATE

      1351 Calle Avanzado Suite 4                                                            INV00304733                       02/17/2023
      San Clemente California
                                                                                             Account#
      92673
                                                                                             MCA00018463


                                                                                                                                   TOTAL DUE
                                                                                                                                $0.00

111

       DESCRIPTION                                                          SERVICE PERIOD       QTY          UNIT PRICE                  TOTAL
       Annual User License (Pro) -- Proration                       02/17/2023-11/18/2023           8            $708.00                $4,278.45

       Annual User License (Pro) -- Proration                       02/17/2023-11/18/2023           7            $708.00             ($3,743.65)
       Credit

                                                                                                               SUBTOTAL                  $534.80
                                                                                                                   TAX*                    $0.00

                                                                                                           INVOICE TOTAL                 $534.80




                                                                                                           AMOUNT PAID                ($534.80)

                                                                                                           PAYMENT INFO    ***********4008



                                                                                                              TOTAL DUE                       $0.00




      Thank you for your business!
      The MyCase Billing Team is developing new ways to support our
      customers. We are working to improve your billing experience and
      welcome your feedback, please contact us at billing@mycase.com

      *Tax is calculated based on the rates in your state and local jurisdiction




                                                                                                              Exhibit A-154
           Case 8:23-bk-10571-SC                      Claim
                                                      Doc   104 Part
                                                          1815       2 10/11/24
                                                                 Filed   Filed 09/27/24
                                                                                   EnteredDesc  Attachment
                                                                                           10/11/24         1 Page
                                                                                                     00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                  151 of Page
                                                      Main Document      171 170 of 190CARD MEMBER
       s
            Platinum Card®                                                                           ISRAEL OROZCO


DATE                                                           DESCRIPTION                                                        AMOUNT



Feb 22                               MYCASE                    MYCASE OP 8990000047SAN DIEGO CA                                  $534.80
                                     3700 NORTH CAPITAL OF     Will appear on your Feb 26, 2023 statement as MYCASE OP
                                     TEXAS HWY                 8990000047SAN DIEGO CA

                                     AUSTIN                    CARD
                                     TX                        ISRAEL OROZCO
                                     78746
                                                               MEMBERSHIP REWARDS POINTS
                                     (800) 571-8062
                                                               1X on Other purchases                                535
                                     https://www.mycase.com/
                                                               ADDITIONAL INFORMATION

                                                               73011003055 COMPUTERS & EQUIPMENT




                                                                                                                 Exhibit A-155
                Case 8:23-bk-10571-SC                        Claim
                                                             Doc   104 Part
                                                                 1815       2 10/11/24
                                                                        Filed   Filed 09/27/24
                                                                                          EnteredDesc Attachment
                                                                                                  10/11/24        1 Page
                                                                                                           00:05:19 Desc
                                                                         152 of Page
                                                             Main Document      171 171 of 190




      The Litigation Practice Group                                                          Invoice #                         INVOICE DATE

      1351 Calle Avanzado Suite 4                                                            INV00307098                       02/20/2023
      San Clemente California
                                                                                             Account#
      92673
                                                                                             MCA00018463


                                                                                                                                   TOTAL DUE
                                                                                                                                $0.00

111

       DESCRIPTION                                                          SERVICE PERIOD       QTY          UNIT PRICE                  TOTAL
       Annual User License (Pro) -- Proration                       02/20/2023-11/18/2023           9            $708.00                $4,760.04

       Annual User License (Pro) -- Proration                       02/20/2023-11/18/2023           8            $708.00             ($4,231.14)
       Credit

                                                                                                               SUBTOTAL                  $528.90
                                                                                                                   TAX*                    $0.00

                                                                                                           INVOICE TOTAL                 $528.90




                                                                                                           AMOUNT PAID                ($528.90)

                                                                                                           PAYMENT INFO    ***********4008



                                                                                                              TOTAL DUE                       $0.00




      Thank you for your business!
      The MyCase Billing Team is developing new ways to support our
      customers. We are working to improve your billing experience and
      welcome your feedback, please contact us at billing@mycase.com

      *Tax is calculated based on the rates in your state and local jurisdiction




                                                                                                              Exhibit A-156
           Case 8:23-bk-10571-SC                      Claim
                                                      Doc   104 Part
                                                          1815       2 10/11/24
                                                                 Filed   Filed 09/27/24
                                                                                   EnteredDesc  Attachment
                                                                                           10/11/24         1 Page
                                                                                                     00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                  153 of Page
                                                      Main Document      171 172 of 190CARD MEMBER
       s
            Platinum Card®                                                                           ISRAEL OROZCO


DATE                                                           DESCRIPTION                                                        AMOUNT



Feb 22                               MYCASE                    MYCASE OP 8990000047SAN DIEGO CA                                  $528.90
                                     3700 NORTH CAPITAL OF     Will appear on your Feb 26, 2023 statement as MYCASE OP
                                     TEXAS HWY                 8990000047SAN DIEGO CA

                                     AUSTIN                    CARD
                                     TX                        ISRAEL OROZCO
                                     78746
                                                               MEMBERSHIP REWARDS POINTS
                                     (800) 571-8062
                                                               1X on Other purchases                                529
                                     https://www.mycase.com/
                                                               ADDITIONAL INFORMATION

                                                               73011003055 COMPUTERS & EQUIPMENT




                                                                                                                 Exhibit A-157
Case 8:23-bk-10571-SC   Claim
                        Doc   104 Part
                            1815       2 10/11/24
                                   Filed   Filed 09/27/24
                                                     EnteredDesc Attachment
                                                             10/11/24        1 Page
                                                                      00:05:19 Desc
                                    154 of Page
                        Main Document      171 173 of 190




                        Exhibit “D”




                                                                 Exhibit A-158
         Case 8:23-bk-10571-SC             Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
                                                                                10/11/24        1 Page
                                                                                         00:05:19   Desc
                                                       155 of Page
                                           Main Document      171 174 of 190                      2158 W. 190"'5treet
                                                                                                                            Torrance, CA 90504



C CourtCall'                                                                                                             Phone: (888) 882-6878
                                                                                                                           Fax: (888) 883-2946
                                                                                                                                 CourtCall.com
                                                                                                 Court ConferencelD is a division of CourtCalle


                                                          INVOICE / RECEIPT                                               02/28/2023 02:37 AM


                                                   All amounts below are in U.S. Dollars

                           COURTCALL ID: 11665585               423859656
                    CASE NUMBER/NAME: CIVSB2127985 /

               CUSTOMER REF. NUMBER:
                            PROCEEDING: Trial Setting Conference
                      DATE OF HEARING: Wednesday, March 1st, 2023 at 8:15 AM PT
                              FIRM NAME: The Litigation Practice Group PLC
          ATTORNEY/PARTY APPEARING: Israel Orozco
                             TELEPHONE: (657) 468-9066
                              FAX/EMAIL:
                    BASIC FEE/LATE FEE:          $72.00

                           AMOUNT PAID:       $72.00

                     PAYMENT NOW DUE:            $0.00

Payment Details
Method              Type                Amount Reference                                               Date/Time
Credit              Charge              $72.00     American Express ending in 4008                     2/28/2023 2:35:35AM

If the 'Payment Now Due' indicated above is zero, no payment is due and this receipt is for your records only; otherwise, the
amount indicated is now due.

If there is an amount due, please remit your payment upon receipt of this notice. If you have already sent payment please contact our
Accounting Department as our records do not reflect receipt of payment at the time this notice was sent. IF PAYMENT IS NOT
RECEIVED, FUTURE SERVICE MAY BE DENIED AND/OR THE COURT MAY BE ADVISED OF YOUR REFUSAL TO PAY.


PAYMENT BY CREDIT CARD or COURTCALL DEBIT ACCOUNT: Payment can be made online by registering and logging in at
www.courtcall.com or by calling (888) 882-6878 and selecting option '5' for the Accounting Department. Please have your CourtCall
Debit Account number or complete credit card billing address in addition to the credit card number, expiration date and cardholder's full
name available when making payment.

PLEASE DETACH AND RETURN THE PORTION BELOW IF PAYING BY CHECK OR MONEY ORDER

  PAYMENT BY CHECK OR MONEY ORDER: If a balance is due detach and mail this payment section with your check, payable to:
  CourtCall LLC, 2158 W. 190th Street, Torrance, CA 90504. Please write the CourtCall ID number in the memo section of your
  check. Please note: CourtCall does not accept personal checks.

                           COURTCALL ID:    11665585
                    CASE NAME/NUMBER: CIVSB2127985 / S


               CUSTOMER REF. NUMBER:
                            PROCEEDING: Trial Setting Conference
                      DATE OF HEARING: Wednesday, March 1st, 2023 at 8:15 AM PT
                              FIRM NAME: The Litigation Practice Group PLC
          ATTORNEY/PARTY APPEARING: Israel Orozco
                        TELEPHONE: (657) 468-9066




NOTFD                                         INVOICE FOR COURTCALL® APPEARANCE                        Exhibit A-159
                                                                                             Copyright © 2023 CourtCall, LLC. All Rights Reserved.
           Case 8:23-bk-10571-SC                       Claim
                                                       Doc   104 Part
                                                           1815       2 10/11/24
                                                                  Filed   Filed 09/27/24
                                                                                    EnteredDesc  Attachment
                                                                                            10/11/24         1 Page
                                                                                                      00:05:19 Desc
            ACCOUNT ENDING - 04008
                                                                   156 of Page
                                                       Main Document      171 175 of 190CARD MEMBER
       s
            Platinum Card®                                                                             ISRAEL OROZCO


DATE                                                            DESCRIPTION                                                           AMOUNT



Feb 28                               COURTCALL                  CCALL ID11665585 LOS ANGELES CA                                       $72.00
                                     6383 ARIZONA CIR           Will appear on your Mar 29, 2023 statement as CCALL
                                                                ID11665585 LOS ANGELES CA

                                     LOS ANGELES                CARD
                                     CA                         ISRAEL OROZCO
                                     90045-1201
                                                                MEMBERSHIP REWARDS POINTS
                                     (310) 342-0888
                                                                1X on Other purchases                                  72
                                     http://www.courtcall.com
                                                                ADDITIONAL INFORMATION

                                                                94346754 AXXXXXXXX 92821
                                                                PROFESSIONAL SEVICES




                                                                                                                      Exhibit A-160
Case 8:23-bk-10571-SC   Claim
                        Doc   104 Part
                            1815       2 10/11/24
                                   Filed   Filed 09/27/24
                                                     EnteredDesc Attachment
                                                             10/11/24        1 Page
                                                                      00:05:19 Desc
                                    157 of Page
                        Main Document      171 176 of 190




                        Exhibit “E”




                                                                 Exhibit A-161
   Case 8:23-bk-10571-SC                Claim
                                        Doc   104 Part
                                            1815       2 10/11/24
                                                   Filed   Filed 09/27/24
                                                                     EnteredDesc Attachment
                                                                             10/11/24        1 Page
                                                                                      00:05:19 Desc
                                                    158 of Page
                                        Main Document      171 177 of 190

                                   ,.
                                                                                                      •
  From: onlineServices@lacourt.org
Subject: LASC Receipt for Online Services Transaction Case Document Images - 22NWCV00847
   Date: January 11, 2023 at 1:04 AM
     To: Israel Orozco israel@lpglaw.com


             This is an automated email. Please do not reply. Replies will not be read.

             Your credit card statement will reflect a charge from L.A. Superior Court.

             Your receipt number is 1230111J3982
             The actual amount charged is indicated below.
             Transaction Date: 01/11/2023 01:04:41
             Credit Card Number: ...7620
             Credit Card Type: Visa

             Bill to:
             Israel Orozco
             115 E Date St
             Brea, CA 92821

             Case Number: 22NWCV00847 644184182
             Case Name:

             Case Type: CIVIL



             Purchased Documents:
             1/6/2023 - Case Management Statement 1-5 (5 pages total) $5.00

             Total: $5.00

             Transaction Remarks: 22NWCV00847

             You may use the following link to retrieve the document purchased on this transaction
             This link is valid for 30 days from the date of this receipt

             https://www.lacourt.org/documentimages/reports/docslink.aspx?
             index=13853982!1230111J3982!la99gst




                                                                                           Exhibit A-162
Case 8:23-bk-10571-SC   Claim
                        Doc   104 Part
                            1815       2 10/11/24
                                   Filed   Filed 09/27/24
                                                     EnteredDesc Attachment
                                                             10/11/24        1 Page
                                                                      00:05:19 Desc
                                    159 of Page
                        Main Document      171 178 of 190




                                                                 Exhibit A-163
   Case 8:23-bk-10571-SC              Claim
                                      Doc   104 Part
                                          1815       2 10/11/24
                                                 Filed   Filed 09/27/24
                                                                   EnteredDesc Attachment
                                                                           10/11/24        1 Page
                                                                                    00:05:19 Desc
                                                  160 of Page
                                      Main Document      171 179 of 190




                                                                                                      •
  From: onlineServices@lacourt.org
Subject: LASC Receipt for Online Services Transaction Case Document Images - 22NWLC08331
   Date: February 19, 2023 at 11:04 PM
     To: Israel Orozco israel@lpglaw.com


             This is an automated email. Please do not reply. Replies will not be read.

             Your credit card statement will reflect a charge from L.A. Superior Court.

             Your receipt number is 1230219J0854
             The actual amount charged is indicated below.
             Transaction Date: 02/19/2023 23:04:07
             Credit Card Number: ...7620
             Credit Card Type: Visa

             Bill to:
             Israel Orozco
             115 E Date St
             Brea, CA 92821

             Case Number: 22NWLC08331 4 2 48 46
             Case Name:
             Case Type: CIVIL



             Purchased Documents:
             2/14/2023 - Minute Order - Minute Order (Hearing on Motion to Set Aside/Vacate
             Default and Default Jud...) 1-2 (2 pages total) $2.00

             Total: $2.00

             Transaction Remarks: 22NWLC08331

             You may use the following link to retrieve the document purchased on this transaction
             This link is valid for 30 days from the date of this receipt

             https://www.lacourt.org/documentimages/reports/docslink.aspx?
             index=14080854!1230219J0854!la99gst




                                                                                           Exhibit A-164
Case 8:23-bk-10571-SC   Claim
                        Doc   104 Part
                            1815       2 10/11/24
                                   Filed   Filed 09/27/24
                                                     EnteredDesc Attachment
                                                             10/11/24        1 Page
                                                                      00:05:19 Desc
                                    161 of Page
                        Main Document      171 180 of 190




                                                                 Exhibit A-165
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
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                                                       162 of Page
                                           Main Document      171 181 of 190




                                                                                                              •
  From: no-reply@sdcourt.ca.gov
Subject: Superior Court Payment Receipt
   Date: February 27, 2023 at 12:50 PM
     To: Israel Orozco israel@lpglaw.com

         You have purchased the option to view, print, and save case documents.

         Billing Information
          Payment Amount: $6.40
          Payment Date:      2/27/23
          Credit Card Number: ***7620

         Purchase Information
         Save the following information. You will need your Purchase E-mail Address
         and Purchase Confirmation Number in order to request your documents.
         You have up through the Purchase Expiration Date to view your documents online.
         View your documents by selecting ''Request Previously Purchased Documents'' in the ROA menu.
          Purchase E-mail Address:     israel@lpglaw.com
          Purchase Confirmation Number: 2255321
          Purchase Expiration Date: 03/13/23

         Documents Purchased
          Case Number         ROA# Entry Dt Document        Page(s) Cost
          37-2021-00053120-CL-CL-CTL 44 01/20/23 Minutes finalized for 6 5.40              4822     2
          37-2021-00053120-CL-CL-CTL 44 01/20/23 Minute Order          1 1.00

         Thank you for using San Diego Superior Court Online Services.




                                                                                                   Exhibit A-166
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
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                                                       163 of Page
                                           Main Document      171 182 of 190




                                                                                                              •
  From: no-reply@sdcourt.ca.gov
Subject: Superior Court Payment Receipt
   Date: March 3, 2023 at 4:15 AM
     To: Israel Orozco israel@lpglaw.com

         You have purchased the option to view, print, and save case documents.

         Billing Information
          Payment Amount: $5.00
          Payment Date:      3/3/23
          Credit Card Number: ***7620

         Purchase Information
         Save the following information. You will need your Purchase E-mail Address
         and Purchase Confirmation Number in order to request your documents.
         You have up through the Purchase Expiration Date to view your documents online.
         View your documents by selecting ''Request Previously Purchased Documents'' in the ROA menu.
          Purchase E-mail Address:     israel@lpglaw.com
          Purchase Confirmation Number: 2257603
          Purchase Expiration Date: 03/17/23

         Documents Purchased
          Case Number         ROA# Entry Dt Document        Page(s) Cost
          37-2019-00018956-CL-CL-CTL 7 05/22/19 Proof of Service of 30 3 3.00                 8         1
          37-2019-00018956-CL-CL-CTL 14 02/10/21 Judgment (Judgment/Dis 2 2.00

         Thank you for using San Diego Superior Court Online Services.




                                                                                                   Exhibit A-167
   Case 8:23-bk-10571-SC                   Claim
                                           Doc   104 Part
                                               1815       2 10/11/24
                                                      Filed   Filed 09/27/24
                                                                        EnteredDesc Attachment
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                                                       164 of Page
                                           Main Document      171 183 of 190




                                                                                                              •
  From: no-reply@sdcourt.ca.gov
Subject: Superior Court Payment Receipt
   Date: March 3, 2023 at 4:10 AM
     To: Israel Orozco israel@lpglaw.com

         You have purchased the option to view, print, and save case documents.

         Billing Information
          Payment Amount: $4.00
          Payment Date:      3/3/23
          Credit Card Number: ***7620

         Purchase Information
         Save the following information. You will need your Purchase E-mail Address
         and Purchase Confirmation Number in order to request your documents.
         You have up through the Purchase Expiration Date to view your documents online.
         View your documents by selecting ''Request Previously Purchased Documents'' in the ROA menu.
          Purchase E-mail Address:     israel@lpglaw.com
          Purchase Confirmation Number: 2257602
          Purchase Expiration Date: 03/17/23

         Documents Purchased
          Case Number         ROA# Entry Dt Document        Page(s) Cost
          37-2021-00018956-CL-CL-CTL 8 05/12/21 Proof of Service     2 2.00             8      1
          37-2021-00018956-CL-CL-CTL 10 08/19/21 Judgment           2 2.00

         Thank you for using San Diego Superior Court Online Services.




                                                                                                   Exhibit A-168
Case 8:23-bk-10571-SC   Claim
                        Doc   104 Part
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                        Exhibit “F”




                                                                 Exhibit A-169
                                  Case 8:23-bk-10571-SC DocClaim  104 Part
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                                                                                 Page  185  of 190
              Go               gleMaps Work (17542 17th St) to San Bernardino Superior Court Civil            Drive 47.4 miles, 44 min
                                            Division, 247 W 3rd St, San Bernardino, CA 92415

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         17542 17th St
         Tustin, CA 92780


         Get on CA-55 N/State Rte 55 N from 17th St
                                                                                                                                                      3 min (0.5 mi)
              t            1.          Head east toward 17th St
                           A Restricted usage road
                                                                                                                                                                  98 ft
                           2.          Turn left toward 17th St
                           A Restricted usage road
                                                                                                                                                                  85 ft
                           3.          Turn left at the 1st cross street onto 17th St
                           0 Pass by Taco Bell (on the left)
                                                                                                                                                                 0.3 mi
                           4.          Take the ramp onto CA-55 N/State Rte 55 N
                                                                                                                                                                 0.2 mi


         Take CA-91 E to W 2nd St in San Bernardino. Take exit 43
         from I-215 N
                                                                                                                                             44 min (46.1 mi)
                           5.          Merge onto CA-55 N/State Rte 55 N
                                                                                                                                                                 5.6 mi


                                                                                                                                                                                                                                   Exhibit A-170
 t   6.     Case 8:23-bk-10571-SC
           Continue                         Claim
                    onto Exit 18B (signs forDoc    104 Part
                                                1815
                                             CA-91          2 10/11/24
                                                        Filed    Filed 09/27/24
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           E/Anaheim/Riverside)
                                            Main Document167  of 171
                                                                 Page  186  of 190
                                                         0.3 mi
     7.    Merge onto CA-91 E
                                                        31.5 mi
     8.    Continue onto I-215 N
      A Parts of this road may be closed at certain times or
     days
                                                         8.4 mi
     9.    Use the right 2 lanes to take exit 43 for West 2nd
           Street toward West 3rd Street
                                                         0.3 mi


Continue on W 2nd St to your destination
                                                  3 min (0.8 mi)
     10.     Turn right onto W 2nd St

      •
     11.
           Pass by SKECHERS Warehouse Outlet (on the right)

             Turn left onto N Arrowhead Ave
                                                         0.7 mi


                                                          351 ft
 r+ 12. Turn right
      •    Destination will be on the left
                                                          157 ft


San Bernardino Superior Cou      Civil Division




                                                                                       Exhibit A-171
Case 8:23-bk-10571-SC              Claim
                                   Doc   104 Part
                                       1815       2 10/11/24
                                              Filed   Filed 09/27/24
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                                   Main Document      171 187 of 190



                                     SUPERIOR COURT OF CALIFORNIA,
                                       COUNTY OF SAN BERNARDINO
                                          San Bernardino District
                                              247 West 3rd St
                                         San Bernardino, CA 92415
                                             www.sb-court.org


                                      PORTAL MINUTE ORDER
 Case Number: CIVSB2203213                                                                 Date: 2/27/2023

 Case Title:

               c-
 Department S23 - SBJC
                                                    453105955


                                                  Date: 2/27/2023    Time: 10:00 AM    Court Trial


Judicial Officer: Donald Alvarez
Judicial Assistant: Monica Real
Court Reporter: Not Reported or Recorded
Court Attendant: Eric Ashe

Appearances
Attorney Brinna Elmassian present for plaintiff
Attorney Israel Orozco present for defendant

Proceedings
Hearing continued at the request of the court.
Reason: This department is currently engaged in trial.

Hearings
Court Trial set for 6/2/2023 at 10:00 AM in Department S23 - SBJC

Notice waived.
                                            == Minute Order Complete ==




                                                                                      Exhibit A-172
                                 Claim
           Case 8:23-bk-10571-SC Doc   104 Part
                                     1815       2 10/11/24
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                                      Document    of 171
                                                     Page  188  of 190
Go      gleMaps Work (17542 17th St) to 312 E Cook St, Santa Maria, CA          Drive 194 miles, 3 hr 9 min
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17542 17th St
Tustin, CA 92780


Get on CA-55 N/State Rte 55 N from 17th St
                                                                         3 min (0.5 mi)
 t    1.   Head east toward 17th St
      A Restricted usage road
                                                                                         98 ft
      2.   Turn left toward 17th St
      A Restricted usage road
                                                                                         85 ft
      3.   Turn left at the 1st cross street onto 17th St
      0 Pass by Taco Bell (on the left)
                                                                                    0.3 mi
      4.   Take the ramp onto CA-55 N/State Rte 55 N
                                                                                    0.2 mi


Follow I-5 N and US-101 N to Calle Real in Santa Barbara.
Take exit 101B from US-101 N
                                                          2 hr 16 min (134 mi)
      5.   Merge onto CA-55 N/State Rte 55 N
                                                                                    0.7 mi


                                                                                                                                                                         Exhibit A-173
      6.     Case
            Use     8:23-bk-10571-SC
                the right                      Claim
                          2 lanes to take exit Doc     104 Part
                                               13 for1815        2 10/11/24
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                                               Main
            22 W/Garden Grove Fwy toward Long Beach
                                                      Document170  of 171
                                                                      Page  189  of 190
                                                                0.6 mi
      7.    Continue onto CA-22 W/Garden Grove Fwy
                                                                2.1 mi
      8.    Use the right 2 lanes to take exit 14B to merge
            onto I-5 N toward Los Angeles
                                                            18.8 mi
      9.    Take exit 125 for Lakewood Blvd/CA-19 S/CA-19 N
            toward Rosemead Blvd
                                                                0.2 mi
      10.     Turn right onto CA-19 S/Lakewood Blvd
                                                                0.1 mi
      11.     Turn left onto Telegraph Rd
                                                                2.2 mi
      12.     Turn left to merge onto I-5 N toward Los Angeles
                                                                5.2 mi
      13.     Keep right at the fork to stay on I-5 N, follow
              signs for Interstate 5 N/Sacramento
                                                                3.5 mi
 rt   14.     Use the right 2 lanes to take exit 136B for
              Broadway
      A May be closed at certain times or days
                                                                0.3 mi
      15.     Take the ramp onto I-5 N
      A Parts of this road may be closed at certain times or
      days
                                                                6.9 mi
      16.     Use the right 2 lanes to take exit 144B to merge
              onto CA-134 W/Ventura Fwy toward Ventura
                                                                5.2 mi
 t    17.     Continue onto Exit 1A (signs for US-101/Ventura
              Fwy/Ventura)
                                                                282 ft
      18.     Keep left at the fork to continue toward US-101
              N/Ventura Fwy
                                                                0.4 mi
      19.     Continue onto US-101 N/Ventura Fwy
                                                            13.8 mi
 t    20.     Continue onto US-101 N



 rt
      •
      21.
            Pass by Taco Bell (on the left in 5.5 mi)

              Take exit 101B for State St toward CA-
                                                            73.6 mi


              154/Cachuma Lk
                                                                0.2 mi


Get on US-101 N from CA-154 W/San Marcos Pass Rd
                                                                                            Exhibit A-174
      22.    Case 8:23-bk-10571-SC
             Continue                       Claim
                                            Doc
                      straight onto Calle Real    104(33.1
                                                1815
                                               37 min  Partmi)2 10/11/24
                                                         Filed   Filed 09/27/24
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                                                       171 of Page
                                             Main Document    171 190 of 190
                                                           0.3 mi
      23.    Turn right onto CA-154 W/San Marcos Pass Rd
                                                          23.9 mi
      24.    At the tra c circle, take the 2nd exit and stay on
             CA-154 W/San Marcos Pass Rd
                                                           8.6 mi
      25.    Merge onto US-101 N via the ramp to Santa
             Maria
                                                           0.3 mi


Follow US-101 N to your destination in Santa Maria. Take
exit 170 from US-101 N
                                                 22 min (24.6 mi)
      26.    Merge onto US-101 N
      A Parts of this road may be closed at certain times or
      days
                                                          24.3 mi
      27.    Take exit 170 toward Stowell Rd
                                                           0.3 mi
      28.    Keep right at the fork and merge onto E Stowell
             Rd
                                                            272 ft


Follow E Stowell Rd and S Miller St to your destination
                                                    5 min (1.6 mi)
      29.    Merge onto E Stowell Rd
                                                           0.8 mi
      30.    Turn right onto S Miller St
                                                           0.7 mi
      31.    Turn left at E Orange St
                                                             92 ft
 ,-+ 32. Turn right
      0 Destination will be on the left
                                                            118 ft


312 E Cook St




                                                                                        Exhibit A-175
